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                                                     Hearing Date: July 6, 2017 at 10:00 a.m. (ET)
                                             Objection Deadline: June 22, 2017 at 12:00 noon (ET)

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 Michael A. Rollin
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 Attorneys for Lehman Brothers Holdings Inc.
 and Certain of Its Affiliates

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- x
                                                            )
  In re                                                     )   Chapter 11 Case No.
                                                            )
  Lehman Brothers Holdings Inc., et al.,                    )   08-13555 (SCC)
                                                            )
              Debtors.                                      )   Jointly Administered
                                                            )
 ---------------------------------------------------------- x

            NOTICE OF MOTION OF LEHMAN BROTHERS HOLDINGS INC.
            PURSUANT TO FED. R. BANKR. P. 9019 AND 11 U.S.C § 105(A) FOR
               ENTRY OF ORDER (A) APPROVING RMBS SETTLEMENT
              AGREEMENT, (B) MAKING CERTAIN REQUIRED FINDINGS
           REGARDING DECISION OF RMBS TRUSTEES AND LBHI DEBTORS
               TO ENTER INTO RMBS SETTLEMENT AGREEMENT, (C)
           SCHEDULING ESTIMATION PROCEEDING TO DETERMINE RMBS
           CLAIMS AND APPROVING RELATED PROCEDURES REGARDING
            CONDUCT OF HEARING, AND (D) GRANTING RELATED RELIEF

         PLEASE TAKE NOTICE that, on April 27, 2017 Lehman Brothers Holdings Inc. (the

 “Plan Administrator”), as Plan Administrator under the Modified Third Amended Joint Chapter

 11 Plan of Lehman Brothers Holdings Inc. and Its Affiliated Debtors, on behalf of itself and the
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 other affiliated debtors in the above-captioned cases (collectively, the “LBHI Debtors”) filed the

 Motion of Lehman Brothers Holdings Inc. Pursuant To Fed. R. Bankr. P. 9019 And 11 U.S.C.

 § 105(a) For Entry Of Order (A) Approving RMBS Settlement Agreement, (B) Making Certain

 Required Findings Regarding Decision Of RMBS Trustees And LBHI Debtors To Enter Into

 RMBS Settlement Agreement, (C) Scheduling Estimation Proceeding To Determine RMBS

 Claims And Approving Related Procedures Regarding Conduct Of Hearing, And (D) Granting

 Related Relief (the “Motion”). Capitalized terms used but not defined herein shall have the

 meanings given to them in the Motion.

        PLEASE TAKE FURTHER NOTICE that a hearing will be held on the Motion before

 the Honorable Shelley C. Chapman, United States Bankruptcy Judge, at the United States

 Bankruptcy Court for the Southern District of New York, Courtroom 623, One Bowling Green,

 New York, New York 10004 (the “Bankruptcy Court”) on July 6, 2017 at 10:00 a.m. (prevailing

 Eastern Time), or as soon thereafter as counsel may be heard.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion (including

 approval of the Trustee Findings and the Debtors’ Findings) must be made in writing, state with

 particularity the grounds therefor, conform to the Federal Rules of Bankruptcy Procedure and the

 Local Bankruptcy Rules for the Southern District of New York, be filed electronically in text

 searchable portable document format (PDF) with the Court in accordance with General Order M-

 399 (General Order M-399 can be found at www.nysb.uscourts.gov, the official website for the

 Court), by registered users of the Court’s case filing system and by all other parties in interest

 (with a hard copy delivered directly to the Judge’s Chambers), and be served in accordance with

 General Order M-399, and upon (i) the chambers of the Honorable Shelley C. Chapman, One

 Bowling Green, New York, New York 10004, Courtroom 23; (ii) Willkie Farr & Gallagher LLP,



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 787 Seventh Avenue, New York, New York 10019 (Attn: Paul V. Shalhoub, Esq. and Todd G.

 Cosenza, Esq.) and Rollin Braswell Fisher LLC, 8350 East Crescent Parkway, Suite 100,

 Greenwood Village, Colorado 80111 (Attn: Michael A. Rollin, Esq. and Maritza D. Braswell,

 Esq.), attorneys for LBHI and certain of its affiliates; (iii) Gibbs & Bruns LLP, 1100 Louisiana,

 Suite 5300, Houston, Texas 77002 (Attn: Kathy Patrick, Esq. and Robert Madden, Esq.),

 attorneys for the Institutional Investors; (iv) Chapman & Cutler LLP, 111 West Monroe Street,

 Chicago, Illinois 60603 (Attn: Franklin H. Top III, Esq. and Scott A. Lewis, Esq.), Morgan, Lewis

 & Bockius LLP, 101 Park Avenue, New York, New York 10178 (Attn: Michael S. Kraut, Esq.),

 Seward & Kissel LLP, 1 Battery Park Plaza, New York, New York 10004 (Attn: M. William

 Munno, Esq. and Daniel E. Guzman, Esq.), Alston & Bird LLP, 1201 West Peachtree Street, Suite

 4900, Atlanta, Georgia 30309 (Attn: John C. Weitnauer, Esq.), Holwell Shuster & Goldberg LLP,

 750 Seventh Avenue, 26th Floor, New York, New York 10019 (Attn: Michael S. Shuster, Esq.)

 and Nixon Peabody LLP, 437 Madison Avenue, New York, New York 10022 (Attn: Dennis

 Drebsky, Esq.), attorneys for the Trustees; and (v) the Office of the United States Trustee for the

 Southern District of New York, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New

 York, New York 10014 (Attn: William K. Harrington, Esq., Susan D. Golden, Esq., and Andrea

 B. Schwartz, Esq.) so as to be actually filed and received by no later than June 22, 2017 at 12:00

 noon (EST) (the “Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that the relief requested in the Motion may be

 granted without a hearing if no objection is timely filed and served as set forth above and in

 accordance with the order, dated June 17, 2010, implementing certain notice and case

 management procedures in these cases (Docket No. 9635) (the “Case Management Order”).




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 Dated: April 27, 2017
        New York, New York

                                        /s/ Paul V. Shalhoub
                                        Paul V. Shalhoub
                                        Todd G. Cosenza
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                                        Certain of Its Affiliates




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                                                      Hearing Date: July 6, 2017 at 10:00 a.m. (ET)
                                              Objection Deadline: June 22, 2017 at 12:00 noon (ET)

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 Attorneys for Debtors Lehman Brothers Holdings Inc.
 and Certain of Its Affiliates

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- x
                                                            )
  In re                                                     )   Case No. 08-13555 (SCC)
                                                            )
  Lehman Brothers Holdings Inc., et al.,                    )   Chapter 11
                                                            )
              Debtors.                                      )   Jointly Administered
                                                            )
 ---------------------------------------------------------- x


                 MOTION OF LEHMAN BROTHERS HOLDINGS INC.
            PURSUANT TO FED. R. BANKR. P. 9019 AND 11 U.S.C § 105(A) FOR
               ENTRY OF ORDER (A) APPROVING RMBS SETTLEMENT
              AGREEMENT, (B) MAKING CERTAIN REQUIRED FINDINGS
           REGARDING DECISION OF RMBS TRUSTEES AND LBHI DEBTORS
               TO ENTER INTO RMBS SETTLEMENT AGREEMENT, (C)
           SCHEDULING ESTIMATION PROCEEDING TO DETERMINE RMBS
           CLAIMS AND APPROVING RELATED PROCEDURES REGARDING
            CONDUCT OF HEARING, AND (D) GRANTING RELATED RELIEF
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 TO THE HONORABLE SHELLEY C. CHAPMAN
 UNITED STATES BANKRUPTCY JUDGE:

                Lehman Brothers Holdings Inc. (the “Plan Administrator”), as Plan Administrator

 under the Modified Third Amended Joint Chapter 11 Plan of Lehman Brothers Holdings Inc. and

 Its Affiliated Debtors (the “Plan”), on behalf of itself and the other affiliated debtors in the above-

 captioned cases (collectively, the “LBHI Debtors”), files this motion (the “Motion”), pursuant to

 Rule 9019(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and section

 105(a) of title 11 of the United States Code (the “Bankruptcy Code”), for entry of an order granting

 the relief sought herein and respectfully represents:

                                    PRELIMINARY STATEMENT

                1.       By this Motion, the Plan Administrator seeks entry of an order, substantially

 in the form attached hereto as Exhibit A (the “Proposed Order”), approving the settlement

 agreement attached hereto as Exhibit B (the “RMBS Settlement Agreement”).1 If approved, the

 RMBS Settlement Agreement would establish a streamlined process to determine and resolve the

 claims that were submitted through the Protocol for alleged breaches of representations and

 warranties concerning mortgage loans in certain residential mortgage-backed securitizations

 (“RMBS”).

                2.        The RMBS Settlement Agreement does not “settle and compromise” the

 allowed amount of the Trustees’ claims. Instead, pursuant to the RMBS Settlement Agreement,

 the Plan Administrator has agreed to a process in which it will request this Court to estimate and

 allow the Covered Loan Claims that the Trustees submitted through the Protocol in the aggregate




 1
        Capitalized terms not otherwise immediately defined herein have the meanings ascribed to them in the
        RMBS Settlement Agreement or later in this Motion, as applicable.
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 amount of $2.416 billion, without prejudice to the rights of the Trustees to argue that the amount

 should be higher.2

                3.       Although the Plan Administrator believes that the value of the contractual

 remedy for the claims for breach submitted in the Protocol is far less than $2.416 billion, the Plan

 Administrator agreed to this path in exchange for (i) the Trustees’ agreement to a streamlined

 estimation process subject to a limited right to appeal that will allow this Court to resolve such

 claims fairly, finally and expeditiously and (ii) the Institutional Investors’ agreement to

 recommend to the Trustees that they accept the terms of the RMBS Settlement Agreement and

 also that the Institutional Investors advise the Court that allowance of the Covered Loan Claims at

 an amount not less than $2.416 billion reflects a fair and reasonable resolution. The compromises

 set forth in the RMBS Settlement Agreement are fair and reasonable and will, among other things,

 both significantly accelerate Plan distributions that otherwise might be delayed for years and save

 many millions of dollars in litigation costs.

                4.       As further described below, the Plan Administrator has been working to

 resolve the Trustees’ claims at a fair and reasonable level for over five years. For a variety of

 reasons, prior settlement efforts have failed. Notably, these failures occurred while other large

 financial institutions, like JPMorgan, Citibank and Bank of America, were able to resolve similar

 type claims (at levels comparable to those offered by the Plan Administrator). Observing the

 market resolving similar large put-back claims, the Plan Administrator reached out to counsel to




 2
        The Transferor Loan Claims are not part of the RMBS Settlement Agreement and, although the
        disallowance of those claims already has been ordered by this Court and affirmed by the District Court, the
        Trustees further appealed the disallowance of such claims to the Second Circuit. The LBHI Debtors
        believe the Trustees’ appeal is wholly without merit.

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 the Institutional Investors, who hold or represent holders of the largest economic stakes in big bank

 RMBS, including those sponsored by the LBHI Debtors,3 and began exploring settlement.

                 5.       From January 2015 through October 2015, the Plan Administrator and the

 Institutional Investors engaged in a confidential mediation under the auspices of JAMS mediator,

 David Geronemus. That process produced an agreement between the Plan Administrator and the

 Institutional Investors to allow both the Covered Loan Claims and the Transferor Loan Claims in

 the amount of $2.44 billion, and the Institutional Investors presented that agreement to the Trustees

 for their consideration at the end of October 2015. Thereafter, the Trustees engaged multiple

 experts to assist them in their evaluation of the settlement agreement. In early February 2016, the

 Trustees informed the Plan Administrator and the Institutional Investors of the number of Trusts

 for which they believed such settlement would be recommended for acceptance by their expert.

 Even though the agreement and settlement of the claims for $2.44 billion was supported by the

 Institutional Investors, the number of Trusts for which the settlement was going to be

 recommended for acceptance fell below an acceptable threshold to the Plan Administrator.

 Accordingly, the Plan Administrator ultimately withdrew the proposed settlement agreement in

 early April 2016.

                 6.       The Plan Administrator and the Institutional Investors nevertheless

 remained committed to consummating their agreement as promptly and efficiently as possible.

 Armed with results from the Court ordered Protocol, the Plan Administrator was in a unique and

 unprecedented position. The universe of mortgage loan files supporting the Trustees’ put-back

 claims had been fixed by the Protocol. Moreover, all of the loan files submitted by the Trustees,

 together with the evidence and arguments proffered by the Trustees in support of their claims, had


 3
        The Institutional Investors hold approximately $6 billion of the unpaid principal balance of securities
        issued by Trusts subject to the RMBS Settlement Agreement.

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 been reviewed by the Plan Administrator.4 Unlike prior motions to seek estimation of the claims,

 estimation was now possible because of the data provided by the Protocol.

                 7.       The estimation process contemplated by the RMBS Settlement Agreement

 was developed to enable the Plan Administrator to request the allowance of the claims asserted by

 the Trustees in the Protocol at a level the Institutional Investors would accept, while at the same

 time allowing the Trustees to attempt to prove the claims at a higher amount.                           The Plan

 Administrator believes that the unique process proposed by the RMBS Settlement Agreement is

 the best possible path forward in view of the existing facts and circumstances. Among other things,

 the agreed upon process allows the Plan Administrator to seek the allowance of the Covered Loan

 Claims at what it considers the very high end of an acceptable settlement of the claims, while at

 the same time within the acceptable range of the largest economic stakeholders (i.e., the

 Institutional Investors). In addition, the estimation process largely eliminates the risks of appeal

 and therefore will allow the Plan Administrator to achieve finality, avoid continued litigation, and

 stem the continued incurrence of substantial ongoing litigation and costs relating to resolving these

 claims. It also allows the parties to leverage the extensive efforts made through the Protocol to

 date as a comprehensive basis for estimation of the asserted claims.

                 8.       Pursuant to the terms of the RMBS Settlement Agreement, the Trustees may

 condition their acceptance of the settlement on certain findings (the “Trustee Findings”) being

 made with respect to their determination to enter into the settlement.5 Similarly, it is a condition


 4
        As explained below, the Plan Administrator contends that the Trustees did not deliver sufficient documents
        and information for certain alleged breaches pursuant to the terms of the Protocol and the Plan Administrator
        has moved to disallow and expunge those claims. See Lehman Brothers Holdings Inc.’s Second Objection
        to Certain RMBS Trust Claims and Motion to Disallow and Expunge Certain RMBS Trust Claims for
        Insufficient Documentation (Docket No. 53620). The Trustees disagree. (Docket Nos. 53730, 53731, 53732).
        This motion has been held in abeyance as settlement discussions proceeded.
 5
        Under the RMBS Settlement Agreement, the Trustee Findings will be made by the District Court after
        considering proposed findings of fact and conclusions of law submitted by this Court.

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 to the LBHI Debtors’ obligations under the settlement that the Court make certain findings (the

 “Debtors’ Findings”) with respect to their decision to enter into the RMBS Settlement Agreement.

 The Trustee Findings and the Debtors’ Findings are attached as Exhibits F and I, respectively, to

 the RMBS Settlement Agreement and are incorporated in the Proposed Order. In sum, the required

 findings generally require that the Court determine that the Trustees, on the one hand, and the Plan

 Administrator, on the other, have acted reasonably and in good faith in agreeing to the RMBS

 Settlement Agreement. The record fully supports both the Trustee Findings and the Debtors’

 Findings.

                9.      By order dated April 6, 2017 (Docket No. 55154) (the “Scheduling Order”),

 this Court scheduled a hearing to consider this Motion for July 6, 2017 (the “Settlement Hearing”)

 and approved the form and manner of notice for the Settlement Hearing. The Debtors and the

 RMBS Trustees will provide the notice of the Settlement Hearing and the RMBS Settlement

 Agreement in the manner required by the Scheduling Order. Although the Trustees have until the

 June 1, 2017 Acceptance Date to provide written notice to the Institutional Investors and the Plan

 Administrator of their acceptance or rejection of the RMBS Settlement Agreement, the Plan

 Administrator believes that they have agreed to a process that will provide certificateholders with

 more certain and favorable economics than they would achieve through completing Steps 3, 4 and

 5 of the Protocol and therefore believes that the Trustees will accept the modification to the

 Protocol embodied in the RMBS Settlement Agreement. Thus, the Plan Administrator is moving

 for approval of the RMBS Settlement Agreement concurrently with the Trustees’ review and

 consideration of the proposed settlement so that the Estimation Proceeding can take place in

 October 2017 as provided in the RMBS Settlement Agreement (assuming this Motion is

 approved).



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                10.     For the reasons explained below, the Plan Administrator has determined in

 the exercise of its sound business judgment that the RMBS Settlement Agreement represents a fair

 and equitable resolution of the Covered Loan Claims and satisfies the Second Circuit’s standard

 for approval of a compromise under Bankruptcy Rule 9019. The Plan Administrator respectfully

 requests that the Court approve the RMBS Settlement Agreement, make the required Trustee

 Findings and Debtors’ Findings, and grant the other relief requested herein.

                                 JURISDICTION AND VENUE

                11.     This Court has subject matter jurisdiction to consider this Motion pursuant

 to 28 U.S.C. §§ 157 and 1334, and the Plan Administrator believes that this Motion is a “core

 proceeding” arising in these cases. Pursuant to the RMBS Settlement Agreement, the Plan

 Administrator has agreed to request that this Court submit the proposed Trustee Findings to the

 District Court for approval. Venue before this Court is proper pursuant to 28 U.S.C. §§ 1408 and

 1409.

                                  RELEVANT BACKGROUND

 A.      The Bankruptcy Filing and Bar Date.

                12.     On September 15, 2008 (the “Petition Date”), the LBHI Debtors filed these

 cases. On July 2, 2009, the Court entered an order setting forth the procedures and deadlines for

 filing proofs of claim. Pursuant to that order, the LBHI Debtors provided notice of the bar date of

 September 22, 2009 (the “Bar Date”) to all known and potential creditors, including to the

 Trustees.

 B.      Establishment of the RMBS Trusts and Claims Asserted by the Trustees.

                13.     Prior to the Petition Date, certain of the LBHI Debtors, in the ordinary

 course of business, would acquire residential mortgage loans either originated or purchased by

 their subsidiaries and securitize such loans. Securitization of the loans entailed the establishment

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 of a trust or other special purpose vehicle to acquire the loans, hold the loans, and issue securities

 supported by proceeds of the loans. In connection with the securitizations, certain of the LBHI

 Debtors made certain representations and warranties regarding the quality and nature of certain of

 the loans or the documents included in the applicable loan file. The Governing Agreements

 typically provide that the applicable trustee may seek a contractually defined repurchase of a loan

 in the event there are certain breaches of representations or warranties. In order to assert such a

 claim, the Governing Agreements require a trustee to establish that: (i) a breach of a representation

 and warranty exists; (ii) the breach adversely and materially affects the value of the related

 mortgage loan; and (iii) prompt notice of the breach was provided to the LBHI Debtors.

                14.      On or around the Bar Date, certain trustees, including the Trustees, filed

 proofs of claims asserting approximately $37 billion in repurchase claims premised on allegations

 that certain of the LBHI Debtors: (i) breached various representations and warranties regarding the

 quality and characteristics of hundreds of thousands of mortgage loans; and (ii) provided deficient

 mortgage loan files. Such claims arise from approximately 406 Trusts and approximately 1.8

 million mortgage loans. The claims related to the Covered Loans6 (the “Covered Loan Claims”),

 which are being resolved by the RMBS Settlement Agreement, are a subset of the total universe

 of the alleged claims. As of the Modification Date, 244 of the Trusts asserted RMBS Claims in

 the Protocol on account of the Covered Loans aggregating a total of alleged purchase price of

 approximately $16.772 billion.7


 6
        The RMBS Settlement Agreement defines “Covered Loans” to mean (i) the Mortgage Loans identified as
        the “Covered Loans” in the RMBS Trustee’s Motion to (i) Increase the Reserve to $12.143 Billion and (ii)
        Estimate and Allow Their Claims for Covered Loans at $12.143 Billion Pursuant to Section 502(c) of the
        Bankruptcy Code, dated August 22, 2014 (See Docket No. 46078), and (ii) the additional Mortgage Loans
        identified as “Covered Loans” in the Status Report of the RMBS Trustees with respect to Compliance with
        the Protocol and Motion to Extend the Overall Claim File Cut-Off Date for Certain Loans under the Protocol
        Order and Grant Related Relief (See Docket No. 52342). See §1.08 of the RMBS Settlement Agreement.
 7
        Of the 406 RMBS trusts, as of the Modification Date, (a) 244 Trusts assert Covered Loan Claims subject to
        the RMBS Settlement Agreement, and (b) 16 trusts are Terminated Trusts. Of the 406 RMBS trusts, certain

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 C.     The RMBS Reserve.

                 15.      On December 6, 2011, the Court approved and entered an order (Docket

 No. 23023) confirming the Debtors’ chapter 11 plan (the “Plan”).

                 16.      On January 12, 2012, the LBHI Debtors moved to estimate the claims

 asserted by the RMBS Trustees, including the Covered Loan Claims (Docket No. 24254), under

 section 502(c) for the purposes of establishing a reserve for such claims under the Plan. Without

 estimation of such claims, the LBHI Debtors would have been required to establish a reserve based

 on the $37 billion face amount of the Claims, which would have foreclosed their ability to make

 meaningful distributions to other creditors under the Plan. Using a seven-step methodology, the

 LBHI Debtors estimated at the time that the amount of the claims – if able to be proven – would

 fall between $1.1 and $2.4 billion. Accordingly, the LBHI Debtors proposed a reserve of $2.4

 billion. (Id. at 12-13). This estimate was solely for the purposes of establishing a reserve, and it

 was not an estimate of the LBHI Debtors’ likely or potential liability at the time. The Trustees

 objected, contending that the reserved amount should be at least $15.3 billion. The parties

 ultimately agreed to establish a reserve (the “RMBS Reserve”) sufficient to make distributions on

 account of a $5 billion claim in connection with such claims. On February 22, 2012, the Court

 entered an order (Docket No. 25643, the “Reserve Order”) approving the $5 billion RMBS

 Reserve.

                 17.      When the Reserve Order was entered, the LBHI Debtors believed that the

 actual amount of the Claims would be significantly less than $5 billion, whereas the RMBS

 Trustees believed the actual value of the claims to be much higher. However, the RMBS Reserve




        contain loans that are Transferor Loans. There is overlap because certain Trusts are “hybrid” trusts, that is
        to say they contain both Covered Loans and Transferor Loans.

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 was agreed upon to advance these cases and to allow the LBHI Debtors to make prompt and

 meaningful distributions to creditors under the Plan. The Plan became effective on March 6, 2012,

 and the LBHI Debtors have made a number of interim distributions to creditors.

 D.     Prior Settlement Efforts and Attempts to Resolve the Trusts’ Claims.

                18.     The Reserve Order required the Trustees and the LBHI Debtors to

 participate in mediation to attempt to settle the allowed amount of the claims filed by the Trustees.

 The parties ultimately participated in a mediation (the “First Mediation”) before the Honorable

 Gary McGowan in July 2012, but were unable to reach an agreement.

                19.     Earlier in the cases, on March 14, 2011, the LBHI Debtors filed the One

 Hundred Ninth Omnibus Objection to Claims (“First Insufficient Documentation Objection”)

 (Docket No. 15008) seeking to disallow and expunge the claims on the basis that the Trustees

 failed to identify the loans they claim had breaches or provide sufficient supporting documentation.

 The First Insufficient Documentation Objection was just one of a number of objections the LBHI

 Debtors filed based on the LBHI Debtors’ view of similar issues. (See, e.g., Docket Nos. 14492,

 14493, 14494, & 16079).

                20.     In response to the LBHI Debtors’ objections, the RMBS Trustees

 responded in the following ways: (i) the Bank of New York Mellon, as trustee, permitted all of its

 claims to be expunged; (ii) Hong Kong and Shanghai Banking Corporation, as trustee, permitted

 all of its claims to be expunged except for those relating to identified breaches in certain of the

 underlying loans; and (iii) Bank of America, N.A., as trustee, transferred nearly all of its claims to

 U.S.   Bank,    N.A.   (“U.S.    Bank”)    and    Citibank,   N.A./Wilmington      Trust   Company

 (“Citibank/Wilmington”) as successor trustees.        Only Citibank/Wilmington, Deutsche Bank

 National Trust Company, U.S. Bank, and Wells Fargo Bank, N.A. challenged the objections.

                21.     On June 30, 2011, the Court held a hearing on the LBHI Debtors’ motions

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 to disallow certain claims. (See 6/30/11 Hr’g. Tr. (Docket No. 18251)). At the conclusion of that

 hearing, the Court reserved decision as to the remaining claims and encouraged the parties to

 consider other means of resolving their dispute. The Court also indicated that the RMBS Trustees

 would be put to the task of proving their claims in the absence of a consensual resolution. Despite

 the LBHI Debtors’ and the Trustees’ later efforts to consensually resolve the Trustees’ claims, no

 agreement was reached.

 E.        Establishment of the Protocol.

                 22.    On August 22, 2014, the Trustees filed a motion requesting that the existing

 RMBS Reserve be increased to $12.143 billion (Docket No. 46078, the “Trustees Reserve

 Motion”). On October 15, 2014, the Plan Administrator filed an objection to the Trustees Reserve

 Motion and also filed the Cross Motion to Establish A Protocol to Resolve Claims Filed by RMBS

 Trustees (Docket No. 46526, the “Cross-Motion”). On December 10, 2014, the Court, after a full

 day evidentiary hearing, granted the LBHI Debtors’ Cross-Motion and rejected the Trustees’

 motion to increase the reserve amount to $12.143 billion. (See 12/10/14 Hr’g Tr. (Docket No.

 49007)).

                 23.    On December 29, 2014, the Court entered an order (Docket No. 47569, the

 “Protocol Order”), approving the Plan Administrator’s proposed protocol (the “Protocol”) to

 reconcile and determine the RMBS Claims (as defined in the Protocol Order) on a loan-by-loan

 basis. The Protocol Order and Protocol established the following multi-step process to address the

 claims:

                 Steps 0-1: Production and review of claims files. In Steps 0-1, the Trustees were
                 required to collect and submit claim files, along with alleged RMBS Claims, to the
                 Plan Administrator by March 31, 2016. Under the Protocol, an RMBS Claim
                 package was required to include: (i) the mortgage loan file; (ii) a statement
                 describing either (a) the specific alleged defect and the representation or warranty
                 violated or (b) the specific document allegedly missing; (iii) a statement of how the
                 breach or defect entitles the Trustee to a claim under the applicable Governing

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                Agreements and applicable law; (iv) a calculation of the purchase price; and (v) a
                statement describing any notice of breach given to the LBHI Debtors.

                Step 2: Review of claims files by the Plan Administrator. In this second step, the
                Plan Administrator reviewed the claim files and determined whether the Trustees
                proved a material breach. If proven, the Plan Administrator approved the file and
                then either approved or recalculated the purchase price. If not approved, the Plan
                Administrator prepared a statement explaining the basis for rejection of the file.

                Step 3: Non-binding negotiation procedure for rejected claims and disputed
                approved claims. In Step 3, the Trustees could resubmit rejected claim files to the
                Plan Administrator with a rebuttal to allow for negotiation of a mutually acceptable
                allowed claim or dispute an approved claim to enable negotiation of a mutually
                acceptable allowed claim. If the parties could not resolve the disputed issues, the
                parties were to proceed to Step 4.

                Step 4: Non-binding dispute resolution procedure to resolve claims files disputes.
                In Step 4, the Plan Administrator was to submit disputed rejected claim files and
                disputed approved claims remaining after Step 3 for resolution to one or more
                neutral claim facilitators, who was to oversee a non-binding dispute resolution
                process. The claims facilitators were to either approve or disapprove the Plan
                Administrator’s approval or rejection of the claim file and provide a proposed claim
                amount, if applicable.

                Step 5: Court review and approval of claim amounts. In this final step, agreed
                claim amounts were to be approved by the Court, and disputed claims were to
                remain subject to objection and allowance by the Court on a loan-by-loan basis.

                24.     In an attempt to settle the allowed amount of the RMBS Claims before

 undertaking a process with the time and expense associated with the Protocol, the Plan

 Administrator and the Institutional Investors, as a follow up to the First Mediation, participated in

 a second mediation (the “Second Mediation”), commencing in January 2015 before JAMS

 mediator, David Geronemus, but were unable to reach an immediate agreement.

                25.     The Plan Administrator and the Trustees thus participated in Steps 0-1 of

 the Protocol from December 2014 through the Protocol’s Claims Cut-Off Date of March 31, 2016.

 The Plan Administrator and the Trustees also participated in Steps 2 and 3 of the Protocol until it

 was suspended. Pursuant to the RMBS Settlement Agreement, on March 30, 2017, the LBHI

 Debtors and the Trustees informed the Court of the existence of the settlement and that they

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 believed it was appropriate to suspend the Protocol until the earlier of the conclusion of the

 Estimation Hearing or the termination of the RMBS Settlement Agreement. The effect of the

 settlement is to forego the remaining alternative dispute resolution mechanisms embodied in the

 Protocol (business to business negotiations and mediations) and proceed directly to resolution of

 the claims by the Court.

                26.    On March 24, 2016, the Trustees requested that they be allowed to submit

 an additional number of Covered Loans into the Protocol. (See Docket No. 52342 (“Extension

 Motion”)). The Court granted the Extension Motion and ordered that all additional RMBS Claims

 not submitted to the Protocol would be disallowed and expunged upon entry of that Order.

                27.    On April 28, 2016, the Plan Administrator filed a Motion to (A) Disallow

 and Expunge Certain RMBS Claims and (B) Release Certain Related Claims Reserves. (See

 Docket No. 52640 (the “Expungement Motion”)).            The Expungement Motion sought the

 disallowance and expungement of certain proofs of claims for which no RMBS Claims were

 asserted by the deadline established by the Protocol and were not subject to the Extension Motion.

 On June 27, 2016, the Court entered an order (the “Expungement Order”) granting the

 Expungement Motion. (See Docket No. 53163). On July 11, 2016, the Trustees appealed the

 Expungement Order to the United States District Court for the Southern District of New York (the

 “District Court”). (See Docket No. 53308). On February 24, 2017, the District Court affirmed the

 Expungement Order. (See Docket No. 54934). On March 24, 2017, the Trustees appealed the

 District Court’s affirmance.

                28.    On August 30, 2016, the Plan Administrator filed a Second Objection in

 Certain RMBS Trust Claims and Motion to Disallow and Expunge Certain RMBS Trust Claims

 for Insufficient Documentation (Docket No. 53620) (the “Insufficient Documentation Objection”).



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 In the Insufficient Documentation Objection, the Plan Administrator sought to disallow certain

 RMBS Claims on the basis that the Trustees had failed to provide to the Plan Administrator certain

 required documentation and information in connection with the Protocol with respect to a number

 of Covered Loans submitted to the Protocol. The RMBS Trustees filed a brief and affidavits in

 opposition to the Insufficient Documentation Objection on September 29, 2016. (Docket Nos.

 53730, 53731, 53732). This matter has been continually adjourned as the parties attempted to

 reach agreement on the RMBS Settlement Agreement.8

 F.     Negotiations Regarding Settlement of the Covered Loan Claims.

                29.      On October 26, 2015, during the course of the Protocol, the Plan

 Administrator and the Institutional Investors entered into a settlement agreement whereby the

 Covered Loan Claims and the Transferor Loan Claims would be settled for $2.44 billion. While

 this settlement agreement was presented to the Trustees, as explained above, the Plan

 Administrator ultimately withdrew the settlement because the settlement would not have been

 accepted by a sufficient number of Trusts asserting the Covered Loan Claims.

                30.      The Plan Administrator and the Institutional Investors remained committed

 to resolving the Covered Loan Claims and on November 30, 2016, after years of litigation,

 negotiation, mediation, and meet-and-confers, the Plan Administrator and the Institutional

 Investors entered into a prior version of the RMBS Settlement Agreement attached to this Motion

 and presented it to the Trustees.             Following additional negotiations between the Plan

 Administrator, the Institutional Investors, and the Trustees, on March 17, 2017, the Plan

 Administrator and the Institutional Investors entered into a modified form of the RMBS Settlement



 8
        While this matter has been adjourned, the Plan Administrator may prosecute the objection or the bases of
        the objection as part of the Estimation Proceeding.


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 Agreement and presented the modified agreement to the Trustees for their consideration and,

 hopefully, acceptance.       As explained in further detail below, under the RMBS Settlement

 Agreement, the Plan Administrator has agreed to seek allowance of the Covered Loan Claims at

 $2.416 billion. The Institutional Investors have previously agreed that the allowance of the

 Covered Loan Claims for $2.416 billion is a fair and reasonable resolution of those claims, and

 have supported a settlement of the claims at that amount. The Institutional Investors continue to

 believe that a settlement at that amount is fair and reasonable, and they therefore support estimation

 of the Covered Loan Claims so long as the amount estimated is not less than $2.416 billion.

                              THE RMBS SETTLEMENT AGREEMENT

                31.      The key terms of the RMBS Settlement Agreement are as follows.9

 A.     General Economic Terms.

                32.      Generally, under the RMBS Settlement Agreement, the Plan Administrator

 and the Institutional Investors (and the Trustees, assuming their acceptance) have agreed to seek

 estimation of the Covered Loan Claims in an amount determined by the Court in an estimation

 proceeding (the “Estimation Proceeding”) pursuant to section 502(c) of the Bankruptcy Code. The

 Plan Administrator has agreed to seek estimation of the Covered Loan Claims in the amount of

 $2.416 billion, as an allowed class 7 general unsecured claim in these cases; the Trustees have the

 ability to seek estimation of the claims in a higher amount.

                33.      Under the RMBS Settlement Agreement, among other terms:

                         a.       if the Court estimates the Covered Loan Claims at $2 billion or
                                  more, all parties will have waived their right to appeal the Court’s
                                  decision;

 9
        The summary of the RMBS Settlement Agreement is qualified in its entirety by the terms and conditions of
        the RMBS Settlement Agreement. Such terms and conditions control to the extent that there is any conflict
        or inconsistency between this summary and the RMBS Settlement Agreement.



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                        b.     if the Court estimates the Covered Loan Claims at less than $2
                               billion, the Trustees (but not the Plan Administrator) may appeal the
                               Court’s decision;

                        c.     if the Court estimates the Covered Loan Claims in an amount
                               between $2 billion and $2.416 billion, the allowed claim will be
                               equal to $2.416 billion (and neither the Trustees nor the Plan
                               Administrator may appeal); and

                        d.     if the Court estimates the Covered Loan Claims in an amount greater
                               than $2.416 billion, such greater amount will be the allowed claim
                               (and neither the Trustees nor the Plan Administrator may appeal).

 B.      Limited Waiver of Appellate Rights.

                 34.    Under the RMBS Settlement Agreement, the Court shall not be required to

 make findings of fact or conclusions of law when determining the Allowed Claim of the Covered

 Loan Claims (except as provided in Section 3.02(c)(ii) of the RMBS Settlement Agreement, which

 is detailed below), and the Net Allowed Claim amount decided by the Court as a result of the

 Estimation Proceeding shall be final, binding, not subject to appeal or reconsideration, and shall

 be conclusive of the LBHI Debtors’ liability to the Participating Trusts or in any way related to

 the Covered Loan Claims of the Participating Trusts; provided, however, that to the extent that the

 Court decides that the Allowed Claim should be set at an amount less than $2 billion, the RMBS

 Settlement Agreement provides that (i) the Court will make findings of fact and conclusions of

 law when determining the Allowed Claim, and (ii) the Accepting Trustees shall have the right to

 appeal the Court’s decision. Under no circumstances may the Plan Administrator appeal the

 Bankruptcy Court’s decision in which it sets the amount of the Allowed Claim. See id. at §

 3.02(c)(i) and (ii).

 C.      Conduct of the Estimation Proceeding.

                 35.    The RMBS Settlement Agreement provides that the Estimation Proceeding

 will be conducted in accordance with the procedures set forth in Exhibit G of the RMBS Settlement


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 Agreement. These procedures were extensively negotiated by the Trustees and are a requirement

 to their proceeding with the RMBS Settlement Agreement. Such procedures provide for, among

 other things:

                 (i)     the Estimation Proceeding will commence no earlier than October 16, 2017;

                 (ii)    the Estimation Proceeding will be scheduled for at least 14 hearing days, or

                         a total of 98 hours, on the record, with the Plan Administrator being allotted

                         7 days (or a total of 49 hours) to present their case, including rebuttals, and

                         7 days (or a total of 49 hours) to be allotted to the RMBS Trustees;

                 (iii)   agreement to a pre-Estimation Proceeding expert discovery schedule

                         (generally running from May through September 2017) and requirements

                         for submission of each party’s expert reports;

                 (iv)    deemed withdrawal of all pending motions concerning the Covered Loans

                         and the Protocol;

                 (v)     each party will submit a single pre-trial brief (no more than 50 pages in

                         length) no less than 15 days prior to the Estimation Proceeding; and

                 (vi)    other requirements regarding identification of witnesses and exhibits, and

                         agreements as to certain evidence to be offered into evidence at the

                         Estimation Proceeding.

 D.     Allocation of the Net Allowed Claim Among Participating Trusts.

                 36.     Each Participating Trust10 will receive an allocable share of the Net Allowed

 Claim (i.e., the allowed amount of the Covered Loan Claims, as determined by the Court in the


 10
        “Participating Trust” is defined under the RMBS Settlement Agreement to mean any Trust that (i) accepts
        the RMBS Settlement Agreement and (ii) is included within (a) Final Court Approval and (b) the estimation
        of the Covered Loan Claims (the “Estimation”) and Estimation Proceeding. See § 3.02(a) of the RMBS
        Settlement Agreement.

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 Estimation Proceeding, plus interest thereon to the extent provided by Section 8.4 of the Plan, less

 the Legal Fees11) pursuant to Section 3.04 of the RMBS Settlement Agreement. (The parties have

 agreed under the RMBS Settlement Agreement that if there are any Excluded Trusts,12 the Net

 Allowed Claim will be reduced by the amounts that had been allocated to the Excluded Trusts

 under Section 3.04 of the RMBS Settlement Agreement.) Pursuant to Section 3.04 of the RMBS

 Settlement Agreement, the Net Allowed Claim shall be allocated among the relevant trusts by the

 Accepting Trustees by calculating for each such trust its “Allocable Share” of the Net Allowed

 Claim, pursuant to the binding determination of the Expert (who will perform any required

 calculations).13 To the extent that the loans in any Accepting Trust are divided by the Governing

 Agreements into groups of loans (“Loan Groups”) so that ordinarily only certain classes of

 investors benefit from the proceeds of particular Loan Groups, those Loan Groups shall be deemed

 to be separate Accepting Trusts solely for purposes of the allocation methodologies set forth in the

 Settlement Agreement.14 The allocated percentage for any given Trust shall be (i) the dollar

 amount of the claims asserted pursuant to the Protocol by the relevant trust as determined by the

 Expert, divided by (ii) the dollar amount of claims asserted pursuant to the Protocol by the relevant

 trusts as determined by the Expert expressed as a percentage.15 The Initial Allocated Percentages




 11
        “Legal Fees” are defined under the RMBS Settlement Agreement to mean 4.75% of the first $2.416 billion
        of the Allowed Claim to be paid to counsel to the Institutional Investors for its work relating to the
        Settlement. See id. at §§ 3.01, 6.05.
 12
        “Excluded Trusts” are defined under the RMBS Settlement Agreement to mean any Trusts that (i) do not
        accept the RMBS Settlement Agreement, (ii) are not included within Final Court Approval, or (iii) are not
        included within the Estimation and Estimation Proceeding. See id. at § 3.02(a).
 13
        “Expert” is defined under the RMBS Settlement Agreement to mean the professional firm retained or to be
        retained by one or more of the Accepting Trustees to make the calculations required in connection with the
        allocation of the Net Allowed Claim.
 14
        See id. at §3.04.
 15
        See id.

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 for each Trust are attached to the RMBS Settlement Agreement as Exhibit H. In the event that all

 Trusts become Accepting Trusts and no Trusts become Excluded Trusts, the Allocated Percentage

 for each Trust will be the same as set forth on Exhibit H. For any Participating Trust, the Allocable

 Share will be equal to the Net Allowed Claim multiplied by the Allocated Percentage (with the

 final allocated percentage being determined by the Expert within 30 days of the date the Net

 Allowed Claim has been determined by the Court).

                 37.         Plan Payments on each Participating Trust’s Allocable Share shall be

 deposited into the related Trust’s collection or distribution account pursuant to the terms of the

 Governing Agreements, for further distribution in accordance with the distribution provisions of

 the Governing Agreements as though such Plan Payments are a subsequent recovery available for

 distribution on the related distribution date. If the Governing Agreement for a Participating Trust

 does not include the concept of subsequent recovery, the deposit into that Trust will be distributed

 as though it was unscheduled principal available for distribution on the related distribution date.16

 Accordingly, the RMBS Settlement Agreement and its claims allocation will prevent a windfall to

 any one Trust, Institutional Investor, or any other certificateholder in any Trust, treat the

 Participating Trusts equitably and in accordance with their contractual rights under the Governing

 Agreements, and maximize recoveries for all Participating Trusts.17

 E.     Release of Claims.

                 38.         For and in consideration of the Allowed Claim, and the other agreements in

 the RMBS Settlement Agreement, the Participating Trusts, the Accepting Trustees for the




 16
        See id. at § 3.06.
 17
        The Allocation Formula will not be binding on the LBHI Debtors nor it will affect the LBHI Debtors’ right
        to account for and allocate the Allowed Claim in accordance with their own analyses of the RMBS Claims
        and in the best interests of the bankruptcy estate. See id. at § 3.04.

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 Participating Trusts, and any and all persons claiming by, through, or on behalf of such

 Participating Trusts (including any investors claiming derivatively for any such trust), and any and

 all agents or appointees acting on behalf of the Accepting Trustees will irrevocably and

 unconditionally grant a full, final, and complete release, waiver, and discharge of all of their claims

 against the Released Parties18 that were asserted, or that could have been asserted in the Covered

 Loan Claims filed or asserted in the Bankruptcy Proceeding or in the Protocol by the Accepting

 Trustees on behalf of the Participating Trusts.19

                 39.         Article IV of the RMBS Settlement Agreement identifies particular claims

 which will not be released under the agreement, including: (i) the rights and obligations of third

 party guarantors or financial-guaranty providers associated with any Trust where the rights and

 obligations are wholly independent of the rights and obligations of the Trustees of or Investors in

 such Trust, the Trustees, or the Trusts; (ii) any rights or claims against any party that is not a

 Released Party; (iii) any rights or claims to enforce the terms of the RMBS Settlement Agreement;

 (iv) any direct individual claims for securities fraud or other alleged disclosure violations

 (“Disclosure Claims”) that any certificateholder, bondholder, or noteholder in the Trusts

 (collectively, the “Investors”) seek to assert based upon such Investor’s purchase or sale of

 securities; (v) claims against parties other than the Released Parties related to the origination and/or

 sale of the mortgage loans sold or securitized by the LBHI Debtors; (vi) any obligation of any

 Master Servicer or Servicer that is not a debtor in the Bankruptcy Proceeding that pertains to the



 18
        Released Parties shall mean (i) any and all LBHI Debtors and their affiliates and subsidiaries identified on
        Exhibit C to the RMBS Settlement Agreement, and their respective present and former directors, officers,
        employees, auditors, advisors (including financial advisors), legal counsel, representatives, and agents, and
        (ii) Aurora Commercial Corp., f/k/a Aurora Bank, FSB, f/k/a Lehman Brothers Bank, FSB, and Aurora
        Loan Services, LLC, and their respective present and former directors, officers, employees, auditors,
        advisors (including financial advisors), legal counsel, representatives, and agents. See id. at §§ 1.29, 3.03.
 19
        See id. at § 3.03.

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 servicing of the mortgage loans held by the Trusts; (vii) any existing obligation under the

 Governing Agreements to provide and/or procure, as applicable, documents needed to cure

 document defects; and (viii) claims, liabilities, rights, obligations, or other relationships held by

 one or more LBHI Debtors against one or more other LBHI Debtors.20 The RMBS Settlement

 Agreement nonetheless is clear that nothing in the agreement is intended to or shall be read to alter,

 modify, or amend any order of the Court, any provision in the Plan, or provision of law concerning

 the assertion or timeliness of any Disclosure Claims or any other claims. See id. In other words,

 all applicable bar dates and deadlines in prior Court orders, under the Plan, or at law, still apply.

 F.        Acceptance of the RMBS Settlement Agreement.

                    40.       The RMBS Settlement Agreement establishes a multi-step approval process

 to ensure that the affected relevant parties, including the Trustees, would have the appropriate

 opportunity to accept or reject the proposed settlement. First, on November 30, 2016, the

 Institutional Investors (who are holders and/or authorized investment managers for holders of over

 $6 billion of the unpaid principal balance of securities issued by the RMBS Trusts) accepted and

 entered into a prior version of the RMBS Settlement Agreement. Discussions and negotiations

 thereafter proceeded between the Trustees, the Institutional Investors, and the Plan Administrator

 regarding the terms of the agreement. After months of additional discussions and negotiations, the

 Plan Administrator and the Institutional Investors agreed to modify the agreement that had been

 presented to the Trustees on November 30, 2016, and executed a modified version of the RMBS

 Settlement Agreement, which was presented to the Trustees on March 17, 2017 (the “Modification

 Date”).



 20
           See id. at Article IV.



                                                     20
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                 41.         The Trustees, on behalf of the Trusts, have until June 1, 2017 (the

 “Acceptance Date”) to elect to participate in the RMBS Settlement Agreement. In connection

 therewith, the Institutional Investors submitted through their counsel a letter to each of the Trustees

 expressing their support for the Settlement and requesting that each Trustee enter into the RMBS

 Settlement Agreement. During the time between the Modification Date and the Acceptance Date,

 the Trustees will have the opportunity to review the RMBS Settlement Agreement and its terms.

 As part of this process, the RMBS Trustees can solicit input from Investors, and retain experts to

 assist them as necessary to inform themselves concerning the RMBS Settlement Agreement.21 On

 or prior to the Acceptance Date, each Trustee must provide written notice to the Institutional

 Investors and the Plan Administrator evidencing acceptance (or rejection) of the RMBS Settlement

 Agreement on behalf of the Trusts they represent.

 G.     The Trustee Findings and the Debtors’ Findings.

                 42.         The RMBS Settlement Agreement provides that the Trustee Findings must

 be approved by order of the Court and then, the District Court. The Trustee Findings required to

 be included within Final Court Approval are that:

                 (i)         the Court and the District Court have jurisdiction to hear and adjudicate the

                             Motion;

                 (ii)        adequate and reasonable notice of the Motion was provided to

                             certificateholders, noteholders, and any other parties claiming rights in any

                             Accepting Trust, and constitutes due and sufficient notice in satisfaction of

                             federal and state due process requirements and other applicable law;




 21
        See id. at § 2.04.

                                                      21
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                 (iii)   any objections that were raised or could have been raised in opposition to

                         the Motion are overruled and/or waived; and

                 (iv)    the Accepting Trustees acted in good faith and exercised reasonable

                         discretion in evaluating and entering into the RMBS Settlement Agreement.

                 43.     Similarly, it is a condition to the LBHI Debtors’ obligations under the

 settlement that the Court make the Debtors’ Findings. The Debtors’ Findings required to be

 included within Final Court Approval are set forth in Exhibit I to the RMBS Settlement Agreement

 and are that:

                 (i)     the Court and the District Court have jurisdiction to hear and adjudicate the

                         Motion;

                 (ii)    adequate and reasonable notice of the Motion was provided to all interested

                         parties, and constitutes due and sufficient notice in satisfaction of federal

                         and state due process requirements and other applicable law;

                 (iii)   any objections that were raised or that could have been raised in opposition

                         to the Motion are overruled and/or waived; and

                 (iv)    each of the Plan Administrator and the other LBHI Debtors acted in good

                         faith and exercised sound business judgment in connection with its

                         determination to enter into the RMBS Settlement Agreement and approval

                         of the RMBS Settlement Agreement is in the best interests of the LBHI

                         Debtors, their respective estates, and creditors.

                 44.     The required Trustee Findings and Debtors’ Findings have been included in

 the Proposed Order.




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 H.     Bar Order.

                 45.      Pursuant to Section 2.07 of the RMBS Settlement Agreement, the Plan

 Administrator agreed to request the entry of an order barring Investors in the Accepting Trusts

 from asserting claims against the Accepting Trustees with respect to their evaluation and

 acceptance of the RMBS Settlement Agreement and implementation of the RMBS Settlement

 Agreement in accordance with its terms. In the event that the Court determines it is appropriate to

 approve the RMBS Settlement Agreement and make the proposed Trustee Findings, the Plan

 Administrator respectfully submits that the Court will have more than ample basis on which to bar

 these types of claims and therefore requests that the Court include the necessary bar language

 within the Proposed Order.

                                          RELIEF REQUESTED

                 46.      The Plan Administrator, in its informed business judgment, submits that the

 RMBS Settlement Agreement is in the best interests of the LBHI Debtors’ estates and should be

 approved pursuant to section 105(a) of the Bankruptcy Code and Rule 9019 of the Bankruptcy

 Rules. Accordingly, the Plan Administrator respectfully requests that this Court enter an order,

 substantially in the form of the Proposed Order (which includes the Trustee Findings and the

 Debtors’ Findings), granting this Motion and approving the RMBS Settlement Agreement. In

 order to satisfy the requirements of the RMBS Settlement Agreement, the Plan Administrator also

 respectfully requests that the Court submit any order approving this Motion to the District Court

 for approval of the Trustee Findings.22




 22
        Although the Plan Administrator firmly believes that this Court has core jurisdiction to hear and determine
        all aspects of the Motion, including those that relate to the Trustee Findings, the Trustees required as a
        condition to proceeding that the Trustee Findings be approved by the District Court.

                                                        23
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                                       BASIS FOR RELIEF

                47.     Rule 9019(a) provides, in part, that “[o]n motion by the [debtor-in-

 possession] and after notice and a hearing, the court may approve a compromise or settlement.”

 Fed. R. Bankr. P. 9019(a). This rule empowers bankruptcy courts to approve a settlement

 agreement where “it is supported by adequate consideration, is ‘fair and equitable,’ and is in the

 best interests of the estate.” Air Line Pilots Ass’n, Int’l v. Am. Nat’l Bank & Tr. Co. of Chicago

 (In re Ionosphere Clubs, Inc.), 156 B.R. 414, 426 (S.D.N.Y. 1993). The Court’s analysis is not a

 mechanical process, but rather contemplates a “range of reasonableness .. . which recognizes the

 uncertainties of law and fact in any particular case and the concomitant risks and costs necessarily

 inherent in taking any litigation to completion....” Newman v. Stein, 464 F.2d 689, 693 (2d Cir.

 1972).

                48.     The decision to approve a particular settlement lies within the sound

 discretion of the Bankruptcy Court. See Nellis v. Shugrue, 165 B.R. 115, 122-23 (S.D.N.Y. 1994);

 In re Ionosphere Clubs, Inc., 156 B.R. at 426. Discretion should be exercised by the Bankruptcy

 Court “in light of the general public policy favoring settlements.” In re Hibbard Brown & Co.,

 217 B.R. 41, 46 (Bankr. S.D.N.Y. 1998); Shugrue, 165 B.R. at 123 (“[T]he general rule [is] that

 settlements are favored and, in fact, encouraged.”).

                49.     To approve a proposed settlement, the Court need not definitively decide

 the numerous issues of law and fact raised by the settlement. Rather, the Court should “canvass

 the issues and see whether the settlement ‘fall[s] below the lowest point in the range of

 reasonableness.’” Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir. 1983)

 (citing Newman v. Stein, 464 F.2d at 693); see also In re Purofied Down Prods. Corp., 150 B.R.

 519, 522 (S.D.N.Y. 1993) (“the court need not conduct a ‘mini-trial’ to determine the merits of the

 underlying [dispute]”).

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                50.     This Court also has the authority to approve a settlement under section

 105(a) of the Bankruptcy Code, which allows it to “issue any order, process, or judgment that is

 necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” See 11 U.S.C. §

 105(a).

                51.     In deciding whether a particular settlement falls within the “range of

 reasonableness,” courts consider the following “Iridium” factors: (i) the balance between the

 litigation’s possibility of success and the settlement’s future benefits; (ii) the likelihood of complex

 and protracted litigation, “with its attendant expense, inconvenience, and delay”; (iii) the

 paramount interests of creditors; (iv) whether other parties in interest support the settlement; (v)

 “the nature and breadth of releases to be obtained by officers and directors”; (vi) the “competency

 and experience of counsel” supporting, and “[t]he experience and knowledge of the bankruptcy

 court judge” reviewing the settlement; and (vii) “the extent to which the settlement is the product

 of arm’s-length bargaining.” Motorola, Inc. v. Official Comm. of Unsecured Creditors (In re

 Iridium Operating LLC), 478 F.3d 452, 462 (2d Cir. 2007) (internal citations and quotations

 omitted).

                52.     The Plan Administrator respectfully submits that each of the Iridium factors

 weighs in favor of this Court’s approval of the RMBS Settlement Agreement.

 A.        THE BALANCE BETWEEN THE LITIGATION’S POSSIBILITY OF SUCCESS
           AND THE SETTLEMENT’S FUTURE BENEFITS

                53.     The RMBS Settlement Agreement is the result of tough, arm’s-length

 negotiations between sophisticated parties. As part of these negotiations, the Plan Administrator,

 the Institutional Investors, and the Trustees (assuming their acceptance) each will have concluded

 that determining the Net Allowed Claim (i.e., the allowed amount of the Covered Loan Claims

 submitted in the Protocol) in the manner contemplated by the RMBS Settlement Agreement was


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 reasonable and appropriate based on their own assessments of the possibility of success of the

 litigation and the benefits of the Settlement. The terms of the Settlement reflect the Plan

 Administrator’s reasonable assessment of the risk, as well as the substantial expense and delay of

 completing the Protocol (including protracted Step 5 litigation and attendant appeals), and the

 related impact on the LBHI Debtors’ future distribution efforts, balanced against the benefits to all

 parties of more near term and certain resolution of such litigation. While the Plan Administrator

 believes that the Protocol ultimately would result in an amount far less than that asserted by the

 Trustees and even the $2.416 billion amount, that assessment is not without risk and the RMBS

 Settlement Agreement will allow the LBHI Debtors to determine the Covered Loan Claims sooner

 than the Protocol’s multistep process, save the substantial costs that would arise from completing

 that process, eliminate the risk of appeal and expedite distributions to all creditors, which will

 undoubtedly conclude the LBHI Debtors’ cases significantly sooner than contemplated under the

 expected timeframe of the Protocol.

                54.     While the Plan Administrator continues to dispute the validity and the

 magnitude of the Covered Loan Claims, it is patently clear that, absent the estimation process

 contemplated by the RMBS Settlement Agreement, continuing to resolve the Covered Loan

 Claims through the Protocol will require an enormous undertaking and an extraordinary amount

 of additional time and expense. This is not because the Protocol has not been successful to date.

 Through the Protocol, there were over 90,000 loans in over 250 RMBS trusts for which the

 Trustees alleged in excess of $16 billion of claims against the LBHI Debtors. The parties diligently

 and successfully completed each of Steps 0-1 and 2 of the Protocol. The Plan Administrator has

 reviewed each claim that was supported by the documentation required for a complete review, and

 has approved or rejected each such claim. In Step 3 of the Protocol, the Trustees pursued billions



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 of dollars of claims that the Plan Administrator does not believe are due under the terms of the

 Governing Agreements. To continue with Steps 3 and 4 (business level discussions and formal

 claims facilitation procedures, respectively) followed by Step 5 (judicial determination on a loan-

 by-loan basis) would only result in years of additional expense and litigation.

                55.      Such litigation can be avoided through an informed estimation hearing now

 that the parties have the subject loan files and results of Steps 0-1 and 2 of the Protocol. A more

 expeditious process is provided by the RMBS Settlement Agreement pursuant to the Estimation

 Proceeding. Although the Estimation Proceeding may require up to 3 weeks of complete hearing

 days (the Plan Administrator believes that the proceeding could be much shorter, but the Trustees

 required a substantial number of hearing days as a condition to moving forward with the RMBS

 Settlement Agreement), it is essentially appeal free and such a proceeding will be substantially

 shorter than what would be required by a full-blown, loan-by-loan trial on the merits and attendant

 appeals. The Covered Loan Claims have been pending for over seven years and the Protocol for

 over two years. It is now time to put an end to this protracted process and enormous expense to

 the LBHI Debtors’ estates.23

                56.      The Covered Loan Claims involve a multitude of issues, arguments, and

 analyses from both sides.          Particularly in the context of numerous complex mortgage

 securitizations and the varied loan products in each, the Plan Administrator submits that the time

 and complexity of the litigation at issue, the difficulty inherent in predicting the success of either

 party with respect to any particular disputed issue, and the risks and unnecessary distractions

 associated with complex and protracted claims loan-by-loan litigation render the RMBS


 23
        The LBHI Debtors initially envisioned that the successive Protocol steps would substantially narrow the
        areas and loan counts in dispute. Regretfully, although Steps 1 and 2 produced substantial loan-level
        information and narrowed the scope of claims being pursued, the LBHI Debtors and the Trustees were unable
        to resolve a meaningful amount of the claims in Step 3.

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 Settlement Agreement particularly reasonable and appropriate. The RMBS Settlement Agreement

 thus provides certainty to the LBHI Debtors with respect to one of the single largest set of

 outstanding disputed claims against the LBHI Debtors’ estates and removes hurdles to resolving

 substantial impediments to completing the bankruptcy process for the LBHI Debtors, which has

 been ongoing since 2008.

                57.    In short, although the potential outcome of the Covered Loan Claims after

 a lengthy litigation process could be less than the Net Allowed Claim that will be determined

 pursuant to the Estimation Proceeding, the substantial cost and delay of completing the Protocol,

 including loan-level litigation in Step 5, and likely appeals, make proceeding with the Estimation

 Proceeding a more efficient and reasonable way to resolve these claims in the best interests of all

 parties, including the LBHI Debtors’ estates and creditors.

 B.     THE LIKELIHOOD OF COMPLEX AND PROTRACTED LITIGATION

                58.    The Covered Loan Claims, if not resolved by the RMBS Settlement

 Agreement, will continue in loan-by-loan litigation through Step 5 of the Protocol. As set out

 above, the litigation of alleged representation and warranty breaches alone is extremely complex,

 labor-intensive, costly and time-consuming.

                59.    Already, the history of the Protocol and these cases has shown that the

 litigation and related process will be contentious and drawn out.         The RMBS Settlement

 Agreement avoids these costs and delays. Pursuant to the agreement, the Estimation Proceeding

 will conclude in approximately 3 weeks (which, although lengthy, is substantially less than the

 years that would be required for loan-level litigation). Moreover, the Plan Administrator has

 agreed to waive its appeal rights, as it is confident in the Court’s ability to fairly evaluate and

 determine the Covered Loan Claims. For their part, the Trustees will have waived their appellate

 rights as well, provided the Net Allowed Claim amount determined by the Court is not less than

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 $2 billion. Although the Plan Administrator believes the Court could estimate the claims well

 below $2.416 billion based on the results of the Protocol and the evidence to be adduced at the

 Estimation Proceeding, the Plan Administrator has agreed to seek estimation and allowance at

 $2.416 billion in order to achieve finality and minimize appellate risk while providing for favorable

 and reasonable economics to certificateholders.

                60.     In addition, the Institutional Investors support estimation so long as the

 amount estimated is not less than $2.416 billion and agree that a settlement at this amount is fair

 and reasonable. Unlike the Trustees, who do not hold an economic interest in the allowed amount

 of the Covered Loan Claims, the Institutional Investors are some of the largest economic

 stakeholders in the RMBS. The RMBS Settlement Agreement enables the Plan Administrator to

 present and the Court to consider that the largest economic stakeholders in the RMBS have agreed

 and are willing to accept allowance in the amount of $2.416 billion. This informs the Plan

 Administrator’s belief that the RMBS Settlement Agreement eliminates the likelihood of complex

 and protracted litigation.

 C.     THE PARAMOUNT INTERESTS OF CREDITORS

                61.     The RMBS Settlement Agreement is beneficial to the LBHI Debtors’

 estates and their stakeholders because the proposed Settlement will resolve one of the single largest

 groups of unsecured claims that are outstanding against the LBHI Debtors, thereby providing

 much-needed predictability with respect to the LBHI Debtors’ future distributions under the Plan.

 Moreover, the certainty of the proposed Settlement avoids the necessity of continuing to set aside

 substantial reserves for the potential payment of the Covered Loan Claims, which have delayed

 and reduced recoveries by other stakeholders. The RMBS Settlement Agreement also provides

 the framework for a prompt determination of the Covered Loan Claims in a fair and reasonable

 manner and before the Court most familiar with the LBHI Debtors and these types of claims.

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 Furthermore, it is indisputable that the loan-by-loan litigation of the Covered Loan Claims would

 burden the LBHI Debtors’ estates with significant legal expenses. Even if the Plan Administrator

 were to defeat each claim, the legal fees and other burdens of litigation would necessarily harm

 the LBHI Debtors’ estates and reduce and delay Plan distributions to creditors. Thus, the

 Settlement is in the paramount interest of creditors.

 D.     SUPPORT FOR THE SETTLEMENT BY CERTIFICATEHOLDERS

                62.     The RMBS Settlement Agreement is supported by 14 Institutional

 Investors, who are holders, and/or authorized investment managers for holders, of over $6 billion

 in certificates in the Trusts regarding the Covered Loan Claims.

 E.     THE NATURE OF THE RELEASES TO BE OBTAINED BY LBHI DEBTORS’
        OFFICERS AND DIRECTORS

                63.     The RMBS Settlement Agreement releases the LBHI Debtors, their non-

 Debtor affiliates and the LBHI Debtors’ officers and directors of any and all claims that were

 asserted, or that could have been asserted, by the Trusts or anyone claiming by or through the

 Trusts related to the Covered Loan Claims. This expansive release provides certainty and finality

 to the Lehman estate, and eliminates potential residual exposure from indemnification or other

 claims. As the releases are solely tied to the Covered Loan Claims and do not extend to indemnify

 the officers and directors from non-Covered Loan Claims in the LBHI Debtors’ bankruptcy, this

 Iridium factor weighs in favor of approval.

 F.     THE PROPOSED SETTLEMENT AGREEMENT SATISFIES THE REMAINING
        IRIDIUM FACTORS

                64.     For the reasons stated above, the Plan Administrator believes that the

 paramount interests of all parties are best served by approval of the RMBS Settlement Agreement.

 Moreover, the final two Iridium factors are also satisfied because the RMBS Settlement Agreement



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 was negotiated in good faith and from arm’s-length bargaining positions, and all parties were

 represented by experienced and sophisticated counsel.

                                           * * * * *

        In sum, the Plan Administrator, determined, in exercising its sound business judgment, that

 the RMBS Settlement Agreement is fair, equitable, and eminently reasonable to the LBHI Debtors’

 estates and creditors, thereby satisfying the standards of Bankruptcy Rule 9019. The timely and

 final resolution of these extensive claims is in the best interests of the LBHI Debtors and their

 creditors. The Plan Administrator therefore submits that the RMBS Settlement Agreement is fair

 and well within the range of reasonableness — and certainly not “below the lowest point in the

 range of reasonableness.” In re W.T. Grant Co., 699 F.2d at 608. Accordingly, the Plan

 Administrator respectfully requests that the Court approve the RMBS Settlement Agreement.

                                  NOTICE AND PROCEDURE

                65.    No trustee has been appointed in these cases. The Plan Administrator will

 provide notice of this Motion in accordance with the Scheduling Order. In addition, the Trustees

 have provided or will provide notice of this Motion and the RMBS Settlement Agreement in

 accordance with the notice procedures set forth in the Scheduling Order. The Plan Administrator

 submits that no other or further notice need be provided. No previous request for the relief sought

 herein has been made to this Court or any other court.

                66.    This Motion sets forth the legal authorities upon which the Motion is based.

 Accordingly, the Plan Administrator respectfully submits that the Motion itself satisfies the

 requirements of the local bankruptcy rules that a separate memorandum of law be submitted

 herewith.

                67.    No prior motion for the relief set forth herein has been made to this or any

 other court.

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                                         CONCLUSION

        WHEREFORE, the Plan Administrator respectfully requests the entry of the Proposed

 Order granting the relief requested herein and such other and further relief as the Court may

 deem just and proper.

 Dated: New York, New York
        April 27, 2017

                                              /s/ Paul V. Shalhoub
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                                              Inc. and Certain of Its Affiliates




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                                    EXHIBIT A

                                  Proposed Order
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- x
                                                            )
  In re                                                     )   Case No. 08-13555 (SCC)
                                                            )
  Lehman Brothers Holdings Inc., et al.,                    )   Chapter 11
                                                            )
              Debtors.                                      )   Jointly Administered
                                                            )
 ---------------------------------------------------------- x


                  ORDER APPROVING RMBS SETTLEMENT AGREEMENT

         Upon the motion, dated April 27, 2017 (the “Motion”),1 of Lehman Brothers Holdings Inc.

 (the “Plan Administrator”) as Plan Administrator under the Modified Third Amended Joint Chapter

 11 Plan of Lehman Brothers Holdings Inc. and Its Affiliated Debtors (the “Plan”), on behalf of

 itself and the other affiliated debtors in the above-captioned cases (collectively, the “LBHI

 Debtors”), pursuant to Rule 9019(a) of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”) and section 105(a) of title 11 of the United States Code (the “Bankruptcy

 Code”) for approval of that certain RMBS Trust Settlement Agreement entered into as of

 November 30, 2016, and modified as of March 17, 2017 (the “RMBS Settlement Agreement”), by

 and among the LBHI Debtors, the Institutional Investors and, upon acceptance as described in the

 Settlement Agreement, the Accepting Trustees, all as more fully described in the Motion; and the

 Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the

 Amended Standing Order of Reference M-431, dated January 31, 2012 (Preska, C.J.); and it

 appearing that venue of these cases and the Motion in this district is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409; and it appearing that this proceeding on the Motion is a core proceeding



 1
         Capitalized terms not otherwise defined herein have the meanings ascribed to them in the Motion.
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 pursuant to 28 U.S.C. §157(b); and the RMBS Settlement Agreement requiring that this Court

 submit the Trustee Findings contained herein to the District Court for consideration and approval;

 and notice of the Motion having been given in accordance with this Court’s April 6, 2017

 scheduling order (Docket No. 55154) (the “Scheduling Order”); and it appearing that no other or

 further notice need be provided; and the Court having found that the RMBS Settlement Agreement

 is reasonable, fair and equitable and supported by adequate consideration; and that the relief

 requested in the Motion is in the best interests of the LBHI Debtors’ estates, their creditors, and

 other parties in interest; and after due deliberation and sufficient cause appearing therefore, it is

 hereby

                FOUND AND DETERMINED that:

                1.    This Court has jurisdiction to hear Motion and adjudicate the Motion.

                2.    Certificateholders, noteholders, and any other parties claiming rights in any

 Accepting Trust, and all parties entitled to receive notice of the Motion, have been provided with

 notice that was reasonable, adequate, and was the best notice practicable, was reasonably

 calculated to put interested parties on notice of the Motion, and constitutes due and sufficient

 notice of the Motion in satisfaction of federal and state due process requirements and other

 applicable law. All such persons have been given the opportunity to be heard in opposition to

 the Motion.

                3.    Any objections that were raised or that could have been raised in opposition

 to the Motion, that have not been withdrawn or resolved, are overruled and/or waived.

                4.    Each of the Accepting Trustees acted within the bounds of its discretion,

 reasonably, and in good faith with respect to its evaluation and acceptance of the RMBS

 Settlement Agreement concerning the applicable Accepting Trust(s).


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                5.    Each of the Plan Administrator and the other LBHI Debtors has acted in

 good faith and exercised sound business judgment in connection with its determination to enter

 into and execute the Settlement Agreement. Approval of the Settlement Agreement is in the best

 interests of the LBHI Debtors, their respective estates and creditors.

                ACCORDINGLY, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

 that:

                A.      The Motion is granted.

                B.      Pursuant to Bankruptcy Rule 9019, the RMBS Settlement Agreement

                        (including all annexed Exhibits thereto) is approved.

                C.      To the extent not already authorized, the Plan Administrator and the other

                        LBHI Debtors, acting through the Plan Administrator, are authorized to

                        execute, deliver, implement and fully perform any and all obligations,

                        instruments, documents and papers and to take any and all actions

                        reasonably necessary or appropriate to consummate the RMBS Settlement

                        Agreement and perform any and all obligations contemplated therein.

                D.      The Estimation Proceeding shall be conducted in accordance with the

                        procedures set forth in Exhibit G of the RMBS Settlement Agreement.

                E.      Pursuant to section 105(a) of the Bankruptcy Code, the Accepting Trustees

                        are authorized and directed to take such actions as they reasonably deem

                        necessary or appropriate to consummate the RMBS Settlement Agreement

                        and to perform any and all obligations contemplated therein.




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               F.   This Order and the RMBS Settlement Agreement is binding and effective

                    on the LBHI Debtors, the Institutional Investors, and the Accepting

                    Trustees, as well as any successor to any of the forgoing.

               G.   Investors in the Accepting Trusts shall be barred from asserting claims

                    against the Accepting Trustees with respect to their evaluation and

                    acceptance of the RMBS Settlement Agreement and implementation of the

                    RMBS Settlement Agreement in accordance with its terms.

               H.   The allocation set forth in Section 3.04 of the RMBS Settlement Agreement

                    shall in no way be binding on the Plan Administrator or the other LBHI

                    Debtors or affect each such party’s right to account for and allocate the

                    Allowed Claim in accordance with its own analyses of the Claims and in

                    the best interests of the Estate, and such right hereby is expressly preserved;

                    provided, that, the Plan Administrator’s and other LBHI Debtors’ account

                    and allocation of the Allowed Claim shall in no way affect the allowance

                    and priority of such claim or manner in which the Allowed Claim is

                    allocated among the Trusts as provided in Section 3.04 of the RMBS

                    Settlement Agreement.

               I.   The terms of this Order shall be effective and enforceable immediately upon

                    its entry.

               J.   This Court retains exclusive jurisdiction to hear and determine any dispute

                    regarding the interpretation or enforcement of the RMBS Settlement

                    Agreement until the closing of the LBHI Debtors’ bankruptcy cases. The




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                    Court otherwise retains jurisdiction with respect to all matters arising from

                    or related to the implementation of this Order.

 Dated: _______________, 2017
        New York, New York


                                           THE HONORABLE SHELLEY C. CHAPMAN
                                           UNITED STATES BANKRUPTCY JUDGE




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                                    EXHIBIT B

                            RMBS Settlement Agreement
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                                                             EXECUTION VERSION


                         RMBS TRUST SETTLEMENT AGREEMENT

         This RMBS Trust Settlement Agreement (“Settlement Agreement”) is entered into as of
 November 30, 2016 (the “Agreement Date”), and modified as of March 17, 2017 (the
 “Modification Date”), by and among Lehman Brothers Holdings Inc. (the “Plan Administrator”)
 and the other Debtors in the Bankruptcy Proceeding (as defined below) (collectively, the “LBHI
 Debtors”) and the authorized Investment Advisors (as defined below) and Investors (as defined
 below) identified in the attached signature pages (collectively, the “Institutional Investors”); and,
 upon acceptance as described below, the Accepting Trustees (defined and set forth herein). Each
 of the LBHI Debtors and the Institutional Investors may be referred to herein as an “Initial Party”
 and collectively as the “Initial Parties.” Upon acceptance by the Accepting Trustees, each of the
 Accepting Trustees and the Initial Parties may be referred to herein as a “Party” and collectively
 as the “Parties.”

                                            RECITALS

         WHEREAS, certain of the LBHI Debtors were the Seller, Sponsor, and/or Depositor for
 certain residential mortgage-backed securitizations (collectively, the “RMBS”);

       WHEREAS, certain of the LBHI Debtors are parties to certain applicable Trust
 Agreements, Assignment and Assumption Agreements, Indentures, Mortgage Loan Sale and
 Assignment Agreements and/or other agreements governing or related to the RMBS (the
 “Governing Agreements”);

        WHEREAS, pursuant to the Governing Agreements, certain of the LBHI Debtors have
 contributed or sold loans originated by various entities into the RMBS (the “Mortgage Loans”);

        WHEREAS, the LBHI Debtors commenced bankruptcy cases in the United States
 Bankruptcy Court for the Southern District of New York, styled or related to In re Lehman
 Brothers Holdings Inc., et al., Chapter 11 Case No. 08-13555 (the “Bankruptcy Proceeding”);

        WHEREAS, certain trustees for the RMBS filed proofs of claim in the Bankruptcy
 Proceeding asserting claims arising out of, among other things, alleged breaches of
 representations and warranties concerning the Mortgage Loans by certain of the LBHI Debtors
 under the Governing Agreements;

        WHEREAS, as of the Modification Date, the 244 RMBS identified on the attached
 Exhibit A (the “Trusts”) have not been terminated and the proofs of claim filed by the trustees
 for such Trusts (the “Trustees”) on behalf of and/or relating to such Trusts (the “Proofs of
 Claim”) assert, among other things, claims on behalf of the Trusts;

         WHEREAS, as of the Modification Date, the 16 RMBS identified on the attached Exhibit
 B (the “Terminated Trusts”) were terminated and the proofs of claim filed by the then trustees
 for such Terminated Trusts on behalf of and/or related to such Trusts (the “Terminated Trusts
 Proofs of Claim”) assert, among other things, claims on behalf of the Terminated Trusts;
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         WHEREAS, on December 29, 2014, the Court presiding over the Bankruptcy Proceeding
 entered an Order Establishing a Protocol to Resolve Claims Filed by Trustees on Behalf of
 Certain Issuers of Residential Mortgage-Backed Securities (Docket No. 47569) (the “Protocol
 Order”) setting forth a protocol (the “Protocol”) for the review of mortgage loan files, the
 assertion of RMBS Claims (as defined in the Protocol Order) by the Trustees, the response by
 the LBHI Debtors to such claims, and a mechanism for resolving disputes regarding such claims;

        WHEREAS, the LBHI Debtors dispute the validity of the Proofs of Claims and the
 RMBS Claims (collectively, the “Claims”), as well as the Terminated Trusts Proofs of Claim,
 and subject to the terms of this Settlement Agreement, waive no rights and preserve all of their
 defenses with respect to the Claims and the Terminated Trusts Proofs of Claim except as
 expressly stated herein;

         WHEREAS, the Trustees maintain the validity of the Claims and, subject to the terms of
 this Settlement Agreement, waive no rights with respect to the Claims except as expressly stated
 herein;

        WHEREAS, the Institutional Investors are represented by Gibbs & Bruns, LLP (“Gibbs
 & Bruns”) and, through counsel, engaged in extensive arm’s length and good faith settlement
 negotiations with the LBHI Debtors regarding the Claims and the Terminated Trusts Proofs of
 Claim that included the use of David Geronemus of JAMS, as mediator, and the exchange of
 confidential materials;

         WHEREAS, pursuant to this Settlement Agreement, the Parties wish to provide for an
 efficient, cost-effective, and equitable mechanism for fully and finally resolving the disputes
 between the Trustees and the LBHI Debtors regarding the Claims relating to Covered Loans
 (defined below) (the “Covered Loan Claims”);

         WHEREAS, this Settlement Agreement shall be presented to the Trustees for their
 consideration and approval, upon which approval the Trustees shall become Accepting Trustees
 (as defined herein) and Parties to this Settlement Agreement as set forth herein; and

        WHEREAS, the Parties therefore enter into this Settlement Agreement to set forth their
 mutual understandings and agreements for terms for resolving the disputes regarding the
 Covered Loan Claims.

                                          AGREEMENT

        NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
 which are hereby acknowledged, the Parties agree to the following terms:

                                   ARTICLE I. DEFINITIONS

         As used in this Settlement Agreement, in addition to the terms otherwise defined herein,
 the following terms shall have the meanings set forth below (the definitions to be applicable to
 both the singular and the plural forms of each term defined if both forms of such term are used in
 this Settlement Agreement). Any capitalized terms not defined in this Settlement Agreement


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 shall, with respect to any particular Trust, have the definition given to them in the Governing
 Agreements for that Trust.

          1.01.   “Acceptance Date” means June 1, 2017, unless extended as provided herein.

       1.02. “Accepting Trustees” means the Trustees that expressly accept the Settlement
 Agreement pursuant to Section 2.03.

        1.03. “Accepting Trusts” means the Trusts for which an Accepting Trustee has
 accepted the Settlement Agreement pursuant to Section 2.03.

       1.04. “Allocable Share” means, for any Participating Trust, the share of the Net
 Allowed Claim allocable to that Trust, as set forth in Section 3.04.

          1.05.   “Allocated Percentage” has the meaning set forth in Section 3.04.

          1.06.   “Allowed Claim” has the meaning set forth in Section 3.01.

          1.07.   “Bankruptcy Court” means the court presiding over the Bankruptcy Proceeding.

        1.08.     “Covered Loans” shall mean (a) the Mortgage Loans identified as the “Covered
 Loans” in The RMBS Trustees’ Motion to (i) Increase the Reserve to $12.143 Billion and (ii)
 Estimate and Allow Their Claims for Covered Loans at $12.143 Billion Pursuant to Section
 502(c) of the Bankruptcy Code (ECF Doc. No. 46078), dated August 22, 2014, filed by the
 Trustees in the Bankruptcy Proceeding, and (b) the additional Mortgage Loans identified as
 “Covered Loans” in the Status Report of the RMBS Trustees with respect to Compliance with
 the Protocol and the Motion to Extend the Overall Claim File Cut-Off Date for Certain Loans
 under the Protocol Order and For Related Relief (ECF Doc. No. 52342).

      1.09.       “District Court” means a United States District Court for the Southern District of
 New York.

          1.10.   “Effective Date” shall mean the date of Final Court Approval.

         1.11. “Estimation” shall mean the estimation of the Covered Loan Claims under the
 Trusts, supported by legal and loan review professionals and expert analysis and analytics,
 pursuant to 11 U.S.C. § 502(c).

        1.12. “Estimation Proceeding” means an estimation proceeding, conducted by the
 Bankruptcy Court pursuant to 11 U.S.C. § 502(c), in accordance with the procedures set forth in
 Exhibit G hereto, at which proceeding the Bankruptcy Court will estimate and assign a value to
 the Covered Loan Claims, which value will constitute the full and final Allowed Claim amount
 as provided herein.

          1.13.   “Excluded Trust” has the meaning set forth in Section 3.02(a).




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        1.14. “Expert” means the professional firm retained or to be retained by one or more of
 the Accepting Trustees to make the calculations required in connection with the allocation of the
 Net Allowed Claim pursuant to Section 3.04.

        1.15. “Final Court Approval” shall mean the later of the dates that the Trustee Findings
 Order and the order approving this Settlement Agreement (which may include the Trustee
 Findings Order) becomes a Final Order.

          1.16. “Final Order” shall mean an order or judgment of a court of competent
 jurisdiction that has not been modified, amended, reversed, vacated, or stayed, and as to which
 (a) the time to appeal, petition for certiorari, or move for a new trial, stay, reargument, or
 rehearing has expired and as to which no appeal, petition for certiorari, or motion for new trial,
 stay, reargument, or rehearing shall then be pending or (b) if an appeal, writ of certiorari, new
 trial, stay, reargument, or rehearing thereof has been sought, such order or judgment shall have
 been affirmed by the highest court to which such order was appealed, or certiorari shall have
 been denied, or a new trial, stay, reargument, or rehearing shall have been denied or resulted in
 no modification of such order, and the time to take any further appeal, petition for certiorari, or
 move for a new trial, stay, reargument, or rehearing shall have expired, as a result of which such
 order shall have become final in accordance with Rule 8002 of the Federal Rules of Bankruptcy
 Procedure (or any analogous rule applicable to such court); provided, that the possibility that a
 motion under Rule 60 of the Federal Rules of Civil Procedure (or any analogous rule applicable
 to such court) may be filed relating to such order shall not cause an order not to be a Final Order.

         1.17. “Governmental Authority” shall mean any United States or foreign government,
 any state or other political subdivision thereof, any entity exercising executive, legislative,
 judicial, regulatory, or administrative functions of or pertaining to the foregoing, or any other
 authority, agency, department, board, commission, or instrumentality of the United States, any
 State of the United States or any political subdivision thereof or any foreign jurisdiction, and any
 court, tribunal, or arbitrator(s) of competent jurisdiction, and any United States or foreign
 governmental or non-governmental self-regulatory organization, agency, or authority (including
 the New York Stock Exchange, Nasdaq, and the Financial Industry Regulatory Authority).

        1.18. “Institutional Investors” shall mean the authorized Investment Advisors and
 Investors identified in the attached signature pages.

        1.19. “Investment Advisor” shall mean the following Institutional Investors: BlackRock
 Financial Management Inc.; Goldman Sachs Asset Management, L.P.; Invesco Advisers, Inc.;
 Kore Advisors, L.P.; Pacific Investment Management Company LLC; Sealink Designated
 Activity Company, through its investment manager Neuberger Berman Europe Limited; The
 TCW Group, Inc. on behalf of itself and its subsidiaries; and Western Asset Management
 Company, and, for the avoidance of doubt, shall not include (i) any of the individual clients or
 funds whose assets are managed by such Investment Advisor or (ii) any affiliates of such
 Investment Advisor.

         1.20. “Investors” shall mean all certificateholders, bondholders and noteholders in the
 Trusts, and their successors in interest, assigns, pledgees, and/or transferees, and beneficial



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 holders of certificates, bonds or notes in the Trusts claiming rights through certificateholders,
 bondholders and noteholders in the Trusts, including but not limited to the Institutional Investors.

        1.21. “Liquidated Loans” means Covered Loans that, per information reported by the
 servicer or master servicer as of January 31, 2017 are not Non-Liquidated Loans, and for which
 an RMBS Claim was submitted under the Protocol and, as of January 31, 2017, had not been
 withdrawn.

          1.22.   “Net Allowed Claim” has the meaning set forth in Section 3.01.

         1.23. “Non-Liquidated Loans” means Covered Loans that, per information reported by
 the servicer or master servicer as of January 31, 2017, were performing to some extent under the
 applicable mortgage loan documents, loans that were in default but had yet to have been
 foreclosed upon, or loans that had been foreclosed upon but the real property that secures the
 repayment of the mortgage loan had not been sold and for which the final loss suffered by the
 trust has not been reported by the applicable servicer or master servicer, and for which an RMBS
 Claim was submitted under the Protocol and, as of January 31, 2017, had not been withdrawn.

          1.24.   “Participating Trust” has the meaning set forth in Section 3.02(a).

         1.25. “Party in Interest” shall have the same meaning as the term “party in interest” is
 used in 11 U.S.C. 1109(b), and shall include any Investor.

          1.26. “Person” shall mean any individual, corporation, company, partnership, limited
 liability company, joint venture, association, trust, or other entity, including a Governmental
 Authority.

         1.27. “Plan” shall mean the LBHI Debtors’ third amended joint chapter 11 plan
  confirmed by the Bankruptcy Court on December 6, 2011 (Docket No. 23023).

        1.28. “Plan Payments” shall mean distributions under the Plan on account of the Net
  Allowed Claim.

          1.29. “Released Parties” shall mean: (i) any and all LBHI Debtors, including, without
  limitation, Lehman Brothers Holdings Inc., Structured Asset Securities Corporation, BNC
  Mortgage LLC, Finance America LLC, and LBHI Debtors’ affiliates and subsidiaries identified
  on Exhibit C hereto, and their respective present and former directors, officers, employees,
  auditors, advisors (including financial advisors), legal counsel, representatives, and agents; and
  (ii) Aurora Commercial Corp., f/k/a Aurora Bank, FSB, f/k/a Lehman Brothers Bank, FSB, and
  Aurora Loan Services, LLC (collectively, “Aurora”), and their respective present and former
  directors, officers, employees, auditors, advisors (including financial advisors), legal counsel,
  representatives, and agents.

        1.30. “Required Tax Conclusions” shall mean, except as otherwise described in
 Subsection 1.30(v) below, all of the following U.S. federal income tax conclusions (or their
 substantive equivalents) for each Accepting Trust, or portion thereof, for which a timely, valid
 and continuing REMIC election (as defined in the Internal Revenue Code of 1986, as amended


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 (the “Internal Revenue Code”) has been made, and remains in effect, in accordance with the
 applicable Governing Agreements (each, a “REMIC Trust”):

                (i) none of (a) the execution of this Settlement Agreement, (b) the methodology
 for determining, and the right to receive, an Allocable Share of the Net Allowed Claim, or (c) the
 receipt of Plan Payments, will cause such REMIC Trust to fail to meet the requirements of
 Internal Revenue Code Section 860D(a)(4);

               (ii) the receipt of Plan Payments by such REMIC Trust will be treated as
 payments received on qualified mortgages within the meaning of U.S. Treasury Regulation
 Section 1.860G-2(g)(1)(ii);

                   (iii) the distribution of Plan Payments in accordance with the applicable
 Governing Agreements and the Settlement Agreement will not cause any regular interest in such
 REMIC Trust to fail to qualify as a “regular interest”, as defined in Internal Revenue Code
 Section 860G(a)(1) and will not cause the sole class of residual interest in such REMIC Trust to
 fail to qualify as a “residual interest”, as defined in Code section 860G(a)(2);

                 (iv) the receipt of Plan Payments by such REMIC Trust will not be treated as a
 “prohibited transaction” within the meaning of Internal Revenue Code Section 860F(a)(2) or as a
 contribution that is subject to the tax imposed under Internal Revenue Code Section 860G(d)(1);
 and

                  (v) in the case of a REMIC Opinion only, none of (a) the right to receive an
 Allocable Share of the Net Allowed Claim, (b) the receipt of Plan Payments or (c) the
 distribution of Plan Payments in accordance with the applicable Governing Agreements and the
 Settlement Agreement, will cause such REMIC Trust to fail to qualify as a REMIC as defined in
 Internal Revenue Code Section 860D.

         1.31. “REMIC Opinion” shall mean the opinion of tax counsel, reasonably acceptable to
 the LBHI Debtors and the Accepting Trustees, experienced in the U.S. federal income taxation
 of “real estate mortgage investment conduits,” that concludes at a “will" level of certainty,
 subject to customary assumptions and exceptions and based on all of the relevant facts and
 circumstances, that a court of competent jurisdiction would agree and render a judgment on each
 of the Required Tax Conclusions. For purposes of this Settlement Agreement, each of the
 following law firms shall be considered acceptable to the LBHI Debtors and the Accepting
 Trustees for purposes of rendering a REMIC Opinion: K&L Gates LLP; Cadwalader,
 Wickersham & Taft LLP; and Mayer Brown LLP.

         1.32. “RMBS Reserve” means the reserve maintained by the LBHI Debtors pursuant to
 that certain order of the Bankruptcy Court dated February 22, 2012 (Docket No. 25643).

       1.33. “Settlement” means the negotiated settlement set forth in this Settlement
 Agreement, including all terms and conditions thereof.

        1.34. “Transferor Loans” means the Mortgage Loans sold into, deposited into or
 otherwise conveyed into the Trusts that are not Covered Loans.

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          1.35.   “Transferor Trusts” means all Trusts that contain solely Transferor Loans.

       1.36. “Trustee Findings” shall mean the findings of fact and conclusions of law set forth
 on Exhibit F annexed hereto

         1.37. “Trustee Findings Order” shall mean an order when entered by the District Court
 after considering certain proposed findings of fact and conclusions of law submitted by the
 Bankruptcy Court, or by a court of competent jurisdiction if the District Court declines to enter
 such order on the basis of the District Court’s jurisdiction, containing, among other things, the
 Trustee Findings.

         1.38. “Trustees” shall mean U.S. Bank National Association, Law Debenture Trust
 Company of New York, Wilmington Trust Company, Wilmington Trust National Association,
 Deutsche Bank National Trust Company, in each case acting in their respective capacities as
 trustees, co-trustees, separate trustees and/or successor trustees of the applicable Trust(s).

                              ARTICLE II. SETTLEMENT PROCESS

         2.01. Effective Date for the LBHI Debtors and Institutional Investors. This Settlement
 Agreement shall be binding and effective upon the LBHI Debtors (subject to Bankruptcy Court
 approval) and the Institutional Investors as of the Agreement Date and shall continue to be
 binding and irrevocable until: (i) such time as the LBHI Debtors or the Accepting Trustees shall
 exercise any right they may have to terminate the Settlement Agreement under Section 2.03(c)
 below; or (ii) the date Final Court Approval becomes legally impossible. Promptly following the
 Modification Date, the LBHI Debtors shall request that the Bankruptcy Court schedule and hold
 a chambers conference at a time and date mutually agreeable to the Initial Parties and the
 Trustees so that the LBHI Debtors and the Institutional Investors may inform the Court of the
 existence and terms of this Settlement Agreement. The LBHI Debtors and the Institutional
 Investors agree that, subject to acceptable confidentiality arrangements, counsel for the Trustees
 shall be informed of and entitled to attend such conference. At that chambers conference, the
 Plan Administrator and the Trustees shall inform the Bankruptcy Court that they believe it is
 appropriate to suspend the Protocol until the earlier of the conclusion of the Estimation Hearing
 or the termination of this Settlement Agreement.

          2.02.   Presentation of Settlement to Trustees/Intervention.

                  (a)     Request Letter. This Settlement Agreement shall be presented to the
          Trustees for their review, evaluation, and acceptance within one (1) business day of the
          Modification Date as follows: The Institutional Investors shall submit, through their
          counsel, a letter (in the form annexed hereto as Exhibit D) to each of the Trustees
          expressing their support for the settlement and requesting and urging that each enter into
          the Settlement Agreement.

                 (b)     Intervention in Court Approval Process. Following the filing of the 9019
          Motion (as defined in Section 2.03(a) below), the Institutional Investors shall jointly file
          a motion for leave to intervene (or a similar pleading) in the Bankruptcy Court (and, at
          the appropriate time, the District Court (or such other court of competent jurisdiction) in
          connection with such court’s consideration of the entry of the Trustee Findings Order), to

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          evidence their support for the Settlement, the Settlement Agreement, the Trustee Findings
          Order, the entry of an order by the court barring Investors in the Participating Trusts from
          asserting claims against the Trustees for the Participating Trusts with respect to their
          evaluation and acceptance of the Settlement Agreement and implementation of the
          Settlement Agreement in accordance with its terms, and Final Court Approval. Each of
          the Institutional Investors shall use its reasonable best efforts to prosecute the
          intervention, to support the Settlement, and to obtain Final Court Approval of the
          Settlement Agreement and entry of the Trustee Findings Order. The Institutional
          Investors’ obligation to use reasonable best efforts shall continue until the earliest of (i)
          Final Court Approval, (ii) the date Final Court Approval becomes legally impossible, (iii)
          the date on which the LBHI Debtors or the Accepting Trustees terminate the Settlement
          Agreement pursuant to Section 2.03(c), below, or (iv) any material breach by the LBHI
          Debtors of the Settlement Agreement (which breach is not cured or waived within 90
          days of written notice of such breach having been provided by a Party).

                  2.03.   Acceptance by Trustees/Final Court Approval.

                 (a)      Acceptance of Settlement Agreement/Notice. On or prior to the
          Acceptance Date, each Trustee shall provide written notice to the Institutional Investors
          and the LBHI Debtors accepting or rejecting the Settlement separately on behalf of each
          Trust and an executed signature page for this Settlement Agreement to the Institutional
          Investors and the LBHI Debtors, all in accordance with the notice provisions set forth in
          Section 6.17 hereof, subject to Sections 2.03(c) and 2.06 below; provided, however, if
          any Trust listed on Exhibit A is terminated after the Modification Date but before the date
          the LBHI Debtors commence Plan Payments on the Net Allowed Claim, the Trustee that
          was the trustee for such Trust shall provide written notice to the Institutional Investors
          and the LBHI Debtors of such fact and such trust shall also be considered a Terminated
          Trust.

                  Within 21 days after the Modification Date, the LBHI Debtors shall file a motion
          (the “Scheduling Motion”) requesting that the Bankruptcy Court enter an order (1)
          approving a notice program with respect to its consideration of the 9019 Motion (as
          defined below), (2) setting a date by which all objections to the 9019 Motion must be
          filed and served (which deadline shall be at least twenty-one (21) days after the
          Acceptance Date, the “9019 Objection Deadline”), and (3) setting the date of the hearing
          to consider approval of the 9019 Motion.

                  Within 21 days of the Bankruptcy Court order granting the Scheduling Motion,
          the LBHI Debtors shall file a motion with the Bankruptcy Court (which may include the
          Scheduling Motion, the “9019 Motion”) requesting that the Bankruptcy Court enter an
          order (i) approving this Settlement Agreement and containing the Trustee Findings
          (which shall be submitted by the Bankruptcy Court to the District Court) and the Debtors’
          Findings (defined below), (ii) setting the date on which the Estimation Proceeding will
          begin, which date shall be no earlier than October 16, 2017; and (iii) providing that the
          Estimation Proceeding shall be conducted in accordance with the procedures set forth in
          Exhibit G hereto.


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                 Notice of the Settlement Agreement and the 9019 Motion shall be provided by the
          Accepting Trustees to all Investors and all financial guaranty institutions known to the
          Accepting Trustees to have an interest in the Trusts in the manner approved by the
          Bankruptcy Court.

                  Notice of the Settlement Agreement and the 9019 Motion shall be provided by the
          LBHI Debtors to those parties required to receive notice in the Bankruptcy Proceeding,
          and all known servicers and master servicers of loans in the Trusts, all known mortgage
          originators (including all known brokers, bulk sellers, and correspondents against whom
          the LBHI Debtors may have indemnity claims arising from the Settlement Agreement),
          and any other person who the LBHI Debtors shall conclude may have a claim or interest
          in the Trusts or the Settlement Agreement in the manner approved by the Bankruptcy
          Court.

                   Upon the Acceptance Date, this Settlement Agreement shall continue in effect for
          such Accepting Trustee(s) and the associated Trusts unless and until: (i) the Bankruptcy
          Court has issued an order that has become a Final Order denying approval of the
          Settlement Agreement or declines to submit the Trustee Findings to the District Court;
          (ii) the District Court or, if the District Court declines to exercise jurisdiction, a different
          court of competent jurisdiction, has issued an order that has become a Final Order
          denying approval of the Settlement Agreement or entry of the Trustee Findings Order;
          (iii) the date on which obtaining Final Court Approval becomes legally impossible; or
          (iv) the Settlement Agreement is terminated in accordance with Section 2.03(c) below.

                  (b)     Best Efforts. During the period during which Final Court Approval is
          being sought, the Accepting Trustees, the LBHI Debtors, and the Institutional Investors
          shall each be obligated to use their reasonable best efforts to obtain Final Court Approval
          of the Settlement and the entry of the Trustee Findings Order so long as there has been no
          material breach of this Settlement Agreement. The Parties’ obligation to use reasonable
          best efforts to obtain Final Court Approval shall continue in effect regardless of any
          intervening court decisions or regulatory actions issued after the Acceptance Date, or if
          any Party discovers facts that are additional to, inconsistent with, or different from those
          which they knew at the time they entered into this Settlement Agreement, until such time
          as Final Court Approval becomes legally impossible.

                 (c)     The LBHI Debtors’ and the Accepting Trustees’ Right to Terminate. The
          LBHI Debtors and the Institutional Investors have entered into a confidential letter
          agreement that provides the LBHI Debtors the right to terminate this Settlement
          Agreement in the manner provided in clauses (i) and (ii) in the immediately following
          sentence (the “Confidential Letter Agreement”) (the Trustees shall be entitled to know
          such confidential agreed-upon percentages provided they agree to hold such agreed-upon
          percentages in confidence, and the LBHI Debtors shall be entitled to disclose such
          percentages to the Bankruptcy Court and the District Court).

                 The LBHI Debtors shall have the right to terminate this Settlement Agreement in
          the event that (i) Trustees for a percentage (as agreed upon in the Confidential Letter
          Agreement) of Trusts that are not Transferor Trusts measured by the number of such

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          Trusts and the amount of losses on the Mortgage Loans in such Trusts, as of the
          Modification Date, have not accepted this Settlement Agreement by the Acceptance Date,
          (ii) an agreed-upon percentage (as agreed upon in the Confidential Letter Agreement) of
          Trusts that are not Transferor Trusts measured by the number of such Trusts and the
          amount of losses on the Mortgage Loans in such Trusts, are not included within Final
          Court Approval of the Settlement Agreement, (iii) (x) the REMIC Approval is not
          obtained by the date that is one year after the Trustee Findings Order becomes a Final
          Order or (y) the LBHI Debtors form the good faith belief that no REMIC Approval will
          take place, or (iv) the Bankruptcy Court does not include within the order approving this
          Settlement Agreement the findings of fact and conclusions of law set forth on Exhibit I
          hereto (the “Debtors’ Findings”).

                   An Accepting Trustee shall have the right to terminate this Settlement Agreement
          as to one or more of its Accepting Trusts (i) in the event that an Accepting Trust or
          Accepting Trusts are not included within Final Court Approval, but only for the
          Accepting Trust or Accepting Trusts that are not included within Final Court Approval,
          (ii) in the event the applicable Accepting Trustee has been directed, prior to the 9019
          Objection Deadline, to terminate this Settlement Agreement as to such Accepting Trust
          or Accepting Trusts in a manner acceptable to the Accepting Trustee, but only for the
          Accepting Trust or Accepting Trusts for which such a direction has been provided, or
          (iii) the Bankruptcy Court does not include within the order approving this Settlement
          Agreement the proposed Trustee Findings for submission by the Bankruptcy Court to the
          District Court.

                  The LBHI Debtors shall have the right to terminate this Settlement Agreement,
          and an Accepting Trustee shall have the right to terminate this Settlement Agreement as
          to one or more of its Accepting Trusts, in the event that: (i) the Bankruptcy Court has not
          entered an order approving this Settlement Agreement (inclusive of the Debtors’ Findings
          and the proposed Trustee Findings) by July 31, 2017; or (ii) the Bankruptcy Court does
          not agree that the Estimation Hearing will be conducted in accordance with the terms set
          forth in Exhibit G (including the admission of the Institutional Investor Statement
          annexed hereto as Exhibit E).

                 The LBHI Debtors and the Accepting Trustees shall provide written notice to
          each other and the Institutional Investors of the exercise of their right to terminate this
          Settlement Agreement in accordance with the terms of this paragraph. The LBHI
          Debtors’ and the Accepting Trustees’ right to terminate this Settlement Agreement upon
          the occurrence of any of the events described in this paragraph shall be waived if not
          exercised, by providing notice as set forth in the preceding sentence, within 20 days
          following the occurrence of the applicable event.

        2.04. Trustee Review. The Trustees shall have until the Acceptance Date to conduct
 an investigation of the Settlement Agreement and its terms. The Trustees may conduct such
 diligence, may solicit input from Investors, and may retain experts to assist them as they deem
 necessary to inform themselves concerning the Settlement Agreement.

          2.05.   Effect of Termination. In the event that this Settlement Agreement is terminated

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 as provided for herein, the Settlement Agreement shall be null and void as to those Trusts for
 which it is terminated, and all pending claims filed by or on behalf of such Trusts shall be
 resolved pursuant to the Protocol Order, as amended by the Bankruptcy Court as appropriate in
 light of the suspension of the Protocol referred to in Section 2.03(a) herein and approved by the
 Bankruptcy Court, or in such other manner as the Bankruptcy Court shall direct.

        2.06. REMIC Approval/Trustee Findings/Other Trustee Conditions. The Trustees may
 condition their acceptance of this Settlement Agreement upon:

          (i) the District Court’s approval of the Trustee Findings;

          (ii) the Trustee Findings Order becoming a Final Order;

          (iii) the receipt by the Accepting Trustees of the earlier of either:

                  (a) (a) A REMIC Opinion, in form and substance reasonably acceptable to the
                      Accepting Trustees and LBHI Debtors, from legal counsel reasonably
                      acceptable to the Accepting Trustees and the LBHI Debtors but retained by
                      and at the expense of the LBHI Debtors, with respect to the REMIC Trusts
                      that comprise the Accepting Trusts on behalf of which the Accepting Trustees
                      (each acting as trustee, indenture trustee or separate trustee, as applicable)
                      accepted the Settlement Agreement. The LBHI Debtors shall use their
                      reasonable best efforts to obtain the REMIC Opinion for all REMIC Trusts
                      that are, or are within, or that comprise, an Accepting Trust within 180 days of
                      the Acceptance Date.

                  (b) A private letter ruling(s), or similar guidance, acceptable to the Parties,
                      applicable to the REMIC Trusts that are, or are within, or that comprise, an
                      Accepting Trust from the Internal Revenue Service containing the Required
                      Tax Conclusions (the “REMIC Private Letter Ruling”). Only if, and after, (i)
                      the LBHI Debtors notify the Accepting Trustees that it would not be possible
                      or practicable for them to obtain an opinion of counsel as described in Section
                      2.06(iii)(a) or (ii) the Accepting Trustees determine that a REMIC Opinion
                      delivered to them is not acceptable in form, content, or counsel providing the
                      REMIC Opinion, the Accepting Trustees shall begin the process to cause
                      requests for such letter ruling(s) to be submitted, if necessary, to the Internal
                      Revenue Service as promptly as practicable, shall use reasonable best efforts
                      to pursue such requests, and such requests may not be abandoned, unless an
                      acceptable REMIC Opinion has been obtained, without the consent (which
                      shall not unreasonably be withheld) of the LBHI Debtors and the Institutional
                      Investors. In the event that the provisions of Section 3.06 of this Settlement
                      Agreement are modified, the Accepting Trustees shall, if necessary, update
                      their request(s) to the Internal Revenue Service to take account of such
                      modifications. The LBHI Debtors shall use their reasonable best efforts to


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                     assist the Accepting Trustees’ preparation and pursuit of the request for the
                     rulings.

         Receipt of the first to occur of either an acceptable REMIC Opinion or the REMIC
 Private Letter Ruling shall constitute the “REMIC Approval” as that term is used herein. The
 Parties acknowledge and agree that pursuit of the REMIC Approval shall not delay the
 commencement and conduct of the Estimation Proceeding, and such proceeding may take place
 and be completed while the applicable Parties pursue a REMIC Approval.

         2.07 Bar Order. In connection with the entry of the Trustee Findings Order, the LBHI
 Debtors, the Accepting Trustees, and the Institutional Investors shall request the entry of an order
 barring Investors in the Accepting Trusts from asserting claims against the Accepting Trustees
 with respect to their evaluation and acceptance of the Settlement Agreement and implementation
 of the Settlement Agreement in accordance with its terms, provided however that the entry of
 such a bar order is not a condition of Final Court Approval.

         2.08. LBHI Representations. The LBHI Debtors represent to the Trustees that each of
 the entities identified on Exhibit C hereto is an affiliate or subsidiary of one or more of the LBHI
 Debtors.



                                   ARTICLE III. SETTLEMENT TERMS

          3.01.   Settlement Consideration and Payment.

         The Settlement consideration shall consist of an allowed Class 7 General Unsecured
 claim in the Bankruptcy Proceeding against Lehman Brothers Holdings Inc. in an amount to be
 determined by the Bankruptcy Court in the Estimation Proceeding (the “Allowed Claim”), plus
 interest thereon to the extent provided by Section 8.4 of the Plan, less the Legal Fees (as defined
 and determined in accordance with the attorneys’ fee provision in Section 6.05) (the “Net
 Allowed Claim”). In accordance with the allocation methodology in Section 3.04, each
 Participating Trust shall be awarded its Allocable Share of the Net Allowed Claim.
 Distributions on account of the Allocable Shares of the Net Allowed Claim shall be made by the
 LBHI Debtors in accordance with, and on the periodic distribution dates contained in, the Plan
 (the “Plan Payments”), following the Final Expert Calculation, as defined in Section 3.04 below,
 and receipt of the REMIC Approval.

         Unless otherwise directed in writing by the applicable Accepting Trustee prior to the
 making of Distributions on account of the Allocable Shares of the Net Allowed Claim, the LBHI
 Debtors shall make all such Distributions to the applicable Accepting Trustee for the
 Participating Trusts.

       The LBHI Debtors shall have no responsibility for the maintenance or distribution of
 amounts paid to the Accepting Trustees on account of the Net Allowed Claim.

          To the extent that any Accepting Trustee is the party responsible for distributing


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 payments for a given Trust under the applicable Governing Agreement(s), that Accepting
 Trustee shall use its reasonable best efforts to distribute the amounts received from the LBHI
 Debtors on account of the Allocable Shares of the Net Allowed Claim promptly.

         Notwithstanding the foregoing, to the extent that any Accepting Trustee or other party
 responsible for calculating or distributing Plan Payments for a given Trust forms a good-faith
 belief that guidance from a court is necessary or appropriate for resolving ambiguities or disputes
 concerning the distribution of Plan Payments, the Accepting Trustee or other party responsible
 for calculating or distributing such Plan Payments shall have the right to seek guidance from a
 court of competent jurisdiction before distributing those amounts. Any decision to seek such
 guidance shall have no effect on, and shall not change, the timing of Plan Payments under this
 Settlement Agreement or under the Plan.

                  3.02   The Estimation Proceeding.

                  (a)     The LBHI Debtors shall include in the 9019 Motion a request seeking
          Estimation of the Covered Loan Claims arising under or related to the Accepting Trusts
          pursuant to 11 U.S.C. § 502(c) (the “Estimation Motion”). In the Estimation Proceeding,
          the LBHI Debtors shall seek Estimation of the Covered Loan Claims arising under or
          related to the Accepting Trusts, for purposes of setting the amount of the Allowed Claim
          under Section 3.01 herein, at a total amount of $2,416,000,000.00 (TWO BILLION,
          FOUR HUNDRED SIXTEEN MILLION AND 00/100 DOLLARS), without prejudice to
          the rights of the LBHI Debtors to argue in furtherance of such estimation that an amount
          different from $2.416 billion is correct, reasonable, or legally and factually supportable
          (provided, however, that (x) if all Trusts are not Accepting Trusts, (y) if any Accepting
          Trust is not included within Final Court Approval, or (z) if any Accepting Trust is not
          included within the Estimation and Estimation Proceeding (whether because it has
          become a Terminated Trust or for any other reason) (the Trusts listed in clauses (x), (y)
          and (z), the “Excluded Trusts”), the Parties agree that the $2.416 billion will be reduced
          by an amount equal to $2.416 billion multiplied by the sum of the Initial Allocated
          Percentages (as defined in Section 3.04 below) of the Excluded Trusts). A “Participating
          Trust” is any Accepting Trust that is not an Excluded Trust.).

                  (b)     The Accepting Trustees shall agree and consent to the Estimation Motion
          solely to the extent of agreeing to estimation of the Covered Loan Claims of the
          Participating Trusts pursuant to 11 U.S.C. § 502(c) pursuant to this Settlement
          Agreement. The Accepting Trustees shall be entitled to seek estimation of the Covered
          Loan Claims of the Participating Trusts in the Estimation Proceeding at whatever sum
          they choose.

                 (c)      The LBHI Debtors and the Accepting Trustees agree that, except as
          provided below in Section 3.02(c)(ii), the Bankruptcy Court shall not be required to make
          findings of fact or conclusions of law when determining the Allowed Claim, and the Net
          Allowed Claim amount decided by the Bankruptcy Court as a result of the Estimation
          Proceeding, shall be final, binding, not subject to appeal or reconsideration, and shall be
          conclusive of the LBHI Debtors’ liability to the Participating Trusts or in any way related
          to the Covered Loan Claims of the Participating Trusts; provided however, that:

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                          (i) to the extent that the Bankruptcy Court decides that the Allowed Claim
          should be set between $2,000,000,000 (TWO BILLION AND 00/100 DOLLARS) and
          $2,416,000,000 (TWO BILLION, FOUR HUNDRED SIXTEEN MILLION AND 00/100
          DOLLARS), the Allowed Claim shall be set, and deemed to be set, for all purposes with
          respect to the Covered Loan Claims of the Participating Trusts as $2,416,000,000 (TWO
          BILLION, FOUR HUNDRED SIXTEEN MILLION AND 00/100 DOLLARS)
          (provided, however, if there are any Excluded Trusts, the Parties agree that the $2 billion
          and the $2.416 billion will be reduced by an amount equal to the $2 billion and the
          $2.416 billion multiplied by the sum of the Initial Allocated Percentages of the Excluded
          Trusts); and

                          (ii) to the extent that the Bankruptcy Court decides that the Allowed Claim
          should be set at an amount less than $2,000,000,000 (TWO BILLION AND 00/100
          DOLLARS) (reduced by an amount equal to the $2 billion multiplied by the sum of the
          Initial Allocated Percentages of any Excluded Trusts), the Bankruptcy Court shall make
          findings of fact and conclusions of law when determining the Allowed Claim, and the
          Accepting Trustees retain, and do not waive, any right to appeal the Bankruptcy Court’s
          decision in which it sets the amount of the Allowed Claim) (provided, however, if any
          Accepting Trusts become Excluded Trusts after the Court sets the Allowed Claim, the
          Parties agree that the amount determined in a Final Order by the Bankruptcy Court or, if
          applicable, an appellate Court, will be reduced by an amount equal to such amount
          multiplied by the sum of the Initial Allocated Percentages of those Excluded Trusts)..

                 For the avoidance of doubt, under no circumstances may the LBHI Debtors
          appeal the Bankruptcy Court’s decision in which it sets the amount of the Allowed
          Claim.

         3.03. Release of Claims. For and in consideration of the allowance of the Allowed
 Claim and the other agreements and consideration provided herein, the Participating Trusts, the
 Accepting Trustees for the Participating Trusts, and any and all persons claiming by, through, or
 on behalf of such Participating Trusts (including any Investors claiming derivatively for any such
 trust) and any and all agents or appointees acting on behalf of the Accepting Trustees
 (collectively, the “Releasors”), irrevocably and unconditionally grant a full, final, and complete
 release, waiver, and discharge of the Released Parties, as of the Effective Date, for any and all
 claims (as defined in section 101 of the Bankruptcy Code) that were asserted, or that could have
 been asserted, in the Covered Loan Claims filed or asserted in the Bankruptcy Proceeding or in
 the Protocol by the Accepting Trustees on behalf of the Participating Trusts (collectively, all
 such claims being defined as the “Trust Released Claims”); provided, however, that the
 Participating Trusts’ Allocable Shares and any claims of any Trust arising out of or relating to
 Transferor Loans are not released, waived or discharged by operation of this Settlement
 Agreement and are not a Trust Released Claim. Upon Final Court Approval: (a) each of the
 Claims filed or asserted by the Accepting Trustees on behalf of or related to the Participating
 Trusts shall be allowed as provided herein for Covered Loan Claims and otherwise shall be
 disallowed and expunged only with respect to Covered Loan Claims; (b) the LBHI Debtors shall
 no longer be required to maintain any amounts in the RMBS Reserve on account of the Trust
 Released Claims; and (c) the Allocable Shares shall be conclusive of the Debtors’ liability
 relating to the Covered Loan Claims of the Participating Trusts. Except as provided herein, no

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 distributions from the LBHI Debtors shall be required on account of the Trust Released Claims.
 For the avoidance of doubt, nothing in this Section 3.03 is intended to address claims related to
 Trusts that are not Participating Trusts or claims arising out of or related to Transferor Loans.

                 3.04 Allocation Formula. The Net Allowed Claim shall be allocated amongst the
 relevant trusts by the Accepting Trustees by calculating for each such trust its “Allocable Share”
 of the Net Allowed Claim as described below, pursuant to the binding determination of the
 Expert who will perform any calculations required. To the extent that the collateral in any
 Accepting Trust is divided by the Governing Agreements into groups of loans (“Loan Groups”)
 so that ordinarily only certain classes of investors benefit from the proceeds of particular Loan
 Groups, those Loan Groups shall be deemed to be separate Accepting Trusts solely for purposes
 of the allocation methodologies set forth below. The Accepting Trustees may fully and
 conclusively rely on the Expert’s determinations and calculations without any obligation to
 independently re-verify the same.

         The allocated percentage for any given Trust (the “Allocated Percentage”) shall be (a) the
 dollar amount of the claims asserted pursuant to the Protocol by the relevant trust as determined
 by the Expert, divided by (b) the dollar amount of claims asserted pursuant to the Protocol by the
 relevant trusts as determined by the Expert, expressed as a percentage. Attached hereto as
 Exhibit H is a list of the Allocated Percentages for each Trust (assuming that each Trust becomes
 a Participating Trust) (for purposes of this Agreement such allocated percentages shall be
 deemed the “Initial Allocated Percentages”).

         For purposes of determining the dollar amounts used in Exhibit H, the Expert has used
 the following methodology. For all Liquidated Loans, the Expert used total dollar amount of the
 loss on each such loan that was the subject of an RMBS Claim that was reported to the Trustee
 by the applicable servicer or master servicer as of January 31, 2017. For all Non-Liquidated
 Loans the Expert has used the Purchase Price, including the impact of any balance modifications,
 of each such loan as of January 31, 2017 less the market value of such loan as of January 31,
 2017 using the Andrew Davidson & Co.’s LoanKinetics model.

         In the event that all Trusts become Accepting Trusts and no Trusts become Excluded
 Trusts, the Allocated Percentage for each Trust will be the same as set forth on Exhibit H.
 However, in the event that any Trust does not become an Accepting Trust or any Trust becomes
 an Excluded Trust, the Allocated Percentage will be recalculated in accordance with the
 methodology described above with only the following changes: the dollar amount of claims
 asserted under the Protocol of any Trust that is not a Participating Trust will be set at zero.

         For any Participating Trust, the Allocable Share will be equal to the Net Allowed Claim
 multiplied by Allocated Percentage. The Expert shall calculate the Allocable Share for each
 Participating Trust within thirty (30) days of the date the Net Allowed Claim has been
 determined by the Bankruptcy Court (the “Final Expert Calculation” and the “Final Allocated
 Percentages”). In performing the Final Expert Calculation, the Expert shall be permitted to make
 such adjustments as are necessary to ensure that the effects of rounding do not cause the sum of
 the Allocable Shares to exceed the amount of the Net Allowed Claim.




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          3.05.   Plan Administrator’s Allocation.

         The Parties agree (a) that the allocation set forth in Section 3.04 above shall in no way be
 binding on the LBHI Debtors or affect the LBHI Debtors’ right to account for and allocate the
 Allowed Claim in accordance with their own analyses of the Claims and in the best interests of
 the Estate, and (b) the Bankruptcy Court order approving this Settlement Agreement shall
 expressly preserve such right; provided, that, the LBHI Debtors’ account and allocation of the
 Allowed Claim shall in no way affect the allowance and priority of such claims or manner in
 which the Allowed Claim is allocated among the Trusts as provided in Section 3.04 above.

          3.06    Subsequent Recovery/Repayment of Principal.

                  (a)     Plan Payments on each Participating Trust’s Allocable Share shall be
          deposited into the related Trust’s collection or distribution account pursuant to the terms
          of the Governing Agreements, for further distribution in accordance with the distribution
          provisions of the Governing Agreements as though such Plan Payments are a
          subsequent recovery available for distribution on the related distribution date; and further
          provided that if the Governing Agreement for such a Trust does not include the concept
          of “subsequent recovery,” Plan Payments to such Trust shall be distributed as though they
          are unscheduled principal available for distribution on the related distribution date),
          subject to Section 3.04. If distribution of Plan Payments to a trust would become payable
          to a class of REMIC residual interests, whether on the initial distribution of such Plan
          Payments or on any subsequent distribution date that is not the final distribution date
          under the Governing Agreement for such Trust, such Plan Payment shall be maintained in
          the distribution account, and the party responsible for distributing payments under the
          Governing Agreements of a given trust shall distribute it on the next distribution date
          according to the provisions of this Subsection 3.06(a).

                  (b)     In connection with the distribution of Plan Payments to Participating
          Trusts pursuant to Subsection 3.06(a), to the extent permitted under each Trust’s
          Governing Agreement, the applicable Accepting Trustee, or the party responsible for
          calculating certificate balances pursuant to the terms of the Governing Agreements of a
          given Participating Trust, will apply the amount of the Plan Payment for that Trust to
          increase the balance of securities within that Trust (other than any class of REMIC
          residual interests) in the reverse order of previously allocated losses, as though such Plan
          Payment was a subsequent recovery; and further provided that if the Governing
          Agreement for a particular Participating Trust does not include the concept of
          “subsequent recovery,” to the extent permitted under each Trust’s Governing Agreement,
          the securities for such Trust shall be increased, in reverse order of previously allocated
          losses, as though the Plan Payment was distributed as though it was unscheduled
          principal), but in each case by not more than the amount of such losses previously
          allocated to that class of securities pursuant to the Governing Agreements. Investors
          shall not be entitled to payment in respect of interest on the amount of such increases for
          any interest accrual period relating to the distribution date on which such increase occurs
          or any prior distribution date. For the avoidance of doubt, this Subsection 3.06(b) is
          intended only to increase the balances of the related classes of securities, as provided for
          herein, and shall not affect the distribution of Plan Payments on the Net Allowed Claim

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          provided for in Subsection 3.06(a).

                  (c)     Should the party responsible for calculating distributions and/or making
          distributions to Investors under the terms of the Governing Agreements of a given Trust
          or a court determine that the payment procedure described in Sections 3.06(a) and 3.06(b)
          may not conform to the terms of the Governing Agreement for a particular Accepting
          Trust, the distribution described above shall be modified to distribute that Trust’s Plan
          Payments as a payment of principal under the Governing Agreement for that Trust, or in
          such other manner as the party responsible for calculating distributions under the terms of
          the Governing Agreements of a given Trust or a court should determine is in
          conformance with the terms of the Governing Agreement for a particular Trust.

                  (d) Notwithstanding anything to the contrary set forth in this Section 3.06 or any
          other provision of this Settlement Agreement, each Accepting Trustee and/or the party
          responsible for such implementation shall be entitled, prior to implementing the forgoing
          Subsections 3.06(a)-(c), to seek further guidance from a court of competent jurisdiction
          regarding the applicable procedures under the Governing Agreements related to the
          distribution of Plan Payments or determining the balance of securities potentially affected
          by distribution of the Plan Payments. Any such Accepting Trustee’s or other
          implementing party’s decision to seek such guidance shall have no effect on, and shall
          not change, the timing of Plan Payments to the Accepting Trustees under this Settlement
          Agreement or under the Plan.


        3.07. No Alteration of Trigger Dates or Similar Credit Support Measurement Dates.
 Neither the Net Allowed Claim nor any allocation or application thereof pursuant to Section
 3.04, nor the receipt of any Plan Payments pursuant to Section 3.06 shall be deemed to reverse
 the occurrence of any transaction-related trigger in any Participating Trust.

         3.08. Responsibility for Distribution of Plan Payments. An Accepting Trustee (to the
 extent it is the party responsible for making distributions under the applicable Governing
 Agreement(s)), or the party responsible for making distributions under the applicable Governing
 Agreement(s) if it is not the Accepting Trustee, shall administer distribution of the Plan
 Payments under the terms of the Governing Agreements. No party (including the LBHI Debtors
 and the Institutional Investors), other than the party responsible for calculating and causing the
 distributions under the applicable Governing Agreements, shall have any liability to Accepting
 Trustees, the Participating Trusts, any Investor in such Trusts, or any other Person in connection
 with the determination of the Net Allowed Claim, the Allocated Percentages, the Final Expert
 Determination or the administration or distribution of the Plan Payments, including under any
 indemnification obligation that exists under any Governing Agreement.

         3.09. Expert Calculation of Final Allocated Percentages to be Conclusive. In the
 absence of bad faith or manifest error, the Expert’s calculations of the Final Allocated
 Percentages and each Participating Trust’s Allocable Share shall be binding on all Participating
 Trusts.

          3.10.   Full Satisfaction. The determination and allowance of the Net Allowed Claim

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 under the Plan pursuant to this Settlement Agreement shall be in full and final satisfaction of any
 and all Covered Loan Claims of the Participating Trusts (but not the Excluded Trusts or the
 Transferor Trusts) and, except for Plan Payments, there shall be no further recovery against the
 LBHI Debtors by a Participating Trust on account of any of the Trust Released Claims.

         3.11. Release of RMBS Reserve. Notwithstanding anything to the contrary contained
 herein, following the Bankruptcy Court’s determination of the Allowed Claim if the REMIC
 Approval has not occurred on or before October 31, 2018, the Accepting Trustees, solely in their
 capacity as trustee for Participating Trusts and not on behalf of any other Trusts, shall not oppose
 any request or motion by the LBHI Debtors to reduce the RMBS Reserve to the amount
 necessary to make distributions under the Plan on account of the Allocable Shares.

                            ARTICLE IV. CLAIMS NOT RELEASED

         4.01. Financial-Guaranty Provider Rights and Obligations. To the extent that any third
 party guarantor or financial-guaranty provider with respect to any Trust has rights or obligations
 wholly independent of the rights or obligations of the Trustee of or Investors in such Trust, the
 Trustees, or the Trusts, the releases and waivers in Article III are not intended to and shall not
 release such rights, if any, provided, however, that the LBHI Debtors reserve all rights with
 respect to the position they may take on whether the resolution of the Covered Loan Claims
 pursuant to this Settlement Agreement shall offset or otherwise bar any claims asserted by a third
 party guarantor or financial-guaranty provider.

         4.02. Mortgage Originator and Third Party Guarantor Claims. The Parties do not
 release or waive any rights or claims against any party that is not a Released Party, including: (a)
 repurchase and indemnity claims any Trustee or any Released Party may have against any
 mortgage originator (including brokers, bulk sellers, and correspondents), and (b) claims against
 any third party guarantor or financial-guaranty provider with respect to the Trusts, if any.

        4.03. Settlement Agreement Rights. The Parties do not release or waive any rights or
 claims against each other to enforce the terms of this Settlement Agreement.

         4.04. Disclosure Claims/Bar Date. The releases and waivers in Article III do not
 include any direct individual claims for securities fraud or other alleged disclosure violations
 (“Disclosure Claims”) that an Investor may seek to assert based upon such Investor’s purchase or
 sale of securities; provided, however, that the question of the extent to which any payment made
 or benefit conferred pursuant to this Settlement Agreement may constitute an offset or credit
 against, or a reduction in the gross amount of, any such claim shall be determined in the action in
 which such claim is raised, and, notwithstanding any other provision in this Settlement
 Agreement, the Parties reserve all rights with respect to the position they may take on that
 question in those actions and acknowledge that all other Persons similarly reserve such rights.
 Notwithstanding the foregoing, the Investment Advisers for themselves, and not for any
 individual clients or funds they advise, state that they do not own any Disclosure Claims and
 hereby irrevocably, fully and finally release any Disclosure Claims to the extent they own such
 claims personally, and such Investment Advisers agree not to assist or advise any of the
 individual clients or funds that they advise in bringing any Disclosure Claim except to the extent
 legally required. Nothing in this provision shall bar any individual client, or any fund advised

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 by an Investment Adviser, from asserting its own Disclosure Claims on its own behalf. Nothing
 in this Settlement Agreement is intended or shall be read to alter, modify, or amend any order of
 the Bankruptcy Court, any provision in the Plan, or provision of law concerning the assertion or
 timeliness of any Disclosure Claims or any other claims.

          4.05. Repurchase Obligations of Unaffiliated Mortgage Sellers. Claims against parties
 other than the Released Parties related to the origination and/or sale of Mortgage Loans sold or
 securitized by the LBHI Debtors are not released. To the extent that the LBHI Debtors, or any
 successors or assigns of the LBHI Debtors, elect to pursue any third-parties, unaffiliated with the
 LBHI Debtors, for recovery based on the Trust Released Claims related to the origination and/or
 sale of Covered Loans, the Accepting Trustees agree to use commercially reasonable efforts to
 assist such pursuit (provided that the LBHI Debtors shall reimburse the Accepting Trustees in
 full, in cash, for their reasonable and necessary fees, costs and expenses in providing such
 assistance); provided, however, neither the Accepting Trustees nor their counsel, advisors or
 experts shall be obligated to disclose or provide to the LBHI Debtors any work product or
 attorney-client privileged information.

         4.06. Obligations of Master Servicers and Servicers. This Settlement Agreement shall
 not release or affect any obligation of any Master Servicer or Servicer not a debtor in the
 Bankruptcy Proceeding, including without limitation Aurora, under any of the Governing
 Agreements that pertain to the servicing of Mortgage Loans held by the Trusts.

         4.07. Correction of Certain Document Defects. The releases and waivers in this
 agreement do not release any party from any existing obligation under the Governing
 Agreements to provide and/or procure, as applicable, documents needed to cure document
 defects, provided however, that any claims for monetary damages against the LBHI Debtors
 based upon the failure to cure such defects shall be included with the Trust Released Claims, and
 further provided that nothing in this Section 4.07 is intended to or shall be interpreted to create
 new obligations on the part of any party.

        4.07. Inter-Debtor Claims. This Settlement Agreement shall not waive, release or
 discharge any claims, liabilities, rights, obligations or other relationships held by one or more
 LBHI Debtors against one or more other LBHI Debtors.

                       ARTICLE V. RELEASE OF UNKNOWN CLAIMS

         5.01. Each of the Parties acknowledges that it has been advised by its attorneys
 concerning, and is familiar with, California Civil Code Section 1542 and expressly waives any
 and all provisions, rights, and benefits conferred by any law of any state or territory of the United
 States, or principle of common law, which is similar, comparable, or equivalent to the provisions
 of the California Civil Code Section 1542, including that provision itself, which reads as follows:

                  “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                  WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT
                  TO EXIST IN HIS OR HER FAVOR AT THE TIME OF
                  EXECUTING THE RELEASE, WHICH, IF KNOWN BY HIM



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                  OR HER MUST HAVE MATERIALLY AFFECTED HIS OR
                  HER SETTLEMENT WITH THE DEBTOR.”
        5.02. The Parties acknowledge that inclusion of the provisions of this Article V to this
 Settlement Agreement was a material and separately bargained for element of this Settlement
 Agreement.
                            ARTICLE VI. MISCELLANEOUS PROVISIONS

         6.01. Terminated Trusts. Effective as of the Modification Date, the Accepting Trustees
 agree that they will not pursue any claims of, or on behalf of, any Terminated Trust, but make no
 representations as to whether any assignees of claims relating to Terminated Trusts will pursue
 or not pursue such claims. For the avoidance of doubt, the definition of “Trust” does not include
 any “Terminated Trusts.” The Accepting Trustees agree that, as of the Modification Date, they
 will no longer pursue any rights with respect to any of the Terminated Trusts Proofs of Claim,
 and acknowledge that they have no standing to oppose and will not oppose any objection filed by
 the LBHI Debtors to the Terminated Trusts Proofs of Claim.

          6.02. Holdings. Each of the Institutional Investors shall continue to hold securities
 issued by at least one of the Accepting Trusts sufficient to support its individual standing to
 prosecute any intervention in any proceeding seeking entry of the Trustee Findings Order (the
 “Required Holdings”). Such maintenance of Required Holdings shall continue until the earliest
 of: (i) the date on which Final Court Approval is obtained; (ii) such time as Final Court
 Approval becomes legally impossible; or (iii) any material breach of the Settlement Agreement
 by the LBHI Debtors or any Accepting Trustee, which breach is not cured or waived within
 ninety (90) days of written notice of such breach having been provided by a party to the
 Settlement Agreement; provided, however, that continued holding is not required if prohibited by
 law, regulation, contract, or fiduciary obligations. The requirements of this Section 6.02 shall be
 met if any investor, fund, or entity included within the definition of that Institutional Investor
 maintains holdings in compliance with this Settlement Agreement. For the avoidance of doubt,
 other than as set forth above and/or as otherwise required by federal or state securities laws, this
 Settlement Agreement shall not restrict the right of any Institutional Investor to sell or exchange
 any security issued by a Trust free and clear of any encumbrance. No Trustee shall be required
 to provide any oversight with respect to the Institutional Investors’ compliance with this Section
 6.02. The Parties agree that the aggregate amounts of securities collectively held by the
 Institutional Investors for each Trust may be disclosed publicly, but that the individual holdings
 of each Institutional Investor shall remain confidential, subject to review only by the LBHI
 Debtors and the Trustees unless required by law, regulation, or process.

          6.03. No Inconsistent Directions. Except for providing the Request Letter, the
 Institutional Investors agree that between the date hereof and the Effective Date, with respect to
 the securities issued by the Trusts, they will not, individually or collectively, direct, vote for, or
 take any other action that they may have the right or the option to take under the Governing
 Agreements or join with any other Investors or Trustees to cause the Trustees to enforce (or seek
 derivatively to enforce) any Claims for any Trust. Nothing in this Settlement Agreement shall
 restrict the ability of, or require, any Trustee to demand that any other Investor who seeks to
 direct the Trustee regarding the Settlement must post the indemnity or bond, if any, required or
 permitted by the Governing Agreements for the applicable Trust.

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         6.04. No Amendments to Governing Agreements. The Parties agree that this
 Settlement Agreement reflects a compromise of disputed claims and is not intended to, and shall
 not be argued or deemed to constitute, an amendment of any term of any Governing Agreement;
 provided, however, that compliance with this Settlement Agreement and its Exhibits, including
 the provisions relating to Plan Payments, shall be deemed compliance with the applicable
 Governing Agreements and no Party or Investor shall make any subsequent claim to the
 contrary.

         6.05. Legal Fees. As payment of the attorneys’ fees for counsel to the Institutional
 Investors for its work relating to the Settlement, Gibbs & Bruns shall be allocated, without
 conveyance to the Accepting Trusts, 4.75% of the first $2,416,000,000 of the Allowed Claim
 (the “Legal Fees”) by the Plan Administrator, without the requirement of submitting any form of
 estate retention or fee application, as an allowed Class 7 General Unsecured Claim in the
 Bankruptcy Proceeding against Lehman Brothers Holdings Inc. Distributions under the Plan on
 account of the Legal Fees shall be made at such times as distributions are made on account of the
 Allowed Claim in accordance with, and on the periodic distribution dates contained in, the Plan.

         6.06. Voluntary Agreement. Each Party acknowledges that it has read all of the terms
 of this Settlement Agreement, has had an opportunity to consult with counsel of its own choosing
 or voluntarily waived such right and enters into this Settlement Agreement voluntarily and
 without duress. This Settlement Agreement is a settlement of disputed matters.

          6.07. No Admission of Breach or Wrongdoing. The LBHI Debtors have denied and
 continue to deny any breach, fault, liability, or wrongdoing. This denial includes, but is not
 limited to, allegations of breaches of representations and warranties, violations of state or federal
 securities laws, and other claims sounding in contract or tort in connection with any
 securitizations, including those for which any LBHI Debtor was the Seller, Sponsor, Servicer, or
 Depositor. Neither this Settlement Agreement, whether or not consummated, any proceedings
 relating to this Settlement Agreement, nor any of the terms of the Settlement Agreement,
 whether or not consummated, shall be construed as, or deemed to be evidence of, an admission
 or concession on the part of the LBHI Debtors with respect to any claim or of any breach,
 liability, fault, wrongdoing, or damage whatsoever, or with respect to any infirmity in any
 defense that the LBHI Debtors have or could have asserted. No statements made by any Party to
 this Settlement Agreement in support of the Settlement or the Trustee Findings Order shall be
 admissible in any other proceeding for any purpose.

         6.08. Concerning the Trustees. The provisions of this Settlement Agreement shall not
 affect the rights and obligations of the Trustees under the applicable Governing Agreements,
 which shall equally apply to each and every such Trustee’s rights and obligations under the
 Settlement Agreement. Nothing in this Settlement Agreement shall be construed to imply that
 any Trustee owes any greater duties under the Governing Agreements than it would otherwise
 owe under those agreements.

         6.09. Counterparts. This Settlement Agreement may be executed in any number of
 counterparts, each of which when so executed shall be deemed to be an original and all of which
 taken together shall constitute one and the same Settlement Agreement. Delivery of a signature
 page to this Settlement Agreement by facsimile or other electronic means shall be effective as

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 delivery of the original signature page to this Settlement Agreement.

         6.10. Joint Drafting. Following the Modification Date, this Settlement Agreement shall
 be deemed to have been jointly drafted by the Parties, and in construing and interpreting this
 Settlement Agreement, no provision shall be construed and interpreted for or against any of the
 Parties because such provision or any other provision of the Settlement Agreement as a whole is
 purportedly prepared or requested by such Party.

         6.11. Entire Agreement. This document contains the entire agreement between the
 Parties, and may only be modified, altered, amended, or supplemented in writing signed by the
 Parties, at the relevant point in time, or their duly appointed agents. All prior agreements and
 understandings between the Parties concerning the subject matter hereof are superseded by the
 terms of this Settlement Agreement.

         6.12. Specific Performance. It is understood that money damages are not a sufficient
 remedy for any breach of this Settlement Agreement, and the Parties shall have the right, in
 addition to any other rights and remedies contained herein, to seek specific performance,
 injunctive, or other equitable relief as a remedy for any such breach. The Parties hereby agree
 that specific performance shall be their only remedy for any violation of this Agreement.

         6.13. Authority. Each Party represents and warrants that each Person who executes this
 Settlement Agreement on its behalf is duly authorized to execute this Settlement Agreement on
 behalf of the respective Party, and that such Party has full knowledge of and has consented to
 this Settlement Agreement.

        6.14. No Obligation to Amend. No Party shall be under any obligation to participate in
 the amendment of any term of any Governing Agreement and shall not have any liability to any
 other Party or Person in connection with any amendment to any term of any Governing
 Agreement that any Party or other Person determines is necessary to implement the terms of this
 Settlement Agreement.

        6.15. No Third Party Beneficiaries. There are no third party beneficiaries of this
 Settlement Agreement.

         6.16. Headings. The headings of all sections of this Settlement Agreement are inserted
 solely for the convenience of reference and are not a part of and are not intended to govern, limit,
 or aid in the construction or interpretation of any term or provision hereof.

         6.17. Notices. All notices or demands given or made by one Party to another Party
 relating to this Settlement Agreement shall be in writing and either personally served or sent by
 registered or certified mail, postage paid, return receipt requested, overnight delivery service, or
 by electronic mail transmission, and shall be deemed to be given for purposes of this Settlement
 Agreement on the earlier of the date of actual receipt or three days after the deposit thereof in the
 mail or the electronic transmission of the message. Unless a different or additional address for
 subsequent notices is specified in a notice sent or delivered in accordance with this Section, such
 notices or demands shall be sent as follows:



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                  To:   Institutional Investors
                        c/o Kathy Patrick
                        Gibbs & Bruns LLP
                        1100 Louisiana
                        Suite 5300
                        Houston, TX 77002
                        Tel: 713-650-8805
                        Email: kpatrick@gibbsbruns.com

                  To:   The LBHI Debtors
                        c/o Paul Shalhoub
                        c/o Todd Cosenza
                        Willkie Farr & Gallagher LLP
                        787 Seventh Avenue
                        New York, NY 10019
                        Tel: 212-728-8000
                        Email: pshalhoub@willkie.com
                               tcosenza@willkie.com

                        c/o Michael Rollin
                        c/o Maritza Dominguez Braswell
                        Rollin Braswell Fisher LLC
                        8350 E. Crescent Parkway, Suite 100
                        Greenwood Village, CO 80111
                        Tel: 303-945-7415
                        Email: mrollin@RBF.Law
                               mbraswell@RBF.Law

                  To:   The Accepting Trustees, at such addresses identified in writing by the
                        applicable Accepting Trustee to the other Parties.

         6.18. Disputes and Bankruptcy Court Approval. This Settlement Agreement, and any
 disputes arising under or in connection with this Settlement Agreement, are to be governed by
 and construed in accordance with the laws of the State of New York, without giving effect to the
 choice of laws principles thereof. Except as otherwise provided in this Settlement Agreement,
 each of the Parties hereto consents to the exclusive jurisdiction of the Bankruptcy Court to hear
 and determine any dispute regarding the interpretation or enforcement of this Settlement
 Agreement until the closing of the LBHI Debtors’ bankruptcy cases. Thereafter, each of the
 Parties hereto consents to the non-exclusive jurisdiction of the federal and state courts of New
 York with respect to such matters.

         6.19. Press Statements. In the event the Parties agree to make this Settlement
 Agreement public, the Parties shall agree in advance on the text of a permissible disclosure
 concerning this Settlement Agreement, which shall be factual and non-disparaging. The Parties
 agree that any subsequent press statements concerning this Settlement Agreement also shall be
 factual and non-disparaging. At any time on or after the Modification Date, each Trustee may
 provide notice of this Settlement Agreement and its terms publicly and/or to such present and

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 former Investors of the Trusts and other persons, including all financial guaranty institutions and
 securities administrators known to the Trustees to have an interest in the Trusts, as such Trustee
 determines, in its sole discretion, is necessary or appropriate.

         6.20. Fiduciary Obligations. Nothing in this Settlement Agreement shall be construed
 to require any Party to breach any investment management agreement or fiduciary obligation to
 comply with this Settlement Agreement.

                     [REST OF PAGE INTENTIONALLY LEFT BLANK]




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 IN WITNESS WHEREOF, each Party by its duly authorized representative has executed this
 Settlement Agreement as of the date first written above:


 Lehman Brothers Holdings Inc., as Plan
 Administrator for Lehman ot rs Holding Inc.
 and the other LBHI eb rs

 By:

 Name:~fiA~ilT~I~~~i~l£~~~~~~Jf~7-~----------­
 Title: C~t ~* Lr= (YJflv ()py- I (/c.:;~-




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 Gibbs & Bruns, LLP,
 counsel to, and authorized signatory for:

 AEGON USA Investment Management, LLC,
 BlackRock Financial Management, Inc.,
 Cascade Investment, L.L.C.,
 Federal Home Loan Bank of Atlanta,
 Goldman Sachs Asset Management, L.P.,
 Invesco Advisers, Inc.,
 Kore Advisors, L.P.,
 Metropolitan Life Insurance Company,
 Pacific Investment Management Company, LLC,
 Sealink Designated Activity Company, through its investment manager
         Neuberger Berman Europe Limited
 The TCW Group, Inc., on behalf of itself and its subsidiaries
 Thrivent Financial for Lutherans,
 Voya Investment Management LLC, and
 Western Asset Management Company.



 sv?'~
 Name:      Robert Madden

 Title:     Partner




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                                      EXHIBIT A

                                        TRUSTS

 No.     Trust Name
    1    ARC 2002‐BC10
    2    ARC 2002‐BC8
    3    ARC 2002‐BC9
    4    ARC 2004‐1
    5    BNC 2006‐1
    6    BNC 2006‐2
    7    BNC 2007‐1
    8    BNC 2007‐2
    9    BNC 2007‐3
  10     BNC 2007‐4
  11     LABS 2004‐1
  12     LABS 2007‐1
  13     LMT 2005‐1
  14     LMT 2005‐2
  15     LMT 2005‐3
  16     LMT 2006‐1
  17     LMT 2006‐2
  18     LMT 2006‐4
  19     LMT 2006‐8
  20     LMT 2006‐9
  21     LMT 2007‐1
  22     LMT 2007‐10
  23     LMT 2007‐2
  24     LMT 2007‐3
  25     LMT 2007‐4
  26     LMT 2007‐5
  27     LMT 2007‐6
  28     LMT 2007‐7
  29     LMT 2007‐8
  30     LMT 2007‐9
  31     LMT 2008‐2
  32     LMT 2008‐6
  33     LXS 2005‐1
  34     LXS 2005‐10
  35     LXS 2005‐2
  36     LXS 2005‐3
  37     LXS 2005‐4

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   38    LXS 2005‐6
   39    LXS 2005‐8
   40    LXS 2006‐1
   41    LXS 2006‐10N
   42    LXS 2006‐11
   43    LXS 2006‐12N
   44    LXS 2006‐13
   45    LXS 2006‐15
   46    LXS 2006‐17
   47    LXS 2006‐19
   48    LXS 2006‐20
   49    LXS 2006‐3
   50    LXS 2006‐5
   51    LXS 2006‐7
   52    LXS 2006‐8
   53    LXS 2006‐9
   54    LXS 2007‐1
   55    LXS 2007‐10H
   56    LXS 2007‐11
   57    LXS 2007‐12N
   58    LXS 2007‐14H
   59    LXS 2007‐15N
   60    LXS 2007‐16N
   61    LXS 2007‐17H
   62    LXS 2007‐18N
   63    LXS 2007‐20N
   64    LXS 2007‐3
   65    LXS 2007‐5H
   66    LXS 2007‐6
   67    LXS 2007‐7N
   68    LXS 2007‐8H
   69    LXS 2007‐9
   70    RLT 2008‐AH1
   71    SAIL 2003‐BC1
   72    SAIL 2003‐BC10
   73    SAIL 2003‐BC11
   74    SAIL 2003‐BC12
   75    SAIL 2003‐BC13
   76    SAIL 2003‐BC2
   77    SAIL 2003‐BC3
   78    SAIL 2003‐BC4
   79    SAIL 2003‐BC5
   80    SAIL 2003‐BC8

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   81    SAIL 2003‐BC9
   82    SAIL 2004‐1
   83    SAIL 2004‐10
   84    SAIL 2004‐2
   85    SAIL 2004‐3
   86    SAIL 2004‐4
   87    SAIL 2004‐5
   88    SAIL 2004‐6
   89    SAIL 2004‐8
   90    SAIL 2004‐9
   91    SAIL 2005‐1
   92    SAIL 2005‐10
   93    SAIL 2005‐11
   94    SAIL 2005‐2
   95    SAIL 2005‐3
   96    SAIL 2005‐4
   97    SAIL 2005‐5
   98    SAIL 2005‐6
   99    SAIL 2005‐7
  100    SAIL 2005‐8
  101    SAIL 2005‐9
  102    SAIL 2005‐HE3
  103    SAIL 2006‐1
  104    SAIL 2006‐2
  105    SAIL 2006‐4
  106    SAIL 2006‐BNC3
  107    SARM 2004‐10
  108    SARM 2004‐16
  109    SARM 2004‐18
  110    SARM 2004‐20
  111    SARM 2004‐5
  112    SARM 2004‐9XS
  113    SARM 2005‐11
  114    SARM 2005‐12
  115    SARM 2005‐15
  116    SARM 2005‐17
  117    SARM 2005‐20
  118    SARM 2005‐22
  119    SARM 2005‐23
  120    SARM 2005‐3XS
  121    SARM 2005‐6XS
  122    SARM 2005‐8XS
  123    SARM 2006‐1

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  124    SARM 2006‐10
  125    SARM 2006‐11
  126    SARM 2006‐12
  127    SARM 2006‐2
  128    SARM 2006‐3
  129    SARM 2006‐4
  130    SARM 2006‐5
  131    SARM 2006‐6
  132    SARM 2006‐7
  133    SARM 2006‐8
  134    SARM 2006‐9
  135    SARM 2007‐1
  136    SARM 2007‐10
  137    SARM 2007‐11
  138    SARM 2007‐2
  139    SARM 2007‐3
  140    SARM 2007‐4
  141    SARM 2007‐6
  142    SARM 2007‐8
  143    SARM 2008‐2
  144    SASCO 2003‐12XS
  145    SASCO 2003‐15A
  146    SASCO 2003‐17A
  147    SASCO 2003‐18XS
  148    SASCO 2003‐25XS
  149    SASCO 2003‐26A
  150    SASCO 2003‐28XS
  151    SASCO 2003‐29
  152    SASCO 2003‐30
  153    SASCO 2003‐34A
  154    SASCO 2003‐35
  155    SASCO 2003‐36XS
  156    SASCO 2003‐38
  157    SASCO 2003‐39EX
  158    SASCO 2003‐3XS
  159    SASCO 2003‐6A
  160    SASCO 2003‐GEL1
  161    SASCO 2003‐NP1
  162    SASCO 2003‐S1
  163    SASCO 2003‐S2
  164    SASCO 2004‐10
  165    SASCO 2004‐11XS
  166    SASCO 2004‐13

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  167    SASCO 2004‐15
  168    SASCO 2004‐16XS
  169    SASCO 2004‐17XS
  170    SASCO 2004‐18H
  171    SASCO 2004‐19XS
  172    SASCO 2004‐20
  173    SASCO 2004‐21XS
  174    SASCO 2004‐22
  175    SASCO 2004‐23XS
  176    SASCO 2004‐2AC
  177    SASCO 2004‐4XS
  178    SASCO 2004‐6XS
  179    SASCO 2004‐7
  180    SASCO 2004‐9XS
  181    SASCO 2004‐GEL1
  182    SASCO 2004‐GEL2
  183    SASCO 2004‐GEL3
  184    SASCO 2004‐NP1
  185    SASCO 2004‐S2
  186    SASCO 2004‐S3
  187    SASCO 2004‐S4
  188    SASCO 2005‐1
  189    SASCO 2005‐10
  190    SASCO 2005‐11H
  191    SASCO 2005‐14
  192    SASCO 2005‐15
  193    SASCO 2005‐17
  194    SASCO 2005‐2XS
  195    SASCO 2005‐3
  196    SASCO 2005‐4XS
  197    SASCO 2005‐5
  198    SASCO 2005‐7XS
  199    SASCO 2005‐9XS
  200    SASCO 2005‐GEL2
  201    SASCO 2005‐GEL3
  202    SASCO 2005‐GEL4
  203    SASCO 2005‐RF1
  204    SASCO 2005‐RF2
  205    SASCO 2005‐RF4
  206    SASCO 2005‐RF5
  207    SASCO 2005‐RF6
  208    SASCO 2005‐RF7
  209    SASCO 2005‐S1

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  210    SASCO 2005‐S2
  211    SASCO 2005‐S3
  212    SASCO 2005‐S4
  213    SASCO 2005‐S5
  214    SASCO 2005‐S6
  215    SASCO 2005‐S7
  216    SASCO 2005‐SC1
  217    SASCO 2006‐BC2
  218    SASCO 2006‐BC3
  219    SASCO 2006‐BC4
  220    SASCO 2006‐BC6
  221    SASCO 2006‐GEL1
  222    SASCO 2006‐GEL2
  223    SASCO 2006‐GEL3
  224    SASCO 2006‐GEL4
  225    SASCO 2006‐RF1
  226    SASCO 2006‐RF2
  227    SASCO 2006‐RF3
  228    SASCO 2006‐RF4
  229    SASCO 2006‐S1
  230    SASCO 2006‐S2
  231    SASCO 2006‐S3
  232    SASCO 2006‐S4
  233    SASCO 2006‐Z
  234    SASCO 2007‐BC1
  235    SASCO 2007‐BC2
  236    SASCO 2007‐BC3
  237    SASCO 2007‐BC4
  238    SASCO 2007‐BNC1
  239    SASCO 2007‐GEL1
  240    SASCO 2007‐GEL2
  241    SASCO 2007‐MLN1
  242    SASCO 2007‐OSI
  243    SASCO 2007‐RF1
  244    SASCO 2007‐TC1




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                                      EXHIBIT B

                                 TERMINATED TRUSTS

 No.     Trust Name
    1    LABS 2003‐1
    2    SASCO 2003‐10
    3    SASCO 2003‐14
    4    SASCO 2003‐16
    5    SASCO 2003‐20
    6    SASCO 2003‐21
    7    SASCO 2003‐4
    8    SASCO 2003‐8
    9    SASCO 2003‐NP2
  10     SASCO 2003‐NP3
  11     SASCO 2003‐RNP2
  12     SASCO 2004‐NP2
  13     SASCO 2007‐RF2
  14     SASC 2003‐32
  15     SASC 2004‐3
  16     SASC 2005‐6




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                                           EXHIBIT C

                               SUBSIDIARIES AND AFFILIATES

        No.                                     Company Name
         1        Lehman Brothers Holdings Inc.
         2        314 Commonwealth Ave. Inc.
         3        Acesco Holdings Inc
         4        Appalachian Asset Management Corp.
         5        Battle Station LHCI., Inc.
         6        Brookson Corp.
         7        Brookwood Energy And Properties Inc.
         8        Campus Door, Inc.
         9        Capital Crossing Securities Corp II
        10        Da Group Holdings Inc.
        11        Diogenes Holdings Inc.
        12        Diogenes Management Company Inc.
        13        Dl Mortgage Corporation
        14        DOLCAP INC
        15        E.F.H. Insurance Agency Of Pennsylvania, Inc.
        16        Fleet Street Condos Inc.
        17        Frah Special Services Inc.
        18        Future Financial Holdings Inc.
        19        GA Dekalb Inc.
        20        Industrial Holdings Corporation
        21        LB Brickstone Inc.
        22        LB Eastview, Inc.
        23        LB Funding Corp II
        24        LB Hercules Agency, Inc.
        25        LB I Group Inc.
        26        LB Lakeside I Inc.
        27        LB Lakeside II Inc.
        28        LB Lakeside III Inc.
        29        LB LIH Corp.
        30        LB Skypower Inc.
        31        LB Transaction No. 5 Inc.


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         32       LB Verve Condos Inc.
         33       LB Windsor Capital One Bloor Street East Inc.
         34       LB Windsor Kitchener Inc.


        No.                                      Company Name
        35        LB Windsor Pointz Avenue Inc.
        36        LBMB CAPITAL PARTNERS V EAGLE ENERGY HOLDINGS
        37        LBMB FUND (B) EAGLE ENERGY HOLDINGS LP
        38        LBMB FUND EAGLE ENERGY HOLDINGS LP
        39        LBMB PARTNERS EAGLE ENERGY HOLDINGS LP
        40        LBTC Transfer Inc.
        41        LCPI Properties, Inc.
        42        Lehman ABS Corporation
        43        Lehman Aircraft Securitization Holdings Inc.
        44        Lehman Ali Inc.
        45        Lehman Brothers Asset Management Inc.
        46        Lehman Brothers (Israel) Inc.
        47        Lehman Brothers Bancorp, Inc.
        48        Lehman Brothers Commercial Corporation
        49        Lehman Brothers Commodity Services Inc.
        50        Lehman Brothers Communications Associates Inc
        51        Lehman Brothers Derivative Products Inc.
        52        Lehman Brothers Europe Inc.
        53        Lehman Brothers Finance (Japan) Inc.
        54        Lehman Brothers Financial Products Inc.
        55        Lehman Brothers Futures Asset Management Corp
        56        Lehman Brothers International Services Inc.
        57        Lehman Brothers Investment Holdings Company
        58        Lehman Brothers Investments Japan Inc.
        59        Lehman Brothers Merchant Banking Partners II
        60        Lehman Brothers Mortgage Opportunity
        61        Lehman Brothers OTC Derivatives Inc.
        62        Lehman Brothers Overseas Inc.
        63        Lehman Brothers Pera Inc.
        64        Lehman Brothers Special Financing Inc.
        65        Lehman Brothers U.K. Holdings (Delaware) Inc.
        66        Lehman Brothers Venture Associates, Inc.


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         67       Lehman Brothers/FW Inc.
         68       Lehman Brothers/Rosecliff Inc.
         69       Lehman Commercial Paper Inc.
         70       Lehman Housing Capital Inc.
         71       Lehman Housing Lending Corp.
        No.                                       Company Name
         72       Lehman Investments Inc.
         73       Lehman Pass-Through Securities Inc.
         74       Lehman Tax Credit Advisor Inc.
         75       Lehman VIP Holdings Inc.
         76       LHCI GP VI Inc.
         77       LHCI GP VII Inc.
         78       LHCI GP VIII Inc.
         79       LHCI GP X, Inc.
         80       LHCI GP XI, Inc
         81       LHCI Martinsburg GP Inc.
         82       Libro Holdings I Inc.
         83       LPTG Inc.
         84       LW-GP2B, Inc
         85       LW-GP2D, Inc.
         86       LW-LP Inc.
         87       LW-LP Properties Inc.
         88       MBR/GP Corp.
         89       MMP Funding Corporation
         90       NJ Atlantic Inc.
         91       NJ Somerset Inc.
         92       NP Investment I Co.
         93       PAC Aircraft Management Inc.
         94       PAMI 5-7 East 17th Street Inc.
         95       PAMI Newark Inc.
         96       PAMI PPC I Inc.
         97       PAMI Public/Private II, Inc.
         98       PAMI Raymond Inc.
         99       Petro L Corporation
        100       Principal Transactions II Inc.
        101       Principal Transactions Inc.
        102       Property Asset Management Inc.
        103       Real Estate Private Equity Inc.

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        104       Rock Hill Investors Inc.
        105       SBA 2011 Acquisition Co Inc.
        106       SASCO ARC CORPORATION
        107       Select Asset Inc.
        108       Sharpstown Center Inc.
        No.                                      Company Name
        109       Shearson Financial Services Of TX Inc.
        110       Solar Finance Inc
        111       Structured Asset Securities Corp
        112       Structured Options Inc.
        113       Thai Holding I Inc.
        114       Thai Holding II Inc.
        115       Tulsa Hotels LS, Inc
        116       Warren Atlantic Inc.
        117       Warren/GP Corp.
        118       West Bay Club Development Corp.
        119       West Bay Realty Inc.
        120       Wharf Reinsurance Inc.
        121       Winter Garden Inc.
        122       Woodlands Commercial Corporation
        123       Lehman Re Inc.
        124       BK II Properties Inc.
        125       ASIA INDO OPPORTUNITY I LTD
        126       ASIA INDO OPPORTUNITY II LTD
        127       BALLYBUNION INVESTMENT LIMITED
        128       BALLYBUNION INVESTMENT NO 2 LIMITED
        129       BALLYBUNION INVESTMENT NO 3 LIMITED
        130       BIRCH Y.K.
        131       BISON II SP. Z.O.O.
        132       CAPITAL GROWTH INVESTMENTS LTD.
        133       CENTRAL TOKYO HOLDINGS INC.
        134       CENTRAL TOKYO INVESTMENTS INC.
        135       CENTRAL TOKYO PROPERTIES INC.
        136       CEREP III INVESTMENT D S.ÀR.L.
        137       CIMT LIMITED
        138       CJC INVESTMENTS INC
        139       CYGNUS Y.K.
        140       DYNAMO INVESTMENTS LIMITED


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        141       EAGLE HOLDINGS II INC
        142       EAST DOVER LIMITED
        143       ELMWOOD Y.K.
        144       FALCON HOLDINGS II INC.
        145       FALCON HOLDINGS III INC.
        146       FALCON HOLDINGS IV INC.
        No.                                Company Name
        147       FALCON INVESTOR I INC.
        148       FALCON INVESTOR II INC.
        149       FALCON INVESTOR III INC.
        150       FALCON INVESTOR IV INC.
        151       FALCON INVESTOR IX INC.
        152       FALCON INVESTOR V INC .
        153       FALCON INVESTOR VI INC.
        154       FALCON INVESTOR VII INC.
        155       FALCON INVESTOR VIII INC.
        156       FALCON INVESTOR X INC.
        157       GAINSBOROUGH INVESTMENTS BV
        158       GKI KOREA DEVELOPMENT LIMITED
        159       GKI KOREA MANAGEMENT LIMITED
        160       GLOBAL KOREA INVESTMENTS LTD
        161       GLOBAL TAIWAN INVESTMENTS LTD
        162       GLOBAL THAI PROPERTY FUND
        163       GRA FINANCE CORPORATION LTD.
        164       HOLLYHOCK YK
        165       HONG KONG TRUST NO. 1
        166       IVANHOE LANE PTY LTD
        167       JAPAN REAL ESTATE INVESTMENT PARTNERSHIP INC.
        168       JAPAN TK INVESTOR I (CAYMAN) HOLDINGS INC.
        169       JASMINE Y.K.
        170       KENILWORTH INVESTMENTS 1 LTD
        171       KENILWORTH INVESTMENTS 2 LTD
        172       KINGFISHER CAPITAL CDO LTD
        173       L.B.A. YK
        174       LAMCO Services Ltd
        175       LB ALPHA FINANCE CAYMAN LIMITED
        176       LB BETA FINANCE CAYMAN LIMITED
        177       LB CANADA SKYPOWER
        178       LB DAME LP S.ÀR.L.

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        179       LB DAME S.ÀR.L.
        180       LB FINANCE JAPAN HEAD OFFICE
        181       LB FUNDING BV
        182       LB HONG KONG FUNDING TRUST
        183       LB INDIA HOLDINGS MAURITIUS I LTD
        184       LB INDIA HOLDINGS MAURITIUS II LTD
        No.                                  Company Name
        185       LB INVESTMENT MGMT COMPANY LTD (f/k/a LB INDIA HOLDINGS
                  CAYMAN II LIMITED)
        186       LB INVESTMENTS (UK) LTD
        187       LB LUX RE HOLDINGS S.A.R.L
        188       LB MAURITIUS I LTD.
        189       LB OFFSHORE PARTNERS II LTD.
        190       LB OFFSHORE PARTNERS LTD
        191       LB OFFSHORE RE MEZZANINE ASSOC,LTD.
        192       LB OPPORTUNITY HOLDING INC
        193       LB RE FINANCING NO.1 LIMITED
        194       LB SHELF CI IV
        195       LB VINTNERS (LUXEMBOURG) S.ÀR.L.
        196       LB VINTNERS BRIDGE (LUXEMBOURG) S.ÀR.L.
        197       LB3 GMBH
        198       LBD YK
        199       LBE YK
        200       LBHK FUNDING (CAYMAN) NO. 1 LIMITED
        201       LBHK FUNDING (CAYMAN) NO. 2 LIMITED
        202       LBHK FUNDING (CAYMAN) NO. 4 LIMITED
        203       LBMB ASSOCIATES IV (EUROPE) S.A.R.L
        204       LBMB EUROPE MGMT CORP SARL
        205       LBO FUNDING (CAYMAN) LIMITED
        206       LBQ FUNDING (CAYMAN) LIMITED
        207       LBQ HONG KONG SERVICES LIMITED
        208       LBREP GAITHERSBURG HOLDINGS LLC
        209       LBS HOLDINGS SARL
        210       LBSP HOLDING (IRLAND) PUBLIC LTD
        211       LBSP LIMITED
        212       LCPI DHS (f/k/a LB SHELF II, INC.)
        213       LEHMAN BROTHERS (CAYMAN ISLANDS) LTD.
        214       LEHMAN BROTHERS (THAILAND) LIMITED PCO-NEWTHB
        215       LEHMAN BROTHERS ASEAN OPPORTUNITY LTD


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        216       LEHMAN BROTHERS ASIA ISSUANCE CO LTD
        217       LEHMAN BROTHERS AUSTRALIA SECURITIES PTY LIMITED
        218       LEHMAN BROTHERS CAPITAL (THAILAND) LIMITED
        219       LEHMAN BROTHERS CDO ASSOCIATES (CAYMAN) II, LTD
        220       LEHMAN BROTHERS CDO ASSOCIATES (CAYMAN), LTD
        221       Lehman Brothers Global Services Ltd.
        No.                                    Company Name
        222       LEHMAN BROTHERS HK OLYMPUS FUNDING TRUST
        223       LEHMAN BROTHERS HOLDINGS SCOTTISH LP
        224       LEHMAN BROTHERS HOLDINGS SCOTTISH LP2
        225       LEHMAN BROTHERS HOLDINGS SCOTTISH LP3
        226       LEHMAN BROTHERS HOLDINGS, INC. UK BRANCH
        227       LEHMAN BROTHERS HY OPPORTUNITIES KOREA INC.
        228       Lehman Brothers Investments Japan Inc.
        229       LEHMAN BROTHERS LATIN AMERICA LIMITED
        230       LEHMAN BROTHERS OFFSHORE COMMUNICATIONS ASSOCIATES
                  LTD.
        231       LEHMAN BROTHERS OFFSHORE REAL ESTATE ASSOCIATES II LTD.
        232       LEHMAN BROTHERS OFFSHORE REAL ESTATE ASSOCIATES LTD
        233       LEHMAN BROTHERS OPPORTUNITY LTD.
        234       LEHMAN BROTHERS PACIFIC SERVICES
        235       LEHMAN BROTHERS SOUTH EAST ASIA INVESTMENTS PTE LIMITED
        236       LEHMAN BROTHERS UK INVESTMENTS LTD
        237       LEHMAN RISK SERVICES (BERMUDA) LTD.
        238       LEHMAN SCOTTISH FINANCE LP
        239       LEHMAN VIP INVESTMENT LDC
        240       LUXEMBOURG FINANCE S.A.R.L.
        241       LUXEMBOURG RESIDENTIAL PROPERTIES LOAN FINANCE SARL
        242       M&L DEBT INVESTMENTS HOLDINGS PTY
        243       M&L DEBT INVESTMENTS PTY LIMITED
        244       MAEWHA K-STARS LTD
        245       MARLIN INTERNATIONAL Y.K.
        246       MEISHO ESTATE Y.K
        247       MICT LIMITED
        248       NOVACORP REALTY/GP INC.
        249       OPAL FINANCE HOLDINGS IRELAND LIMITED
        250       PHUKET HOTEL 3 HOLDING COMPANY LIMITED
        251       REVIVAL HOLDINGS LIMITED
        252       SATURN INVESTMENT INC


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        253       SERAFINO INVESTMENTS PTY LTD
        254       SOGKI DEVELOPMENT INC.
        255       SOGKI INC.
        256       SOGKI MANAGEMENT INC
        257       SOGTI INC.
        258       SOR INVESTOR I INC
        No.                                Company Name
        259       SOR INVESTORS IV INC
        260       SOUTHWESTERN FIRST CAPITAL LLC
        261       TAHOE Y.K.
        262       TCP CAP VI GP (EUROPE) L.P. INC.
        263       TMIC LIMITED
        264       VINTNERS BIDCO S.C.A.
        265       VINTNERS S.ÀR.L.
        266       Y.K. SAPPHIRE INVESTMENT I
        267       YELLOWTAIL INTERNATIONAL Y.K.
        268       YK DUCKHORN




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                                            EXHIBIT D

                      INSTITUTIONAL INVESTOR REQUEST LETTER



                                                                                   Robert J. Madden
                                                                            rmadden@gibbsbruns.com
                                                                                      713.751.5266




 Via Email and Federal Express

 March ____, 2017

 Franklin H. Top III                                 M. William Munno
 Scott A. Lewis                                      Daniel E. Guzmán
 CHAPMAN AND CUTLER LLP                              SEWARD & KISSEL LLP
 111 West Monroe Street                              One Battery Park Plaza
 Chicago, Illinois 60603                             New York, New York 10004

 Michael S. Kraut                                    Counsel for Law Debenture Trust Company of
 MORGAN, LEWIS & BOCKIUS LLP                         New York, solely in its capacity as Separate
 101 Park Ave.                                       Trustee for Certain Mortgage-Backed
 New York, New York 10178                            Securities Trusts

 Counsel for U.S. Bank National Association,
 solely in its capacity as Indenture Trustee for
 Certain Mortgage-Backed Securities Trusts

 John C. Weitnauer                                   Dennis Drebsky
 ALSTON & BIRD LLP                                   NIXON PEABODY LLP
 1201 West Peachtree Street                          437 Madison Avenue
 Atlanta, Georgia 30309                              New York, New York 10022

 Counsel for Wilmington Trust Company and            Counsel for Deutsche Bank National Trust
 Wilmington Trust, National Association, each        Company, solely in its capacity as Trustee for
 solely in its capacity as Trustee for Certain       Certain Mortgage-Backed Securities Trusts
 Mortgage-Backed Securities Trusts


          Re:     Binding Settlement Offer from Lehman to Trustees of RMBS Trusts

 Dear Counsel:



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         This firm represents 14 large institutional investors who collectively are holders, and/or
 authorized investment managers for holders, of approximately $6 billion of the unpaid principal
 balance of securities (“UPB”) issued by the RMBS Trusts listed on Exhibit “A” to the attached
 RMBS Trust Settlement Agreement (the “Trusts”). Our clients’ holdings include 25% or more
 of the UPB of 69 of the Trusts, which Trusts account for approximately 35% of the total UPB
 across all of the Trusts.

         Our clients have engaged in extensive, mediated negotiations with representatives of the
 LBHI estate in an effort to reach a proposed settlement, that our clients would be willing to
 recommend, of the claims set forth in the Proofs of Claim filed by your clients on behalf of the
 Trusts.

        We understand the LBHI debtors have advised you of the terms of a binding offer they
 have agreed to make to the Trustees to settle these claims. A copy of that binding offer is
 enclosed with this correspondence for your review.

         Our clients have advocated settlement in this matter for some time, in no small part
 because of the significant expense that has been imposed on the Trusts by virtue of the Court-
 ordered Protocol. Though those earlier efforts did not lead to a settlement the Trustees were able
 to accept, this offer is one the Trustees certainly should accept. It virtually ensures the Trusts
 claims will be allowed in an amount no less than $2.416 billion, because Lehman has agreed to
 seek estimation at that amount. In addition, while setting a functional floor on the recovery, the
 offer establishes no ceiling; instead, the Trustees are free to put on whatever proof they wish, to
 advocate for an increased estimation if they possess evidence they believe warrants it. And,
 finally, by making the estimation final as to both the Trusts and Lehman, it ends both the
 hemorrhage of dollars caused by the protocol and eliminates the risk--through elimination of any
 appeals--that this hemorrhage of funds will resume. In short, there is no reasonable basis on
 which the Trustees could or should refuse this guarantee of a certain recovery of more than a $1
 billion in cash, with the opportunity to obtain more.

         Accordingly, on behalf of our clients, we ask each of the Trustees to exercise their
 independent business judgment to accept the settlement on the Trusts’ behalf. Though this is not
 a binding instruction from our clients, all of our clients believe the settlement is in the best
 interests of all of the Trusts included in the settlement, so they urge the Trustees to accept it.

                                              Very truly yours,


                                              _____________________________________
                                              Robert Madden
                                              On behalf of the Institutional Investors

 Cc:

 AEGON USA Investment Management, LLC,
 BlackRock Financial Management, Inc.,


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 Cascade Investment, L.L.C.,
 Federal Home Loan Bank of Atlanta,
 Goldman Sachs Asset Management, L.P.,
 Invesco Advisers, Inc.,
 Kore Advisors, L.P.,
 Metropolitan Life Insurance Company,
 Pacific Investment Management Company, LLC,
 Sealink Designated Activity Company, through its investment manager
         Neuberger Berman Europe Limited
 The TCW Group, Inc., on behalf of itself and its subsidiaries
 Thrivent Financial for Lutherans,
 Voya Investment Management LLC, and
 Western Asset Management Company.




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                                          EXHIBIT E

                     THE INSTITUTIONAL INVESTOR STATEMENT


 The “Institutional Investors” are AEGON USA Investment Management, LLC, BlackRock
 Financial Management, Inc., Cascade Investment, L.L.C., Federal Home Loan Bank of Atlanta,
 Goldman Sachs Asset Management, L.P., Invesco Advisers, Inc., Kore Advisors, L.P.,
 Metropolitan Life Insurance Company, Pacific Investment Management Company, LLC, Sealink
 Designated Activity Company, through its investment manager Neuberger Berman Europe
 Limited, The TCW Group, Inc., on behalf of itself and its subsidiaries, Thrivent Financial for
 Lutherans, Voya Investment Management LLC, and Western Asset Management Company. The
 Institutional Investors are holders, and/or authorized investment managers for holders, of
 approximately $6 billion in certificates in 195 of the trusts for whose benefit the Covered Loan
 Claims are being pursued.

        The Institutional Investors have previously agreed that a settlement of the Covered Loan
 Claims for an allowed Class 7 General Unsecured Claim of $2.416 billion was fair and
 reasonable, and have supported a settlement of the claims at that amount. The Institutional
 Investors continue to believe, today, that a settlement at that amount is fair and reasonable.
 Therefore, the Institutional Investors support Lehman’s request that the Bankruptcy Court
 estimate the Claims so long as the amount estimated is not below an allowed Class 7 General
 Unsecured Claim of $2.416 billion.




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                                             EXHIBIT F

                                        TRUSTEE FINDINGS


  1. This Court has jurisdiction to hear this motion and adjudicate the Motion.


  2. Certificateholders, noteholders, and any other parties claiming rights in any Accepting
     Trust have been provided with notice that was reasonable, adequate, and was the best
     notice practicable, was reasonably calculated to put interested parties on notice of this
     Motion, and constitutes due and sufficient notice of this Motion in satisfaction of
     federal and state due process requirements and other applicable law. All such persons
     have been given the opportunity to be heard in opposition to the Motion.


  3. Any objections that were raised or that could have been raised in opposition to the
     Motion, that have not been withdrawn or resolved, are overruled and/or waived.


  4. Each of the Accepting Trustees acted within the bounds of its discretion, reasonably,
     and in good faith with respect to its evaluation and acceptance of the Trust Settlement
     Agreement dated as of November 30, 2016 and modified as of March 17, 2017 (the
     “Settlement Agreement”) concerning the applicable Accepting Trust(s).




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                                              EXHIBIT G

          I.      CLAIMS AND DEFENSES TO BE TRIED

                  a. The Plan Administrator’s Position Statement

                  The RMBS Trustees allege that LBHI: (i) breached certain representations and
                  warranties regarding the quality and characteristics of certain mortgage loans, or
                  (ii) provided deficient mortgage loan files to the RMBS Trusts, when they sold
                  loans into certain residential mortgage-backed securitization trusts. LBHI will
                  ask the Bankruptcy Court to estimate the claims related to those mortgage loans
                  that have not already been disallowed or expunged from the RMBS Trustees’
                  proofs of claim, in particular those loans that have been placed into the RMBS
                  Protocol by the RMBS Trustees. The loan-by-loan analysis conducted by the
                  Plan Administrator through steps 1 and 2 of the RMBS Protocol and additional
                  evidence will provide various bases upon which the Court can make a realistic
                  assessment of the outcome of the RMBS Trustees’ claims, without the undue
                  delay that would likely occur if the Parties were to adjudicate these claims in their
                  entirety.

                  b. The RMBS Trustees’ Position Statement

                  The following claims will be estimated: claims arising out of alleged breaches of
                  representations and warranties made by the LBHI Debtors in applicable Trust
                  Agreements, Assignment and Assumption Agreements, Indentures, Mortgage
                  Loan Sale and Assignment Agreements and/or other agreements governing or
                  related to the Trust and Terminated Trusts (the “Governing Agreements”)
                  concerning Mortgage Loans in the residential mortgage-backed securitizations
                  identified on Exhibit A (the “Trusts”). The RMBS Trustees allege that the LBHI
                  Debtors breached one or more of their representations and warranties under the
                  Governing Agreements with respect to certain loans in the RMBS Trusts in a
                  manner that materially and adversely affected the value of the loans or
                  certificateholders’ interests in the loans. The RMBS Trustees intend to
                  demonstrate that the LBHI Debtors breached their representations and warranties
                  with respect to over 91,000 loans through evidence derived from the RMBS
                  Trustees’ loan-by-loan review and presented to the LBHI Debtors as required by
                  the RMBS Protocol; and the absence of any legally or factually supported bases
                  proffered by the Plan Administrator during the RMBS Protocol for the rejection
                  of the Trustees’ claims.

          II.     NATURE AND LENGTH OF THE HEARING

                  The Parties agree that their claims and defenses will be determined at an
                  estimation hearing that the parties will jointly request the court schedule no earlier




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                   than Monday, October 16, 2017 (the “Hearing”).1 The Hearing shall be
                   conducted in accordance with the procedures set forth herein.

                   The Parties agree that the Hearing shall be scheduled for at least 14 hearing days,
                   or a total of 98 hours, on the record. The LBHI Debtors will be allotted 7 days (or
                   a total of 49 hours) to present their case, including rebuttals, and 7 days (or a total
                   of 49 hours) will be allotted to the RMBS Trustees. Each Party’s allotted time
                   will run during its (i) opening and closing statements and (ii) direct or cross
                   examination of any witness. Either side is free to use less than its allotted time.
                   The scheduling of the dates on which the Hearing shall be conducted shall be at
                   the discretion of the Court.

                   Each side shall be allowed to present opening statements of up to two hours in
                   length and closing statements of up to two hours in length. Each Party will be
                   able to reserve and reallocate its time for opening and closing statements.

          III.     TIMING AND CONTENT OF EXPERT REPORTS, AND EXPERT
                   DISCOVERY

                   The Parties agree to pre-Hearing expert discovery pursuant to the following
                   schedule:


                    Parties disclose the identity and           Wednesday, May 10, 2017
                    subject matter of Experts then
                    expected to provide Affirmative
                    Reports, and Lehman to identify
                    such settlements that it intends
                    to use in its Expert Reports

                    Simultaneous exchange of                    Thursday, -XQH, 2017
                    Affirmative Reports, and the
                    Parties to identify exemplar
                    loans to be used in their case-in-
                    chief

                    Simultaneous exchange of                    Friday, July 14, 2017
                    Rebuttal Reports, the Parties to
                    identify exemplar loans to be
                    used by their rebuttal experts,
                    and the RMBS Trustees to
                    identify such settlements that
                    they intend to use in their Expert

 1
   Should the date of the Hearing in this section be moved to a later date, the Parties will meet and confer in good
 faith to negotiate appropriate modifications of the dates set forth in Section III of this agreement.


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                    Reports

                    Simultaneous exchange of Reply Monday, August 21, 2017
                    Reports with any additional
                    exemplar loans.2

                    Completion of Expert                        Thursday, September 21, 2017
                    Depositions


                    Expert Reports. Each expert witness must provide a signed written report that
                    contains:

                         i. a complete statement of the opinions the witness is expected to express
                            and the basis for such opinions;
                        ii. the facts or data relied upon by the witness in forming any such opinions
                            and, to the extent the witness’ opinions include or rely upon the results of
                            any quantitative calculations or estimates, the underlying data and all
                            formulae, macros and any other information necessary to allow the
                            opposing party to reproduce such quantitative calculations or estimates3;
                      iii. any assumptions that the expert was provided and relied upon in forming
                            the opinions to be expressed;
                       iv. any exhibits prepared in connection with the written report;
                        v. the witness’s qualifications, including a list of all publications authored in
                            the previous 10 years;
                       vi. a list of all other cases in which, during the previous 4 years, the witness
                            testified as an expert at trial or by deposition; and
                      vii. a statement of the compensation to be paid in connection with the case.

                    Information Excluded from Disclosure. The Parties shall not be required to
                    disclose and no witness may be examined regarding (i) drafts of any report,
                    calculation, analysis or estimate, regardless of the form in which the draft is
                    recorded; (ii) other notes or writing taken or prepared by or for the testifying
                    expert; or (iii) communications involving any expert witness regardless of the
                    form of the communications, including but not limited to any communication
                    between (x) any expert witness and the Parties’ attorneys, (y) any expert witness
                    and the witness’s staff, and (z) communications between testifying experts and
                    consulting experts. Additionally, there shall be no disclosure of materials
                    prepared by or for consulting experts. The Parties further agree that the provision
                    of any materials to an expert witness and/or the witness’s staff shall not



 2
  Any reply shall be limited to addressing materials, opinions or arguments raised in rebuttal reports.
 3
  To the extent any such data, calculations or estimates are in the form of or rely upon computer data files, the
 witness shall produce all such data files, in the electronic format used by the witness, and sufficient documentation
 or explanation to enable one reasonably skilled in the art to understand and use such data files.

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                  constitute a subject matter waiver of the attorney client privilege or any other
                  privilege or protection.
          IV.     PRE-TRIAL BRIEFS AND SUBMISSIONS

                  All pending motions concerning the Covered Loans and RMBS Protocol are
                  deemed withdrawn. Each of the Parties shall submit a single pre-trial brief
                  addressing reasonably anticipated disputes concerning substantive law no less
                  than 15 days prior to the Hearing. Each of the pre-trial briefs shall be no longer
                  than 50 pages in length. The pre-trial brief shall be the only pre-hearing brief or
                  submission submitted by the Parties with respect to disputes concerning
                  substantive law. For the avoidance of doubt, nothing in this agreement shall
                  prejudice the right of any Party to make, in connection with the Hearing,
                  arguments or challenges based on the sufficiency, completeness or timeliness of
                  materials, loan files, or documentation submitted by any Party under the Protocol
                  or arguments or challenges based on compliance with the requirements of the
                  Protocol by any Party, including but not limited to any arguments made by any
                  Party in connection with Lehman’s Second Objection to Certain RMBS Trust
                  Claims and Motion to Disallow and Expunge Certain RMBS Trust Claims for
                  Insufficient Documentation [Doc. No. 53620].

          V.      WITNESSES

                  No less than 75 days prior to the Hearing, the Parties shall submit a preliminary
                  list of the witnesses that they may present at the Hearing. Each Party shall make a
                  good-faith effort to include on its preliminary witness list all of the individuals
                  (and only those individuals) that the Party believes it will present at the Hearing.
                  No less than 45 days prior to the Hearing the Parties shall submit final witness
                  lists of those individuals they expect to call at the Hearing.

                  Direct testimony of witnesses may be presented by written declaration, which
                  shall be provided by Lehman no less than 30 days before the hearing, and shall be
                  provided by the RMBS Trustees no less than 15 days prior to the Hearing.
                  Notwithstanding the foregoing, the Parties shall each be permitted to present
                  direct testimony of any witness at the Hearing. Depositions of fact witnesses, if
                  any, shall be completed at least 15 days prior to the Hearing. In addition to
                  hearing witnesses, the Parties shall also each be entitled to take the deposition of
                  up to three fact witnesses. Such depositions shall be completed no later than 15
                  days before the hearing date.

                  For the removal of doubt, both the Trustees and Lehman shall be permitted to
                  depose any witness identified by the other side as a Hearing witness. Should
                  either side wish to add a witness based on developments during the Hearing, that
                  Party shall provide sufficient advance notice such that the other Party will have
                  the opportunity to depose that witness before he/she testifies at the Hearing. Each
                  Party reserves all objections to the designation of any person as a witness or
                  deponent.


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          VI.     EXHIBITS

                  On the dates set forth in Section III, the Parties shall identify for one another, by
                  Loan Number, any specific loans that they intend to introduce as exemplar loans
                  in their cases-in-chief at the Hearing. The Parties reserve the right to request that
                  they be allowed to introduce additional exemplar loans, however, the other Party
                  shall have the right to move to exclude such exemplar loans.

                  No less than 30 days prior to the Hearing, the Parties shall exchange lists of
                  exhibits (not including demonstratives or exemplar loans, which is addressed
                  above) that they expect to be offered in their cases-in-chief. The parties will
                  cooperate in good faith to create a Bates Numbered set of all documents that will
                  be offered as trial exhibits. The Parties may supplement their exhibit lists before
                  and during the Hearing if, in good faith, it is necessary to do so.

                  If a Party objects to the other Party’s proposed use of any testimony or exhibits,
                  that Party shall provide prompt notice to the other Party no later than 10 days
                  prior to the Hearing, or in the case of later added exhibits, promptly after the
                  exhibits are identified, and the Parties shall promptly attempt to resolve the
                  objection.

          VII.    EVIDENCE

                  The Parties may offer into evidence before the Court, at the Hearing, without
                  objection by any Party:

                  (i)     the RMBS Trust Settlement Agreements entered into by and between the
                          LBHI Debtors and the Institutional Investors on October 26, 2015 and
                          November 29, 2016;

                  (ii)    materials concerning other settlement agreements in disputes involving
                          residential mortgage-backed securities. Each Party will identify within 15
                          days of the execution by LBHI and the Institutional Investors of the
                          Settlement Agreement to which this Exhibit G is appended, a preliminary
                          list of those settlements that it wishes to admit into evidence;

                  (iii)   the Institutional Investor Statement attached as Exhibit [ ] to the
                          Settlement Agreement;

                  (iv)    the RMBS Claim Files, as defined in the Protocol Order;

                  (v)     the loan origination and servicing files for each of the loans as to which
                          the RMBS Trustees assert a claim;

                  (vi)    the RMBS Claim, as defined in the Protocol, for each such claim;

                  (vii)   the Claim Tracking Spreadsheet, as defined in the Protocol;


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                  (viii) the Approved Claims Report, as defined in the Protocol;

                  (ix)    the Rejected Claims Report, as defined in the Protocol;

                  (x)     any disputed Approved Claims, as referenced in the Protocol;

                  (xi)    Rejected Claim File rebuttals, as referenced in the Protocol;

                  (xii)   the Plan Administrator’s Statement, as defined in the Protocol;

                  (xiii) any other materials exchanged between the Parties (including but not
                         limited to the Nationstar and Intex datatapes in support of the Purchase
                         Price) during the Protocol;

                  (xiv)   the Governing Agreements related to the Trusts; and

                  (xv)    the holdings of the Institutional Investors, which shall be updated and
                          certified by the Institutional Investors as of the first day of the Estimation
                          Hearing.

                  For the avoidance of doubt, items (iv)-(xiii) above are intended to refer to
                  materials exchanged during the Protocol and the agreement herein extends only to
                  materials that were, in fact, so exchanged by the Parties.

                  With respect to the foregoing categories or documents, while the Parties agree
                  that such documents will be admitted into evidence, they reserve all rights to
                  present arguments as to reliability, competency, weight, relevance, timeliness or
                  any other arguments concerning the Court’s consideration of such evidence. In
                  addition, the Parties reserve all rights to seek to introduce additional evidence at
                  the Hearing.




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                                      EXHIBIT H

                              ALLOCATION PERCENTAGES




                                                            Initial
                              Trust Name /
              Trustee                                       Allocated
                              Loan Group
                                                            Percentage
              Deutsche Bank   SAIL 2004-1 / 1                 0.004308%
              Deutsche Bank   SAIL 2004-1 / 2                 0.001292%
              Law Debenture   ARC 2002-BC10 / 1               0.000000%
              Law Debenture   ARC 2002-BC10 / 2               0.001084%
              Law Debenture   ARC 2002-BC10 / 3               0.001060%
              Law Debenture   ARC 2002-BC8 / 1                0.008188%
              Law Debenture   ARC 2002-BC8 / 2                0.000561%
              Law Debenture   ARC 2002-BC9 / 1                0.000000%
              Law Debenture   ARC 2002-BC9 / 2                0.000169%
              Law Debenture   BNC 2007-4 / 1                  0.598969%
              Law Debenture   BNC 2007-4 / 2                  0.319296%
              Law Debenture   LABS 2007-1 / 1                 0.213542%
              Law Debenture   LABS 2007-1 / 2                 0.665016%
              Law Debenture   LMT 2006-9 / 1                  0.007225%
              Law Debenture   LMT 2006-9 / 2                  0.142322%
              Law Debenture   LMT 2006-9 / 3                  0.059861%
              Law Debenture   LMT 2007-1 / 1                  0.104230%
              Law Debenture   LMT 2007-1 / 2                  0.015085%
              Law Debenture   LMT 2007-1 / 3                  0.051720%
              Law Debenture   LMT 2007-4 / 1                  0.081740%
              Law Debenture   LMT 2007-4 / 2                  0.179616%
              Law Debenture   LMT 2007-4 / 3                  0.030551%
              Law Debenture   LMT 2007-4 / 4                  0.030503%
              Law Debenture   LMT 2007-4 / 5                  0.007382%
              Law Debenture   LMT 2007-5 / 1                  0.068732%
              Law Debenture   LMT 2007-5 / 2                  0.000000%
              Law Debenture   LMT 2007-5 / 3                  0.207011%
              Law Debenture   LMT 2007-5 / 4                  0.082310%
              Law Debenture   LMT 2007-9 / 1                  0.082662%
              Law Debenture   LMT 2007-9 / 2                  0.000000%
              Law Debenture   LMT 2008-2 / 1                  0.139862%


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              Law Debenture   LMT 2008-6 / 1                  0.034315%
              Law Debenture   LMT 2008-6 / 2                  0.015777%
              Law Debenture   SAIL 2003-BC12 / 1              0.000000%
              Law Debenture   SAIL 2003-BC12 / 2              0.001352%
              Law Debenture   SAIL 2003-BC12 / 3              0.000000%
              Law Debenture   SAIL 2003-BC3 / 1               0.000000%
              Law Debenture   SAIL 2003-BC3 / 2               0.002550%
              Law Debenture   SAIL 2003-BC4 / 1               0.000000%
              Law Debenture   SAIL 2003-BC4 / 2               0.002132%
              Law Debenture   SARM 2004-10 / 1                0.049816%
              Law Debenture   SARM 2004-10 / 2                0.041340%
              Law Debenture   SARM 2004-10 / 3                0.069912%
              Law Debenture   SARM 2004-10 / 4                0.005914%
              Law Debenture   SARM 2004-16 / 1                0.081050%
              Law Debenture   SARM 2004-16 / 2                0.025806%
              Law Debenture   SARM 2004-16 / 3                0.071327%
              Law Debenture   SARM 2004-16 / 4                0.006938%
              Law Debenture   SARM 2004-16 / 5                0.006614%
              Law Debenture   SARM 2004-16 / 6                0.024738%
              Law Debenture   SARM 2004-18 / 1                0.076254%
              Law Debenture   SARM 2004-18 / 2                0.033334%
              Law Debenture   SARM 2004-18 / 3                0.068914%
              Law Debenture   SARM 2004-18 / 4                0.011927%
              Law Debenture   SARM 2004-18 / 5                0.000184%
              Law Debenture   SARM 2004-20 / 1                0.092546%
              Law Debenture   SARM 2004-20 / 2                0.046727%
              Law Debenture   SARM 2004-20 / 3                0.020287%
              Law Debenture   SARM 2004-20 / 4                0.002601%
              Law Debenture   SARM 2004-20 / 5                0.001475%
              Law Debenture   SARM 2004-5 / 1                 0.004269%
              Law Debenture   SARM 2004-5 / 2                 0.017610%
              Law Debenture   SARM 2004-5 / 3                 0.035427%
              Law Debenture   SARM 2004-5 / 4                 0.002673%
              Law Debenture   SARM 2004-5 / 5                 0.001785%
              Law Debenture   SARM 2004-9XS / 1               0.010376%
              Law Debenture   SARM 2005-11 / 1                0.046958%
              Law Debenture   SARM 2005-11 / 2                0.020525%
              Law Debenture   SARM 2005-11 / 3                0.029317%
              Law Debenture   SARM 2005-11 / 4                0.002855%


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              Law Debenture   SARM 2005-11 / 5                0.002325%
              Law Debenture   SARM 2005-12 / 1                0.065902%
              Law Debenture   SARM 2005-12 / 2                0.029879%
              Law Debenture   SARM 2005-12 / 3                0.041953%
              Law Debenture   SARM 2005-12 / 4                0.024114%
              Law Debenture   SARM 2005-12 / 5                0.012730%
              Law Debenture   SARM 2005-12 / 6                0.000000%
              Law Debenture   SARM 2005-15 / 1                0.058291%
              Law Debenture   SARM 2005-15 / 2                0.005084%
              Law Debenture   SARM 2005-15 / 3                0.009176%
              Law Debenture   SARM 2005-15 / 4                0.000000%
              Law Debenture   SARM 2005-15 / 5                0.000000%
              Law Debenture   SARM 2005-17 / 1                0.010736%
              Law Debenture   SARM 2005-17 / 2                0.030931%
              Law Debenture   SARM 2005-17 / 3                0.141143%
              Law Debenture   SARM 2005-17 / 4                0.000000%
              Law Debenture   SARM 2005-17 / 5                0.040697%
              Law Debenture   SARM 2005-17 / 6                0.000000%
              Law Debenture   SARM 2005-20 / 1                0.006759%
              Law Debenture   SARM 2005-20 / 2                0.158112%
              Law Debenture   SARM 2005-20 / 3                0.021248%
              Law Debenture   SARM 2005-20 / 4                0.057642%
              Law Debenture   SARM 2007-1 / 1                 0.488971%
              Law Debenture   SARM 2007-1 / 2                 0.039373%
              Law Debenture   SARM 2007-11 / 1                0.400153%
              Law Debenture   SARM 2007-11 / 2                0.124982%
              Law Debenture   SARM 2007-11 / 3                0.155263%
              Law Debenture   SARM 2007-2 / 1                 0.568272%
              Law Debenture   SARM 2007-2 / 2                 0.048575%
              Law Debenture   SARM 2007-3 / 1                 0.538650%
              Law Debenture   SARM 2007-3 / 2                 0.004111%
              Law Debenture   SARM 2007-3 / 3                 0.013387%
              Law Debenture   SARM 2007-3 / 4                 0.000000%
              Law Debenture   SARM 2007-4 / 1                 0.837854%
              Law Debenture   SARM 2007-6 / 1                 0.254836%
              Law Debenture   SARM 2007-6 / 2                 0.477651%
              Law Debenture   SARM 2007-6 / 3                 0.227329%
              Law Debenture   SASCO 2003-15A / 1              0.002203%
              Law Debenture   SASCO 2003-15A / 2              0.004188%


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              Law Debenture   SASCO 2003-15A / 3              0.000917%
              Law Debenture   SASCO 2003-15A / 4              0.000000%
              Law Debenture   SASCO 2003-17A / 1              0.011847%
              Law Debenture   SASCO 2003-17A / 2              0.010668%
              Law Debenture   SASCO 2003-17A / 3              0.000000%
              Law Debenture   SASCO 2003-17A / 4              0.000598%
              Law Debenture   SASCO 2003-26A / 1              0.001135%
              Law Debenture   SASCO 2003-26A / 2              0.000000%
              Law Debenture   SASCO 2003-26A / 3              0.037971%
              Law Debenture   SASCO 2003-26A / 4              0.000000%
              Law Debenture   SASCO 2003-26A / 5              0.000000%
              Law Debenture   SASCO 2003-26A / 6              0.001571%
              Law Debenture   SASCO 2003-26A / 7              0.000365%
              Law Debenture   SASCO 2003-34A / 1              0.004542%
              Law Debenture   SASCO 2003-34A / 2              0.003370%
              Law Debenture   SASCO 2003-34A / 3              0.010398%
              Law Debenture   SASCO 2003-34A / 4              0.000633%
              Law Debenture   SASCO 2003-34A / 5              0.029231%
              Law Debenture   SASCO 2003-34A / 6              0.005114%
              Law Debenture   SASCO 2003-6A / 1               0.000347%
              Law Debenture   SASCO 2003-6A / 2               0.001655%
              Law Debenture   SASCO 2003-6A / 3               0.002655%
              Law Debenture   SASCO 2003-6A / 4               0.001979%
              Law Debenture   SASCO 2003-S2 / 1               0.004955%
              Law Debenture   SASCO 2005-S6 / 1               0.579689%
              Law Debenture   SASCO 2005-S7 / 1               0.365128%
              Law Debenture   SASCO 2005-S7 / 2               0.455817%
              Law Debenture   SASCO 2007-BC1 / 1              1.057679%
              Law Debenture   SASCO 2007-BC1 / 2              0.982354%
              Law Debenture   SASCO 2007-MLN1 / 1             0.944060%
              Law Debenture   SASCO 2007-MLN1 / 2             1.324885%
              Law Debenture   SASCO 2007-OSI / 1              1.052390%
              Law Debenture   SASCO 2007-OSI / 2              1.196287%
              US Bank         ARC 2004-1 / 1                  0.000000%
              US Bank         ARC 2004-1 / 2                  0.000000%
              US Bank         BNC 2006-1 / 1                  0.634371%
              US Bank         BNC 2006-1 / 2                  0.595645%
              US Bank         BNC 2006-2 / 1                  0.203133%
              US Bank         BNC 2006-2 / 2                  0.735519%


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                                                               EXECUTION VERSION


              US Bank         BNC 2007-1 / 1                  0.987162%
              US Bank         BNC 2007-1 / 2                  0.886811%
              US Bank         BNC 2007-2 / 1                  1.137371%
              US Bank         BNC 2007-2 / 2                  1.028894%
              US Bank         LABS 2004-1 / 1                 0.007673%
              US Bank         LABS 2004-1 / 2                 0.008799%
              US Bank         LMT 2005-1 / 1                  0.047402%
              US Bank         LMT 2005-1 / 2                  0.067437%
              US Bank         LMT 2005-1 / 3                  0.029578%
              US Bank         LMT 2005-1 / 4                  0.018448%
              US Bank         LMT 2005-1 / 5                  0.045656%
              US Bank         LMT 2005-1 / 6                  0.003233%
              US Bank         LMT 2005-2 / 1                  0.110091%
              US Bank         LMT 2005-2 / 2                  0.086622%
              US Bank         LMT 2005-2 / 3                  0.078927%
              US Bank         LMT 2005-2 / 4                  0.026577%
              US Bank         LMT 2005-2 / 5                  0.074712%
              US Bank         LMT 2005-3 / 1                  0.075870%
              US Bank         LMT 2005-3 / 2                  0.060637%
              US Bank         LMT 2005-3 / 3                  0.035600%
              US Bank         LMT 2005-3 / 4                  0.021575%
              US Bank         LMT 2006-2 / 1                  0.005721%
              US Bank         LMT 2006-2 / 2                  0.011030%
              US Bank         LMT 2006-2 / 3                  0.004150%
              US Bank         LMT 2006-2 / 4                  0.002940%
              US Bank         LMT 2006-8 / 1                  0.321303%
              US Bank         LMT 2007-10 / 1                 0.080406%
              US Bank         LMT 2007-10 / 2                 0.493666%
              US Bank         LMT 2007-10 / 3                 0.001068%
              US Bank         LMT 2007-2 / 1                  0.018559%
              US Bank         LMT 2007-2 / 2                  0.032447%
              US Bank         LMT 2007-2 / 3                  0.121884%
              US Bank         LMT 2007-3 / 1                  0.028116%
              US Bank         LMT 2007-6 / 1                  0.020340%
              US Bank         LMT 2007-6 / 2                  0.159604%
              US Bank         LMT 2007-7 / 1                  0.037798%
              US Bank         LMT 2007-7 / 2                  0.000697%
              US Bank         LMT 2007-7 / 3                  0.226436%
              US Bank         LMT 2007-8 / 1                  0.151236%


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              US Bank         LMT 2007-8 / 2                  0.039659%
              US Bank         LMT 2007-8 / 3                  0.350808%
              US Bank         LXS 2005-2 / 1                  0.407721%
              US Bank         LXS 2005-2 / 2                  0.067132%
              US Bank         LXS 2005-4 / 1                  0.242492%
              US Bank         LXS 2005-4 / 2                  0.189077%
              US Bank         LXS 2006-10N / 1                0.177095%
              US Bank         LXS 2006-10N / 2                0.000000%
              US Bank         LXS 2006-10N / 3                0.000000%
              US Bank         LXS 2006-11 / 1                 0.546454%
              US Bank         LXS 2006-11 / 2                 0.025908%
              US Bank         LXS 2006-12N / 1                0.068131%
              US Bank         LXS 2006-12N / 2                0.000000%
              US Bank         LXS 2006-12N / 3                0.000000%
              US Bank         LXS 2006-15 / 1                 1.087065%
              US Bank         LXS 2006-19 / 1                 1.315674%
              US Bank         LXS 2006-20 / 1                 1.191402%
              US Bank         LXS 2006-3 / 1                  0.655467%
              US Bank         LXS 2006-8 / 1                  0.396812%
              US Bank         LXS 2006-8 / 2                  0.315565%
              US Bank         LXS 2006-8 / 3                  0.350715%
              US Bank         LXS 2007-1 / 1                  1.089568%
              US Bank         LXS 2007-1 / 2                  0.244584%
              US Bank         LXS 2007-1 / 3                  0.000000%
              US Bank         LXS 2007-10H / 1                1.763647%
              US Bank         LXS 2007-10H / 2                0.386591%
              US Bank         LXS 2007-12N / 1                0.000000%
              US Bank         LXS 2007-12N / 2                0.846426%
              US Bank         LXS 2007-12N / 3                0.000000%
              US Bank         LXS 2007-14H / 1                2.649003%
              US Bank         LXS 2007-15N / 1                0.116525%
              US Bank         LXS 2007-15N / 2                0.375078%
              US Bank         LXS 2007-15N / 3                0.000000%
              US Bank         LXS 2007-15N / 4                0.000000%
              US Bank         LXS 2007-15N / 6                0.000000%
              US Bank         LXS 2007-15N / 1C               0.156605%
              US Bank         LXS 2007-16N / 1                0.139360%
              US Bank         LXS 2007-16N / 2                0.725591%
              US Bank         LXS 2007-16N / 3                0.094417%


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              US Bank         LXS 2007-16N / 4                0.000000%
              US Bank         LXS 2007-17H / 1                1.713333%
              US Bank         LXS 2007-18N / 1                0.622723%
              US Bank         LXS 2007-18N / 2                0.549264%
              US Bank         LXS 2007-20N / 1                0.868777%
              US Bank         LXS 2007-3 / 2                  0.933371%
              US Bank         LXS 2007-3 / 1A                 0.144193%
              US Bank         LXS 2007-3 / 1B                 0.620399%
              US Bank         LXS 2007-3 / 3A                 0.199179%
              US Bank         LXS 2007-3 / 3B                 0.256320%
              US Bank         LXS 2007-3 / 4A                 0.000000%
              US Bank         LXS 2007-3 / 4B                 0.084520%
              US Bank         LXS 2007-5H / 1                 0.351476%
              US Bank         LXS 2007-5H / 2                 0.408046%
              US Bank         LXS 2007-5H / 3                 0.941454%
              US Bank         LXS 2007-6 / 1                  1.656792%
              US Bank         LXS 2007-6 / 2                  0.720225%
              US Bank         LXS 2007-6 / 3                  1.128605%
              US Bank         LXS 2007-7N / 1                 0.298622%
              US Bank         LXS 2007-7N / 2                 0.149496%
              US Bank         LXS 2007-7N / 3                 0.000000%
              US Bank         LXS 2007-8H / 1                 3.215265%
              US Bank         LXS 2007-9 / 1                  0.705272%
              US Bank         LXS 2007-9 / 2                  0.000000%
              US Bank         RLT 2008-AH1 / 1                0.038943%
              US Bank         SAIL 2003-BC1 / 1               0.001775%
              US Bank         SAIL 2003-BC1 / 2               0.000000%
              US Bank         SAIL 2003-BC10 / 1              0.000000%
              US Bank         SAIL 2003-BC10 / 2              0.001061%
              US Bank         SAIL 2003-BC10 / 3              0.000316%
              US Bank         SAIL 2003-BC11 / 1              0.000923%
              US Bank         SAIL 2003-BC11 / 2              0.000000%
              US Bank         SAIL 2003-BC13 / 1              0.000000%
              US Bank         SAIL 2003-BC13 / 2              0.001758%
              US Bank         SAIL 2003-BC13 / 3              0.000000%
              US Bank         SAIL 2003-BC2 / 1               0.000000%
              US Bank         SAIL 2003-BC2 / 2               0.000308%
              US Bank         SAIL 2003-BC2 / 3               0.000000%
              US Bank         SAIL 2003-BC5 / 1               0.008841%


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              US Bank         SAIL 2003-BC5 / 2               0.000000%
              US Bank         SAIL 2003-BC8 / 1               0.000000%
              US Bank         SAIL 2003-BC8 / 2               0.000000%
              US Bank         SAIL 2003-BC8 / 3a              0.002498%
              US Bank         SAIL 2003-BC8 / 3b              0.001917%
              US Bank         SAIL 2003-BC9 / 1               0.000000%
              US Bank         SAIL 2003-BC9 / 2               0.000000%
              US Bank         SAIL 2003-BC9 / 3               0.003657%
              US Bank         SAIL 2004-10 / 1                0.000000%
              US Bank         SAIL 2004-10 / 2                0.020774%
              US Bank         SAIL 2004-10 / 3                0.009093%
              US Bank         SAIL 2004-10 / 4                0.019061%
              US Bank         SAIL 2004-2 / 1                 0.000000%
              US Bank         SAIL 2004-2 / 2                 0.004715%
              US Bank         SAIL 2004-2 / 3                 0.000000%
              US Bank         SAIL 2004-3 / 1                 0.002379%
              US Bank         SAIL 2004-3 / 2                 0.017431%
              US Bank         SAIL 2004-4 / 1                 0.000000%
              US Bank         SAIL 2004-4 / 2                 0.000000%
              US Bank         SAIL 2004-4 / 3                 0.000000%
              US Bank         SAIL 2004-5 / 1                 0.000651%
              US Bank         SAIL 2004-5 / 2                 0.000929%
              US Bank         SAIL 2004-6 / 1                 0.002381%
              US Bank         SAIL 2004-6 / 2                 0.001584%
              US Bank         SAIL 2004-8 / 1                 0.000000%
              US Bank         SAIL 2004-8 / 2                 0.002003%
              US Bank         SAIL 2004-8 / 3                 0.000000%
              US Bank         SAIL 2004-8 / 4                 0.003276%
              US Bank         SAIL 2004-8 / 5                 0.011847%
              US Bank         SAIL 2004-9 / 1                 0.000745%
              US Bank         SAIL 2004-9 / 2                 0.004372%
              US Bank         SAIL 2004-9 / 3                 0.001530%
              US Bank         SAIL 2005-1 / 1                 0.000000%
              US Bank         SAIL 2005-1 / 2                 0.018902%
              US Bank         SAIL 2005-1 / 3                 0.020621%
              US Bank         SAIL 2005-10 / 1                0.000018%
              US Bank         SAIL 2005-10 / 2                0.000000%
              US Bank         SAIL 2005-10 / 3                0.018075%
              US Bank         SAIL 2005-11 / 1                0.002021%


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              US Bank         SAIL 2005-11 / 2                0.000000%
              US Bank         SAIL 2005-11 / 3                0.025150%
              US Bank         SAIL 2005-2 / 1                 0.013629%
              US Bank         SAIL 2005-2 / 2                 0.004903%
              US Bank         SAIL 2005-3 / 1                 0.000000%
              US Bank         SAIL 2005-3 / 2                 0.010890%
              US Bank         SAIL 2005-3 / 3                 0.004563%
              US Bank         SAIL 2005-3 / 4                 0.000000%
              US Bank         SAIL 2005-4 / 1                 0.062889%
              US Bank         SAIL 2005-4 / 2                 0.052243%
              US Bank         SAIL 2005-5 / 1                 0.000000%
              US Bank         SAIL 2005-5 / 2                 0.044159%
              US Bank         SAIL 2005-5 / 3                 0.030846%
              US Bank         SAIL 2005-5 / 4                 0.027217%
              US Bank         SAIL 2005-6 / 1                 0.000000%
              US Bank         SAIL 2005-6 / 2                 0.012233%
              US Bank         SAIL 2005-6 / 3                 0.023835%
              US Bank         SAIL 2005-6 / 4                 0.048166%
              US Bank         SAIL 2005-7 / 1                 0.027160%
              US Bank         SAIL 2005-7 / 2                 0.037440%
              US Bank         SAIL 2005-8 / 1                 0.031559%
              US Bank         SAIL 2005-8 / 2                 0.055215%
              US Bank         SAIL 2005-9 / 1                 0.000000%
              US Bank         SAIL 2005-9 / 2                 0.000000%
              US Bank         SAIL 2005-9 / 3                 0.037779%
              US Bank         SAIL 2005-HE3 / 1               0.031341%
              US Bank         SAIL 2005-HE3 / 2               0.031600%
              US Bank         SAIL 2006-1 / 1                 0.020272%
              US Bank         SAIL 2006-2 / 1                 0.043225%
              US Bank         SAIL 2006-4 / 1                 0.000000%
              US Bank         SAIL 2006-4 / 2                 0.009465%
              US Bank         SAIL 2006-4 / 3                 0.016682%
              US Bank         SAIL 2006-BNC3 / 1              1.853131%
              US Bank         SAIL 2006-BNC3 / 2              1.984505%
              US Bank         SARM 2005-22 / 1                0.224487%
              US Bank         SARM 2005-22 / 2                0.088204%
              US Bank         SARM 2005-22 / 3                0.000000%
              US Bank         SARM 2005-22 / 4                0.000000%
              US Bank         SARM 2005-22 / 5                0.153723%


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                                                               EXECUTION VERSION


              US Bank         SARM 2005-23 / 1                0.152283%
              US Bank         SARM 2005-23 / 2                0.127682%
              US Bank         SARM 2005-23 / 3                0.147378%
              US Bank         SARM 2005-23 / 4                0.000000%
              US Bank         SARM 2005-6XS / 1               0.158228%
              US Bank         SARM 2005-8XS / 1               0.167643%
              US Bank         SARM 2006-1 / 1                 0.090431%
              US Bank         SARM 2006-1 / 2                 0.043361%
              US Bank         SARM 2006-1 / 3                 0.000000%
              US Bank         SARM 2006-1 / 4                 0.189958%
              US Bank         SARM 2006-1 / 5                 0.032162%
              US Bank         SARM 2006-1 / 6                 0.110819%
              US Bank         SARM 2006-1 / 7                 0.000000%
              US Bank         SARM 2006-1 / 8                 0.101616%
              US Bank         SARM 2006-10 / 1                0.000000%
              US Bank         SARM 2006-10 / 2                0.051032%
              US Bank         SARM 2006-10 / 3                0.054674%
              US Bank         SARM 2006-11 / 1                0.285091%
              US Bank         SARM 2006-11 / 2                0.052407%
              US Bank         SARM 2006-11 / 3                0.034068%
              US Bank         SARM 2006-12 / 1                0.415504%
              US Bank         SARM 2006-12 / 2                0.047158%
              US Bank         SARM 2006-2 / 1                 0.088211%
              US Bank         SARM 2006-2 / 2                 0.116346%
              US Bank         SARM 2006-2 / 3                 0.090787%
              US Bank         SARM 2006-2 / 4                 0.284508%
              US Bank         SARM 2006-2 / 5                 0.098247%
              US Bank         SARM 2006-3 / 1                 0.108397%
              US Bank         SARM 2006-3 / 2                 0.059825%
              US Bank         SARM 2006-3 / 3                 0.110221%
              US Bank         SARM 2006-3 / 4                 0.119412%
              US Bank         SARM 2006-4 / 1                 0.153813%
              US Bank         SARM 2006-4 / 2                 0.072317%
              US Bank         SARM 2006-4 / 3                 0.093587%
              US Bank         SARM 2006-4 / 4                 0.023258%
              US Bank         SARM 2006-4 / 5                 0.246539%
              US Bank         SARM 2006-4 / 6                 0.133100%
              US Bank         SARM 2006-4 / 7                 0.000000%
              US Bank         SARM 2006-5 / 1                 0.061507%


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08-13555-scc      Doc 55232   Filed 04/27/17 Entered 04/27/17 18:46:06 Main Document
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                                                               EXECUTION VERSION


              US Bank         SARM 2006-5 / 2                 0.135872%
              US Bank         SARM 2006-5 / 3                 0.190280%
              US Bank         SARM 2006-5 / 4                 0.052103%
              US Bank         SARM 2006-5 / 5                 0.094904%
              US Bank         SARM 2006-6 / 1                 0.133156%
              US Bank         SARM 2006-6 / 2                 0.188455%
              US Bank         SARM 2006-6 / 3                 0.098324%
              US Bank         SARM 2006-7 / 1                 0.021553%
              US Bank         SARM 2006-7 / 2                 0.075574%
              US Bank         SARM 2006-7 / 3                 0.147236%
              US Bank         SARM 2006-7 / 4                 0.064788%
              US Bank         SARM 2006-8 / 1                 0.000000%
              US Bank         SARM 2006-8 / 2                 0.140340%
              US Bank         SARM 2006-8 / 3                 0.000000%
              US Bank         SARM 2006-8 / 4                 0.000000%
              US Bank         SARM 2006-9 / 1                 0.121490%
              US Bank         SARM 2006-9 / 2                 0.012400%
              US Bank         SARM 2006-9 / 3                 0.050361%
              US Bank         SARM 2006-9 / 4                 0.000000%
              US Bank         SARM 2007-10 / 1                0.418956%
              US Bank         SARM 2007-10 / 2                0.352233%
              US Bank         SARM 2007-8 / 1                 0.524086%
              US Bank         SARM 2007-8 / 2                 0.233335%
              US Bank         SARM 2008-2 / 1                 0.176724%
              US Bank         SASCO 2003-25XS / 1             0.016419%
              US Bank         SASCO 2003-39EX / 1             0.034170%
              US Bank         SASCO 2003-GEL1 / 1             0.004737%
              US Bank         SASCO 2003-NP1 / 1              0.004274%
              US Bank         SASCO 2004-10 / 4               0.040548%
              US Bank         SASCO 2004-11XS / 1             0.037679%
              US Bank         SASCO 2004-11XS / 2             0.001614%
              US Bank         SASCO 2004-13 / 1               0.000000%
              US Bank         SASCO 2004-13 / 2               0.041289%
              US Bank         SASCO 2004-17XS / 1             0.028814%
              US Bank         SASCO 2004-19XS / 1             0.026352%
              US Bank         SASCO 2004-20 / 1               0.000574%
              US Bank         SASCO 2004-20 / 2               0.008173%
              US Bank         SASCO 2004-20 / 3               0.005517%
              US Bank         SASCO 2004-20 / 4               0.020767%


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              US Bank         SASCO 2004-20 / 5               0.008046%
              US Bank         SASCO 2004-20 / 6               0.000000%
              US Bank         SASCO 2004-20 / 7               0.000021%
              US Bank         SASCO 2004-20 / 8               0.008707%
              US Bank         SASCO 2004-21XS / 1             0.049709%
              US Bank         SASCO 2004-21XS / 2             0.016566%
              US Bank         SASCO 2004-2AC / 1              0.042243%
              US Bank         SASCO 2004-6XS / 1              0.025015%
              US Bank         SASCO 2004-7 / 1                0.033747%
              US Bank         SASCO 2004-7 / 2                0.001088%
              US Bank         SASCO 2004-7 / 3                0.005477%
              US Bank         SASCO 2004-9XS / 1              0.046737%
              US Bank         SASCO 2004-9XS / 2              0.009750%
              US Bank         SASCO 2004-GEL1 / 1             0.011649%
              US Bank         SASCO 2004-GEL2 / 1             0.008805%
              US Bank         SASCO 2004-GEL3 / 1             0.002683%
              US Bank         SASCO 2004-NP1 / 1              0.007823%
              US Bank         SASCO 2004-S2 / 1               0.005952%
              US Bank         SASCO 2004-S3 / 1               0.006036%
              US Bank         SASCO 2004-S3 / 2               0.013127%
              US Bank         SASCO 2004-S4 / 1               0.059859%
              US Bank         SASCO 2005-14 / 1               0.008746%
              US Bank         SASCO 2005-14 / 2               0.008792%
              US Bank         SASCO 2005-14 / 3               0.020391%
              US Bank         SASCO 2005-14 / 4               0.041388%
              US Bank         SASCO 2005-3 / 1                0.058777%
              US Bank         SASCO 2005-7XS / 1              0.071050%
              US Bank         SASCO 2005-7XS / 2              0.078792%
              US Bank         SASCO 2005-GEL2 / 1             0.010236%
              US Bank         SASCO 2005-GEL2 / 2             0.001913%
              US Bank         SASCO 2005-GEL3 / 1             0.016596%
              US Bank         SASCO 2005-GEL4 / 1             0.029040%
              US Bank         SASCO 2005-RF1 / 1              0.000040%
              US Bank         SASCO 2005-RF2 / 1              0.000869%
              US Bank         SASCO 2005-RF4 / 2              0.000913%
              US Bank         SASCO 2005-RF5 / 1              0.000212%
              US Bank         SASCO 2005-RF5 / 2              0.000000%
              US Bank         SASCO 2005-RF6 / 1              0.000017%
              US Bank         SASCO 2005-RF7 / 1              0.000682%


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              US Bank         SASCO 2005-S1 / 1               0.016985%
              US Bank         SASCO 2005-S1 / 2               0.074697%
              US Bank         SASCO 2005-S2 / 1               0.107416%
              US Bank         SASCO 2005-S3 / 1               0.232562%
              US Bank         SASCO 2005-S4 / 1               0.043521%
              US Bank         SASCO 2005-S5 / 1               0.379139%
              US Bank         SASCO 2005-SC1 / 1              0.212532%
              US Bank         SASCO 2006-BC2 / 1              0.659689%
              US Bank         SASCO 2006-BC2 / 2              0.008230%
              US Bank         SASCO 2006-BC3 / 1              0.042642%
              US Bank         SASCO 2006-BC3 / 2              0.086333%
              US Bank         SASCO 2006-BC4 / 1              0.021788%
              US Bank         SASCO 2006-BC4 / 2              0.049696%
              US Bank         SASCO 2006-BC6 / 1              0.772772%
              US Bank         SASCO 2006-BC6 / 2              0.670175%
              US Bank         SASCO 2006-GEL1 / 1             0.018225%
              US Bank         SASCO 2006-GEL2 / 1             0.008997%
              US Bank         SASCO 2006-GEL3 / 1             0.007282%
              US Bank         SASCO 2006-GEL3 / 2             0.000000%
              US Bank         SASCO 2006-GEL4 / 1             0.046913%
              US Bank         SASCO 2006-RF1 / 1              0.000000%
              US Bank         SASCO 2006-RF1 / 2              0.000000%
              US Bank         SASCO 2006-RF2 / 1              0.001991%
              US Bank         SASCO 2006-RF3 / 1              0.000480%
              US Bank         SASCO 2006-RF3 / 2              0.000000%
              US Bank         SASCO 2006-RF3 / 3              0.000398%
              US Bank         SASCO 2006-RF3 / 4              0.000000%
              US Bank         SASCO 2006-RF4 / 1              0.000000%
              US Bank         SASCO 2006-RF4 / 2              0.000225%
              US Bank         SASCO 2006-RF4 / 3              0.000000%
              US Bank         SASCO 2006-S1 / 1               1.286686%
              US Bank         SASCO 2006-Z / 1                0.125224%
              US Bank         SASCO 2006-Z / 2                0.163178%
              US Bank         SASCO 2007-BC2 / 1              0.018223%
              US Bank         SASCO 2007-BC2 / 2              0.056520%
              US Bank         SASCO 2007-BC3 / 1              0.682815%
              US Bank         SASCO 2007-BC3 / 2              0.617148%
              US Bank         SASCO 2007-BC4 / 1              1.341653%
              US Bank         SASCO 2007-BC4 / 2              1.475628%


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              US Bank            SASCO 2007-BNC1 / 1             0.950916%
              US Bank            SASCO 2007-BNC1 / 2             1.402866%
              US Bank            SASCO 2007-GEL1 / 1             0.199334%
              US Bank            SASCO 2007-GEL2 / 1             0.255981%
              US Bank            SASCO 2007-RF1 / 1              0.000000%
              US Bank            SASCO 2007-RF1 / 2              0.000000%
              US Bank            SASCO 2007-TC1 / 1              0.238499%
              Wilmington Trust   BNC 2007-3 / 1                  1.032133%
              Wilmington Trust   BNC 2007-3 / 2                  0.490340%
              Wilmington Trust   LMT 2006-1 / 1                  0.128637%
              Wilmington Trust   LMT 2006-1 / 2                  0.023404%
              Wilmington Trust   LMT 2006-1 / 3                  0.051984%
              Wilmington Trust   LMT 2006-4 / 1                  0.011941%
              Wilmington Trust   LMT 2006-4 / 2                  0.001525%
              Wilmington Trust   LXS 2005-1 / 1                  0.166349%
              Wilmington Trust   LXS 2005-1 / 2                  0.167067%
              Wilmington Trust   LXS 2005-1 / 3                  0.054199%
              Wilmington Trust   LXS 2005-10 / 1                 0.305489%
              Wilmington Trust   LXS 2005-10 / 2                 0.200249%
              Wilmington Trust   LXS 2005-3 / 1                  0.242947%
              Wilmington Trust   LXS 2005-3 / 2                  0.227732%
              Wilmington Trust   LXS 2005-3 / 3                  0.105695%
              Wilmington Trust   LXS 2005-6 / 1                  0.264233%
              Wilmington Trust   LXS 2005-6 / 2                  0.187614%
              Wilmington Trust   LXS 2005-6 / 3                  0.214582%
              Wilmington Trust   LXS 2005-8 / 1                  0.270499%
              Wilmington Trust   LXS 2005-8 / 2                  0.195244%
              Wilmington Trust   LXS 2006-1 / 1                  0.287423%
              Wilmington Trust   LXS 2006-1 / 2                  0.218340%
              Wilmington Trust   LXS 2006-13 / 1                 0.731870%
              Wilmington Trust   LXS 2006-13 / 2                 0.043277%
              Wilmington Trust   LXS 2006-17 / 1                 1.227788%
              Wilmington Trust   LXS 2006-17 / 2                 0.000000%
              Wilmington Trust   LXS 2006-5 / 1                  0.744378%
              Wilmington Trust   LXS 2006-5 / 2                  0.234677%
              Wilmington Trust   LXS 2006-7 / 1                  0.876394%
              Wilmington Trust   LXS 2006-7 / 2                  0.369689%
              Wilmington Trust   LXS 2006-9 / 1                  0.538173%
              Wilmington Trust   LXS 2006-9 / 2                  0.328633%


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              Wilmington Trust   LXS 2007-11 / 1                 1.110351%
              Wilmington Trust   SARM 2005-3XS / 1               0.037970%
              Wilmington Trust   SASCO 2003-12XS / 1             0.003221%
              Wilmington Trust   SASCO 2003-18XS / 1             0.008246%
              Wilmington Trust   SASCO 2003-28XS / 1             0.004696%
              Wilmington Trust   SASCO 2003-29 / 1               0.005971%
              Wilmington Trust   SASCO 2003-29 / 2               0.001001%
              Wilmington Trust   SASCO 2003-29 / 3               0.003988%
              Wilmington Trust   SASCO 2003-29 / 4               0.002210%
              Wilmington Trust   SASCO 2003-29 / 5               0.005912%
              Wilmington Trust   SASCO 2003-30 / 1               0.025074%
              Wilmington Trust   SASCO 2003-30 / 2               0.001480%
              Wilmington Trust   SASCO 2003-30 / 3               0.015082%
              Wilmington Trust   SASCO 2003-35 / 1               0.000555%
              Wilmington Trust   SASCO 2003-35 / 2               0.001603%
              Wilmington Trust   SASCO 2003-35 / 3               0.013751%
              Wilmington Trust   SASCO 2003-35 / 4               0.019244%
              Wilmington Trust   SASCO 2003-36XS / 1             0.023291%
              Wilmington Trust   SASCO 2003-38 / 1               0.009282%
              Wilmington Trust   SASCO 2003-38 / 2               0.003798%
              Wilmington Trust   SASCO 2003-3XS / 1              0.004044%
              Wilmington Trust   SASCO 2003-S1 / 1               0.020231%
              Wilmington Trust   SASCO 2004-15 / 1               0.000156%
              Wilmington Trust   SASCO 2004-15 / 2               0.000000%
              Wilmington Trust   SASCO 2004-15 / 3               0.012284%
              Wilmington Trust   SASCO 2004-15 / 4               0.000677%
              Wilmington Trust   SASCO 2004-16XS / 1             0.032070%
              Wilmington Trust   SASCO 2004-18H / 1              0.000796%
              Wilmington Trust   SASCO 2004-22 / 1               0.015932%
              Wilmington Trust   SASCO 2004-23XS / 1             0.039230%
              Wilmington Trust   SASCO 2004-23XS / 2             0.055258%
              Wilmington Trust   SASCO 2004-4XS / 1              0.015873%
              Wilmington Trust   SASCO 2004-4XS / 2              0.016730%
              Wilmington Trust   SASCO 2005-1 / 1                0.062667%
              Wilmington Trust   SASCO 2005-1 / 2                0.006624%
              Wilmington Trust   SASCO 2005-1 / 3                0.000000%
              Wilmington Trust   SASCO 2005-1 / 4                0.000000%
              Wilmington Trust   SASCO 2005-1 / 5                0.001916%
              Wilmington Trust   SASCO 2005-1 / 6                0.074564%


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              Wilmington Trust   SASCO 2005-1 / 7                0.043110%
              Wilmington Trust   SASCO 2005-10 / 1               0.042529%
              Wilmington Trust   SASCO 2005-10 / 2               0.017863%
              Wilmington Trust   SASCO 2005-10 / 3               0.000000%
              Wilmington Trust   SASCO 2005-10 / 4               0.000000%
              Wilmington Trust   SASCO 2005-10 / 5               0.000000%
              Wilmington Trust   SASCO 2005-10 / 6               0.000000%
              Wilmington Trust   SASCO 2005-10 / 7               0.002397%
              Wilmington Trust   SASCO 2005-10 / 8               0.038340%
              Wilmington Trust   SASCO 2005-11H / 1              0.000000%
              Wilmington Trust   SASCO 2005-15 / 1               0.006576%
              Wilmington Trust   SASCO 2005-15 / 2               0.035261%
              Wilmington Trust   SASCO 2005-15 / 3               0.008890%
              Wilmington Trust   SASCO 2005-15 / 4               0.042647%
              Wilmington Trust   SASCO 2005-15 / 5               0.014276%
              Wilmington Trust   SASCO 2005-17 / 1               0.001003%
              Wilmington Trust   SASCO 2005-17 / 2               0.005479%
              Wilmington Trust   SASCO 2005-17 / 3               0.019832%
              Wilmington Trust   SASCO 2005-17 / 4               0.037825%
              Wilmington Trust   SASCO 2005-17 / 5               0.042364%
              Wilmington Trust   SASCO 2005-2XS / 1              0.047617%
              Wilmington Trust   SASCO 2005-2XS / 2              0.048195%
              Wilmington Trust   SASCO 2005-4XS / 1              0.062751%
              Wilmington Trust   SASCO 2005-4XS / 2              0.047130%
              Wilmington Trust   SASCO 2005-4XS / 3              0.010096%
              Wilmington Trust   SASCO 2005-5 / 1                0.077738%
              Wilmington Trust   SASCO 2005-5 / 2                0.029624%
              Wilmington Trust   SASCO 2005-5 / 3                0.023057%
              Wilmington Trust   SASCO 2005-5 / 4                0.000009%
              Wilmington Trust   SASCO 2005-9XS / 1              0.107536%
              Wilmington Trust   SASCO 2005-9XS / 2              0.080869%
              Wilmington Trust   SASCO 2006-S2 / 1               1.811246%
              Wilmington Trust   SASCO 2006-S3 / 1               1.020158%
              Wilmington Trust   SASCO 2006-S4 / 1               1.465131%
              Total                                            100.000000%




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                                          EXHIBIT I

                                    DEBTORS’ FINDINGS


  1. This Court has jurisdiction to hear this motion and adjudicate the Motion.


  2. All parties entitled to receive notice of the Motion have been provided with notice that
     was reasonable, adequate, and was the best notice practicable, was reasonably
     calculated to put interested parties on notice of this Motion, and constitutes due and
     sufficient notice of this Motion in satisfaction of federal and state due process
     requirements and other applicable law. All such persons have been given the
     opportunity to be heard in opposition to the Motion.

  3. Any objections that were raised or that could have been raised in opposition to the
     Motion, that have not been withdrawn or resolved, are overruled and/or waived.


  4. Each of the LBHI Debtors has acted in good faith and exercised sound business
     judgment in connection with its determination to enter into and execute the Settlement
     Agreement. Approval of the Settlement Agreement is in the best interests of the LBHI
     Debtors, their respective estates and creditors.




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